Filed 03/10/21                                         Case 17-11824                                          Doc 1251


                                            UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF CALIFORNIA
                                                     FRESNO DIVISION

             In re:                                          §    Case No. 17-11824
                                                             §
             HORISONS UNLIMITED                              §
                                                             §
                                                             §
                                 Debtor(s)                   §

                      CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
                      CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                                 AND APPLICATION TO BE DISCHARGED (TDR)

                     James E. Salven, chapter 7 trustee, submits this Final Account, Certification that the
             Estate has been Fully Administered and Application to be Discharged.

                  1)       All funds on hand have been distributed in accordance with the Trustee’s Final
           Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
           administered and all assets and funds which have come under the trustee’s control in this case
           have been properly accounted for as provided by law. The trustee hereby requests to be
           discharged from further duties as a trustee.

                  2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
           claims discharged without payment, and expenses of administration is provided below:



           Assets Abandoned:             $7,564,837.75           Assets Exempt:        NA
           (without deducting any secured claims)



           Total Distributions to                                Claims Discharged
           Claimants:                        $3,771,754.66       Without Payment:      NA

           Total Expenses of
           Administration:                   $2,860,864.68


                   3)      Total gross receipts of $6,632,619.34 (see Exhibit 1), minus funds paid to the
           debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $6,632,619.34 from
           the liquidation of the property of the estate, which was distributed as follows:




           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                              Case 17-11824                                              Doc 1251




                                              CLAIMS             CLAIMS            CLAIMS              CLAIMS
                                            SCHEDULED           ASSERTED          ALLOWED               PAID
             Secured Claims
             (from Exhibit 3)                 $55,700.05         $1,303,179.32    $1,010,739.78      $1,010,739.78
             Priority Claims:
                 Chapter 7
                 Admin. Fees and                     NA          $2,031,790.40    $2,031,248.98      $2,068,828.68
                 Charges
                  (from Exhibit 4)
                 Prior Chapter
                 Admin. Fees and                     NA          $1,202,132.56     $779,561.00         $792,036.00
                 Charges (from
                 Exhibit 5)
                 Priority
                 Unsecured                   $255,047.86          $643,322.35      $194,593.07         $194,593.07
                 Claims
                 (From Exhibit 6)
             General Unsecured
             Claims (from                    $728,390.89        $56,731,167.33   $56,469,705.42      $2,557,316.63
             Exhibit 7)
                      Total
                Disbursements               $1,039,138.80       $61,957,703.02   $60,531,959.31      $6,632,619.34

                  4). This case was originally filed under chapter 11 on 05/10/2017. The case was
             converted to one under Chapter 7 on 08/13/2017. The case was pending for 43 months.

                  5). All estate bank statements, deposit slips, and canceled checks have been submitted to
             the United States Trustee.

                   6). An individual estate property record and report showing the final accounting of the
             assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
             each estate bank account, showing the final accounting of the receipts and disbursements of
             estate funds is attached as Exhibit 9.

                  Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
             foregoing report is true and correct.

                    Dated: 03/08/2021                   By: /s/ James E. Salven
                                                        /Ja Trustee
                                                        mes
                                                        E.
             721-17-11824 Horisons Unlimited TDR Salven
                                                        Sal
                                                        ven

             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                            Case 17-11824                               Doc 1251


                                                            EXHIBITS TO
                                                           FINAL ACCOUNT

            EXHIBIT 1 – GROSS RECEIPTS

                                   DESCRIPTION                              UNIFORM      AMOUNT
                                                                           TRAN. CODE   RECEIVED
           Residential Care Facility, 160 S. 13th St. Chowchilla CA         1110-000    $610,000.00
           Residential House 1763 Forest Grove St. Merced CA 95340          1110-000    $200,786.20
           2004 BIGTE trailer(16vix142941e24573)                            1129-000      $1,800.00
           2004 Hyundai(5b8sb12b584u657169)                                 1129-000       $500.00
           2004 Totota(jtdkb20u14024945)                                    1129-000      $2,000.00
           2005 Toyota(jtdkb20u453011901)                                   1129-000      $3,600.00
           2007 Toyota(4t1be46k17u644325)                                   1129-000      $5,300.00
           2011 Ford (537Ls7d42bt056788)                                    1129-000      $9,400.00
           2012 Mazda(salvage title)(jm1de5y1c0138663)                      1129-000      $3,800.00
           2012 Pick-up(salvage title)(1n6ad0er7cc462362)                   1129-000     $10,500.00
           2014 Toyota (94t1bf1fk2eu349291)                                 1129-000      $9,500.00
           2015 Nissan (1n6sf0er3fn725617)                                  1129-000     $15,000.00
           Bank of the West Checking                                        1129-000    $337,576.90
           BBVA Compass Checking                                            1129-000      $2,653.65
           Cash on hand                                                     1129-000       $537.22
           Foremost Signature Ins. Farmers Ins.                             1129-000       $550.00
           PG&E refund to Haar - DIP                                        1129-000      $2,392.47
           Pillsbury Winthrop Shaw Pittman LLP; remaining retainer          1129-000    $113,415.01
           1241 Paseo Verde Drive Merced                                    1210-000    $235,075.00
           Medical Receipts-mail intercept                                  1221-000     $37,218.21
           Hwy 49 Mariposa APN 013-010-087                                  1222-000    $208,000.00
           Mariposa property rents and deposits                             1222-000    ($4,821.18)
           Rent on Chowchilla residential care building                     1222-000     $52,000.00
           2016 GMC (1gtn1lec5gz901376)                                     1229-000     $16,500.00
           Cash found at sites                                              1229-000       $780.00
           City of Merced Utility refund for Forest Grove Ct.               1229-000       $332.16
           Coin found at main office                                        1229-000       $508.90
           GEICO INSURANCE CLAIM                                            1229-000       $420.12
           Medical Record Request monies                                    1229-000       $235.00
           Sale of clinic personal property                                 1229-000     $60,000.00
           U.S.P.S. MERCED                                                  1229-000       $188.00
           v Health Consulting Adv 19-01042                                 1241-000      $9,000.00
           v. Modesto Gospel Mission Adv 19-01043                           1241-000     $25,000.00
           v. WIPILI Adv 19-01043                                           1241-000     $12,304.72
           1120 W. I St. Los Banos                                          1249-000    $575,000.00
           1221 Main St. Newman                                             1249-000    $157,500.00
           3271 N. Thorn Avenue Merced                                      1249-000    $238,500.00
           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                               Case 17-11824                                                           Doc 1251


           5158 Campbell Road Mariposa                                                 1249-000                     $265,000.00
           517 W. Main St. Livingston                                                  1249-000                     $430,000.00
           55-59 North Salado Patterson                                                1249-000                     $525,000.00
           554 5th St. Gustine                                                         1249-000                     $275,000.00
           5594 G St. Merced                                                           1249-000                     $530,000.00
           Haar settlement(see assets 43 to 53)                                        1249-000                      $40,321.94
           Hwy 49 Mariposa APN 013-010-088                                             1249-000                     $213,500.00
           Investigate propriety of pre-petition payments to Pillsbury legal           1249-000                      $62,142.00
           firm
           Potential claim against D & O insurance                                     1249-000                     $750,000.00
           Funds turned over by Chapter 11 Trustee                                     1290-010                     $581,686.02
           Refund of Chapter 11 Trustee bond                                           1290-010                       $6,917.00
           TOTAL GROSS RECEIPTS                                                                                    $6,632,619.34

            The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

            EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
            NONE


            EXHIBIT 3 – SECURED CLAIMS

             CLAIM         CLAIMANT            UNIFORM               CLAIMS               CLAIMS   CLAIMS              CLAIMS
            NUMBER                            TRAN. CODE          SCHEDULED             ASSERTED ALLOWED                 PAID
                  3      Haar Properties          4210-000                     $0.00    $109,966.57        $0.00             $0.00
                 24      Manjit S. Nagi           4110-000                     $0.00      $3,500.00        $0.00             $0.00
                 901     First Mortgage           4110-000                     $0.00    $274,915.28   $273,273.1    $273,273.11
                         loan-Lanfraki                                                                         1
                 902     Henderson                4110-000                     $0.00    $367,197.91   $189,867.1    $189,867.11
                         Family Trust                                                                          1
                 903     Rabobank, N.A.           4110-000                     $0.00    $358,963.50   $358,963.5    $358,963.50
                                                                                                               0
                         defaulted property       4700-000                     $0.00      $7,414.41    $7,414.41      $7,414.41
                         taxes
                         defaulted taxes          4700-000                     $0.00      $3,890.85    $3,890.85      $3,890.85
                         pay off 1st trust        4110-000                     $0.00    $177,330.80   $177,330.8    $177,330.80
                         deed to                                                                               0
                         Henderson trust
                         AMERISOURCE              4110-000                     $0.00          $0.00        $0.00             $0.00
                         BERGEN DRUG
                         CORPORATION
                         CARDINAL                 4110-000                     $0.00          $0.00        $0.00             $0.00
                         HEALTH
                         HENRY SCHEIN             4110-000            $55,700.05              $0.00        $0.00             $0.00
                         INC
           TOTAL SECURED CLAIMS                                       $55,700.05       $1,303,179.32 $1,010,739. $1,010,739.7
                                                                                                             78             8



           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                     Case 17-11824                                             Doc 1251


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                   PAYEE              UNIFORM         CLAIMS     CLAIMS            CLAIMS        CLAIMS
                                     TRAN. CODE    SCHEDULED   ASSERTED          ALLOWED           PAID
           James E. Salven,             2100-000         NA        $222,228.58   $222,228.58   $222,228.58
           Trustee
           James E. Salven,             2200-000         NA          $5,399.58     $5,399.58     $5,399.58
           Trustee
           International Sureties,      2300-000         NA          $2,483.81     $2,483.81     $2,483.81
           LTD
           Haar Rental Properties       2410-000         NA         $12,449.00    $12,449.00    $12,449.00
           Andres Appliance             2420-000         NA           $185.00       $185.00       $185.00
           Repairs
           Biomedical Waste             2420-000         NA          $4,950.00     $4,950.00     $4,950.00
           Disposal, Inc.
           City of Merced               2420-000         NA           $939.45       $939.45       $939.45
           Comcast                      2420-000         NA          $3,113.62     $3,113.62     $3,113.62
           Derrel's Mini Storage        2420-000         NA          $1,985.67     $1,985.67     $1,985.67
           Derrel's Mini Storage,       2420-000         NA           $450.00       $450.00       $450.00
           Inc.
           Dettel's Mini Storage,       2420-000         NA          $2,136.90     $2,136.90     $2,136.90
           Inc.
           FedEx                        2420-000         NA           $555.62       $555.62       $555.62
           Hoffman Electronic           2420-000         NA           $557.00       $557.00       $557.00
           Systems
           PG&E                         2420-000         NA          $1,840.39     $1,840.39     $1,840.39
           Pre-Conversion               2420-000         NA            $20.00        $20.00        $20.00
           Software Costs
           Salmerei Insurance           2420-000         NA          $1,060.41     $1,060.41     $1,060.41
           Agency, Inc.
           Shred-it                     2420-000         NA           $395.85       $395.85       $395.85
           misc closing costs           2500-000         NA           $759.00       $759.00       $759.00
           misc seller credit           2500-000         NA         $10,600.00    $10,600.00    $10,600.00
           owner association fees       2500-000         NA          ($502.20)     ($502.20)     ($502.20)
           Title & Escrow               2500-000         NA          $1,106.10     $1,106.10     $1,106.10
           charges
           title and escrow             2500-000         NA          $6,209.70     $6,209.70     $6,209.70
           closing costs
           Title and escrow costs       2500-000         NA          $4,708.17     $4,708.17     $4,708.17
           Title and escrow fees        2500-000         NA          $3,587.12     $3,587.12     $3,587.12
           title and escrow fees        2500-000         NA          $1,492.30     $1,492.30     $1,492.30
           013-010-087
           title, escrow fees, and      2500-000         NA          $1,525.50     $1,525.50     $1,525.50
           misc closing costs
           title, escrow, and misc      2500-000         NA          $1,680.85     $1,680.85     $1,680.85
           closing costs
           title, escrow, and           2500-000         NA          $1,429.30     $1,429.30     $1,429.30

           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                     Case 17-11824                                             Doc 1251


           recording fees
           title, escrow, misc          2500-000         NA          $1,631.65     $1,631.65     $1,631.65
           closing costs
           bank charge for              2600-000         NA            $10.00        $10.00        $10.00
           cashiers check
           Bank Fee                     2600-000         NA            $10.00        $10.00        $10.00
           Independent Bank             2600-000         NA          $1,655.92     $1,655.92     $1,655.92
           Integrity Bank               2600-000         NA         $16,535.38    $16,535.38    $16,535.38
           Pre-Conversion               2600-000         NA           $909.32       $909.32       $909.32
           Software Costs
           City of Merced               2690-000         NA           $557.49       $557.49       $557.49
           Combast Business             2690-000         NA           $253.40       $253.40       $253.40
           Comcast                      2690-000         NA           $364.83       $364.83       $364.83
           Comcast Business             2690-000         NA          $1,961.48     $1,961.48     $1,961.48
           Comcast Businesss            2690-000         NA           $323.34       $323.34       $323.34
           Cristi Worley                2690-000         NA           $325.00       $325.00       $325.00
           PG&E                         2690-000         NA          $3,754.76     $3,754.76     $3,754.76
           PG & E                       2690-000         NA           $220.26       $220.26       $220.26
           PG& E                        2690-000         NA          $1,751.04     $1,751.04     $1,751.04
           PG&E                         2690-000         NA          $4,319.83     $4,319.83     $4,319.83
           Pre-Conversion               2690-000         NA          $1,792.05     $1,792.05     $1,792.05
           Software Costs
           Sara Castlebery              2690-000         NA           $200.00       $200.00       $200.00
           TID                          2690-000         NA            $25.71        $25.71        $25.71
           California Registry of       2820-000         NA              $0.00         $0.00         $0.00
           Charitable Trusts
           current property taxes       2820-000         NA          $9,381.69     $9,381.69     $9,381.69
           current property taxes       2820-000         NA          $1,558.24     $1,558.24     $1,558.24
           net
           FIDELITY                     2820-000         NA           $851.40       $851.40       $851.40
           NATIONAL TITLE
           CO.
           FRANCHISE TAX                2820-000         NA              $0.00         $0.00         $0.00
           BOARD
           property tax proration       2820-000         NA          ($452.28)     ($452.28)     ($452.28)
           property taxes               2820-000         NA         $14,340.63    $14,340.63    $14,340.63
           unsecured property           2820-000         NA         $10,980.15    $10,980.15    $10,980.15
           taxes
           OFFICE OF THE                2950-000         NA         $11,375.00    $11,375.00    $11,375.00
           UNITED STATES
           TRUSTEE
           Daniel Eagan,                3210-000         NA        $549,906.00   $549,906.00   $549,906.30
           Attorney for Trustee
           PETER L. FEAR,               3210-600         NA        $138,487.00   $138,487.00   $138,487.00
           Special Counsel for
           Trustee


           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                     Case 17-11824                                             Doc 1251


           SHARLENE F.                  3210-600         NA         $76,759.90    $76,759.80    $76,759.80
           ROBERTS-CAUDLE,
           Special Counsel for
           Trustee
           Daniel Eagan,                3220-000         NA         $25,198.20    $25,198.20    $25,198.20
           Attorney for Trustee
           PETER L. FEAR,               3220-610         NA          $6,633.23     $6,633.23     $6,633.23
           Special Counsel for
           Trustee
           SHARLENE F.                  3220-610         NA          $4,779.25     $4,779.25     $4,779.25
           ROBERTS-CAUDLE,
           Special Counsel for
           Trustee
           CHRIS RATZLAFF,              3410-000         NA         $78,586.50    $78,586.50    $78,616.50
           Accountant for
           Trustee
           CHRIS RATZLAFF,              3420-000         NA           $493.04       $493.04       $495.04
           Accountant for
           Trustee
           approved commission,         3510-000         NA        $160,230.00   $160,230.00   $160,230.00
           Realtor for Trustee
           approved commission          3510-000         NA         $31,800.00    $31,800.00    $31,800.00
           G Street, Realtor for
           Trustee
           approved commission          3510-000         NA         $12,810.00    $12,810.00    $12,810.00
           Hwy 49 016-101-088,
           Realtor for Trustee
           approved commission          3510-000         NA         $14,310.00    $14,310.00    $14,310.00
           Thorn Ave, Realtor
           for Trustee
           Court approved R.E.          3510-000         NA         $48,600.00    $48,600.00    $48,600.00
           commissions, Realtor
           for Trustee
           Court approved sale of       3610-000         NA         $11,685.00    $11,685.00    $11,685.00
           11 vehicles at auction.
           Auctioneer 15%
           commission on
           $77,900.48,
           Auctioneer for Trustee
           Court approved               3620-000         NA          $3,442.48     $3,442.48     $3,442.48
           expenses : storage
           $1454 ; batteries
           $363.48; keys
           $225.00; towing
           $1400. See copies of
           receipts/invoices.,
           Auctioneer for Trustee
           allocation to balance        3731-000         NA        $204,156.66   $204,156.66   $204,156.66
           to orders, Consultant
           for Trustee
           Seelig & Cussigh             3731-000         NA        $179,128.94   $178,587.62   $179,128.94
           HCO, LLC,
           Consultant for Trustee

           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                                  Doc 1251


           approved by court,           3732-000             NA         $8,837.46       $8,837.46        $8,837.46
           Consultant for Trustee
           approved see docket          3732-000             NA        $30,160.53      $30,160.53       $67,166.41
           336, Consultant for
           Trustee
           Seelig & Cussigh             3732-000             NA        $28,730.68      $28,730.68       $28,730.68
           HCO, LLC,
           Consultant for Trustee
           Cal-Med Cental               3991-000             NA         $3,116.17       $3,116.17        $3,116.17
           Billing, Inc., Other
           Professional
           John Dratz, Jr. PCO,         3991-000             NA        $25,445.00      $25,445.00       $25,445.00
           Other Professional
           Pension Management           3991-000             NA         $7,710.28       $7,710.28        $7,710.48
           Consultants, Inc.,
           Other Professional
           John Dratz, Jr. PCO,         3992-000             NA         $2,801.07       $2,801.07        $2,801.07
           Other Professional
           TOTAL CHAPTER 7 ADMIN. FEES AND                   NA    $2,031,790.40     $2,031,248.98    $2,068,828.68
           CHARGES


            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                    PAYEE                UNIFORM             CLAIMS   CLAIMS              CLAIMS          CLAIMS
                                        TRAN. CODE        SCHEDULED ASSERTED            ALLOWED             PAID
           Kavita Gupta, Esq,               6102-000              NA     $7,898.01        $7,898.01      $7,898.01
           Trustee
           Pachulski Stang Ziehl            6210-000              NA $199,286.79       $128,100.00    $128,100.00
           & Jones, LLP,
           Attorney for
           Trustee/D-I-P
           Pillsbury Winthrop               6210-000              NA $435,812.89       $284,426.64    $284,426.64
           Shaw Pittman LLP,
           Attorney for
           Trustee/D-I-P
           Pachulski Stang Ziehl            6220-170              NA     $1,946.76        $1,946.76      $1,946.79
           & Jones, LLP,
           Attorney for D-I-P
           Kavita Gupta, Esq,               6700-000              NA    $57,364.39       $57,364.39    $57,364.39
           Other Professional
           Eugene Lamazor,                  6950-000              NA       $594.95          $594.95       $594.95
           Other Operating
           Execupay, Other                  6950-000              NA       $117.05          $117.05       $117.05
           Operating
           Hazrat Rafah, Other              6950-000              NA     $1,608.49        $1,608.49      $1,608.49
           Operating
           Jasmeet Gill, Other              6950-000              NA       $302.07          $302.07       $302.07
           Operating
           Pre-Conversion                   6950-000              NA        $66.57           $66.57         $66.57
           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                       Doc 1251


           Software Costs, Other
           Operating
           Adam Covarrubias,                6950-720             NA    $3,500.00   $1,327.00   $1,327.00
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Adriana Lopez,                   6950-720             NA    $1,498.13    $994.01     $994.01
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Alcaraz Genessis,                6950-720             NA    $3,000.00   $1,029.76   $1,029.76
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Allen Junette                    6950-720             NA       $0.00       $0.00       $0.00
           Amanda Betancourt,               6950-720             NA    $1,792.00   $1,096.11   $1,096.11
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Ana Lizarraga,                   6950-720             NA    $1,676.00   $1,112.03   $1,112.03
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Andreya Lemos,                   6950-720             NA    $1,679.38   $1,114.27   $1,114.27
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Ann Palm,                        6950-720             NA    $4,500.00    $870.83     $870.83
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Arellano Guzman                  6950-720             NA    $3,615.00   $4,209.91   $4,209.91
           Maritza,
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Aulakh Rajinder,                 6950-720             NA    $3,496.87   $1,132.10   $1,132.10
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Barajas, Gregory,                6950-720             NA    $1,000.00   $1,194.30   $1,194.30

           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                       Doc 1251


           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Blanca Jimenez                   6950-720             NA    $2,000.00    $318.48       $0.00
           Blanca Torres,                   6950-720             NA    $1,678.13   $1,113.44   $1,113.44
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Brenda Medina,                   6950-720             NA    $1,711.88   $1,135.83   $1,135.83
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Briana Hernandez,                6950-720             NA    $1,128.50    $748.75     $748.75
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Brittany Howard,                 6950-720             NA    $2,000.00   $1,189.00   $1,189.00
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Bustillos Irene,                 6950-720             NA    $5,600.00   $1,499.51   $1,499.51
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           carmen penaloza,                 6950-720             NA    $2,400.00   $1,113.19   $1,113.19
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Cid Guadalupe,                   6950-720             NA       $0.00    $2,525.95   $2,525.95
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Cid Migdalia,                    6950-720             NA    $4,153.00   $2,755.51   $2,755.51
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Claudia Vargas,                  6950-720             NA    $2,040.00    $930.23     $930.23
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings

           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                        Doc 1251


           Condez Edsel,                    6950-720             NA    $17,464.63   $3,190.10   $3,190.10
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Coreena Pruneda,                 6950-720             NA     $1,366.88    $906.92     $906.92
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Cristina Figueroa,               6950-720             NA     $8,680.00   $1,052.48   $1,052.48
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Crystal Luevano,                 6950-720             NA     $3,229.00   $2,142.44   $2,142.44
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Cynthia Robinson,                6950-720             NA     $3,000.00   $1,990.50   $1,990.50
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Daniel Gaona,                    6950-720             NA    $12,850.00   $4,976.25   $4,976.25
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Daniel Kazakos,                  6950-720             NA        $0.00    $1,530.70   $1,530.70
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Deyanira Lopez,                  6950-720             NA     $1,696.13   $1,125.38   $1,125.38
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Dominick Evans,                  6950-720             NA     $1,440.00    $955.44     $955.44
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Edith davalos                    6950-720             NA        $0.00    $1,110.44   $1,110.44
           amezcua,
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                        Doc 1251


           Eileen Medina,                   6950-720             NA     $1,548.75   $1,027.59   $1,027.59
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Escobar Charissa,                6950-720             NA     $1,920.00   $1,035.06   $1,035.06
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Esmeralda Hurtado,               6950-720             NA     $3,250.00   $1,288.93   $1,288.93
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Estella Lopez,                   6950-720             NA     $5,600.22   $2,756.07   $2,756.07
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Friaz Mendoza                    6950-720             NA     $2,800.00   $1,990.50   $1,990.50
           Guadalupe,
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Fuller Hugo,                     6950-720             NA     $2,655.00   $1,298.81   $1,298.81
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Garcia Linda,                    6950-720             NA     $2,800.00   $1,077.52   $1,077.52
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Gayla S Cox,                     6950-720             NA     $5,000.00   $1,990.50   $1,990.50
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           George Sarikakis,                6950-720             NA    $55,000.00   $9,952.50   $9,952.50
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Gisella Rivera,                  6950-720             NA     $1,430.63    $949.22     $949.22
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                          Doc 1251


           Heather Eyring-                  6950-720             NA     $8,344.28    $1,990.50    $1,990.50
           Burchett,
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Hector Orozco,                   6950-720             NA     $4,038.45    $2,679.52    $2,679.52
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Hortensia Maldanado,             6950-720             NA     $4,016.25    $1,990.50    $1,990.50
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Ilima Hamilton,                  6950-720             NA     $1,943.13    $1,289.26    $1,289.26
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Iniguez Rosa,                    6950-720             NA     $8,783.32    $2,755.51    $2,755.51
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           INTERNAL                         6950-720             NA    $67,939.44   $67,939.44   $75,423.32
           REVENUE
           SERVICE,
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Isaac Jimenez,                   6950-720             NA     $1,709.75    $1,134.42    $1,134.42
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           JASKARN KAUR                     6950-720             NA     $1,906.50     $955.44      $955.44
           NAHAL,
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Jason Song,                      6950-720             NA    $26,400.00    $7,962.00    $7,962.00
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           JM Partners, LLC,                6950-720             NA     $5,000.00    $1,990.50    $1,990.50
           Administrative Post-
           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                        Doc 1251


           Petition Wages (
           including tax and other
           withholdings
           Juan Maldonado,                  6950-720             NA     $1,966.88   $1,305.02   $1,305.02
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Juliana Mercado,                 6950-720             NA     $1,728.75   $1,147.02   $1,147.02
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Julianne Gonzalez,               6950-720             NA     $1,541.00   $1,022.46   $1,022.46
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Kay Saelee,                      6950-720             NA     $1,680.00   $1,114.68   $1,114.68
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Kelsi Banks,                     6950-720             NA     $1,531.88   $1,016.40   $1,016.40
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Kenneth Gordon                   6950-720             NA        $0.00    $9,952.50   $9,952.50
           Heaton Jr,
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Kevin Tran,                      6950-720             NA     $4,000.00   $9,952.50   $9,952.50
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Kimberly Slown                   6950-720             NA    $10,246.16   $2,756.07   $2,756.07
           Benton,
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Laura Magana,                    6950-720             NA     $4,252.50   $1,011.25   $1,011.25
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings


           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                       Doc 1251


           LAURA MEJIA,                     6950-720             NA    $6,524.00   $3,981.00   $3,981.00
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Lisa Andrade,                    6950-720             NA    $7,117.45   $2,380.63   $2,380.63
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Lisa Roper,                      6950-720             NA    $1,656.00   $1,990.50   $1,990.50
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Lucienne Miller,                 6950-720             NA    $1,519.13   $1,007.93   $1,007.93
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Lujano Gloria,                   6950-720             NA    $1,900.00   $1,144.54   $1,144.54
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Mann Harmon,                     6950-720             NA       $0.00     $422.65     $422.65
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           maria a valenzuela,              6950-720             NA    $4,800.00    $834.77     $834.77
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Maria F Garcia,                  6950-720             NA    $4,480.00   $2,229.52   $2,229.52
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Maria Moreno,                    6950-720             NA    $1,679.88   $1,114.60   $1,114.60
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Maria Padilla,                   6950-720             NA    $1,713.75   $1,137.07   $1,137.07
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings


           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                       Doc 1251


           Mark Marquez,                    6950-720             NA    $1,901.00   $1,261.32   $1,261.32
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Martha Mercado,                  6950-720             NA    $3,229.00   $2,142.44   $2,142.44
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Michael Rice, horisons           6950-720             NA       $0.00    $9,952.50   $9,952.50
           unlimited,
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Natalie Caballero,               6950-720             NA    $2,400.00   $1,592.40   $1,592.40
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Norma Perez,                     6950-720             NA    $4,000.00   $1,116.92   $1,116.92
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Patricia Gomez,                  6950-720             NA    $3,832.50   $1,109.38   $1,109.38
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Patricia Ruvalcaba,              6950-720             NA    $1,558.13   $1,033.82   $1,033.82
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Perry Raquel,                    6950-720             NA    $6,800.00    $868.11     $868.11
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Rachel Vega,                     6950-720             NA    $2,250.00    $721.55     $721.55
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Ramon Ramirez in his             6950-720             NA    $2,472.00   $1,006.45   $1,006.45
           representative capacity
           in Madera Co. Case
           MCV073176,
           Administrative Post-
           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                          Doc 1251


           Petition Wages (
           including tax and other
           withholdings
           Ruste Sasser,                    6950-720             NA    $15,000.00    $4,976.25    $4,976.25
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Samantha Escobar,                6950-720             NA     $1,560.00    $1,035.06    $1,035.06
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Savannah Perez,                  6950-720             NA     $1,691.25    $1,122.15    $1,122.15
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Scott Albert Winn,               6950-720             NA     $2,000.00    $1,163.20    $1,163.20
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Silvia Martinez,                 6950-720             NA     $1,133.88     $752.33      $752.33
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Sinai Campos,                    6950-720             NA     $1,599.38    $1,061.19    $1,061.19
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Soria Prisma,                    6950-720             NA     $3,950.00    $1,990.50    $1,990.50
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           State of California,             6950-720             NA    $14,742.76   $14,742.76   $16,366.74
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Sumon Nahal,                     6950-720             NA     $4,000.00    $2,070.12    $2,070.12
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Tena Williams,                   6950-720             NA     $1,800.00    $1,194.30    $1,194.30
           Administrative Post-

           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                          Doc 1251


           Petition Wages (
           including tax and other
           withholdings
           Theresa Peaster(nee              6950-720             NA     $3,000.00     $995.25      $995.25
           Riley), Administrative
           Post-Petition Wages (
           including tax and other
           withholdings
           Todd Phillip Logan,              6950-720             NA     $3,031.00    $1,383.40    $1,383.40
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Tracey McMillion,                6950-720             NA     $4,064.00     $873.34      $873.34
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           U. S. BANKRUPTCY                 6950-720             NA     $1,662.38    $1,102.99    $1,102.99
           COURT,
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           U.S. BANKRUPTCY                  6950-720             NA     $1,357.50     $900.69      $900.69
           COURT,
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Vianey Guadarrama,               6950-720             NA     $1,015.88     $674.04      $674.04
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Viloria Jennifer,                6950-720             NA     $5,000.00     $862.55      $862.55
           Administrative Post-
           Petition Wages (
           including tax and other
           withholdings
           Clerk, US Bankruptcy             6950-721             NA        $0.00        $0.00      $318.48
           Court (Claim No.54d;
           Blanca Jimenez)
           INTERNAL                         6950-730             NA    $20,091.17   $20,091.17   $22,276.16
           REVENUE
           SERVICE, Taxes on
           Administrative Post-
           Petition Wages (
           employer payroll taxes
           State of California,             6950-730             NA    $13,374.13   $13,374.13   $14,556.25

           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                              Case 17-11824                                                   Doc 1251


           Taxes on
           Administrative Post-
           Petition Wages (
           employer payroll taxes
           STATE OF                         6950-730                  NA        $0.00              $0.00           $0.00
           CALIFORNIA (ETT)
           TOTAL PRIOR CHAPTER ADMIN. FEES                            NA $1,202,132.         $779,561.00     $792,036.00
           AND CHARGES                                                           56


            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

             CLAIM         CLAIMANT             UNIFORM            CLAIMS        CLAIMS          CLAIMS         CLAIMS
            NUMBER                             TRAN. CODE       SCHEDULED      ASSERTED        ALLOWED            PAID
                 4a      Ramon Ramirez           5800-000              $0.00    $30,000.00           $0.00          $0.00
                         and putative class
                         members in
                         Madera Co. Case
                         No. MCV073176
                 7a      Viloria Jennifer        5300-000              $0.00     $5,000.00         $600.00       $398.10
                 9a      Condez Edsel            5300-000              $0.00    $17,464.63       $1,800.00      $1,194.30
                 11a     JASKARN                 5800-000              $0.00     $1,906.50           $0.00          $0.00
                         KAUR NAHAL
                 12a     LAURA MEJIA             5300-000              $0.00     $6,524.00       $2,000.00      $1,327.00
                 13a     carmen penaloza         5300-000              $0.00     $2,400.00         $900.00       $597.15
                 14a     Suman Nahal             5300-000              $0.00     $4,500.00           $0.00          $0.00
                 16a     maria a                 5300-000              $0.00     $4,800.00         $120.00        $79.62
                         valenzuela
                 20a     Todd Phillip            5300-000              $0.00     $3,031.00         $900.00       $597.15
                         Logan
                 21a     Employment              5800-000              $0.00    $22,751.21      $22,751.21     $22,751.21
                         Development
                         Department
                 22a     Adam                    5300-000              $0.00     $3,500.00           $0.00          $0.00
                         Covarrubias
                 30a     JM Partners LLC         5300-000              $0.00     $5,534.00       $3,419.07      $2,268.56
                 32a     Mariela Tovar           5300-000              $0.00     $2,182.56           $0.00          $0.00
                 34d     Lujano Gloria           5300-000              $0.00     $1,900.00         $900.00       $597.15
                 36a     Arellano Guzman         5300-000              $0.00     $3,615.00       $3,172.20      $2,104.75
                         Maritza
                 37a     Theresa                 5300-000              $0.00     $3,000.00       $1,500.00       $995.25
                         Peaster(nee Riley)
                 39a     Ramon Ramirez           5300-000              $0.00     $2,472.00         $240.00       $159.24
                         in his
                         representative
                         capacity in
                         Madera Co. Case
                         MCV073176
                 45a     Patricia Gomez          5300-000              $0.00     $3,832.50          $75.00        $49.76
                 47a     Roxanne                 5300-000              $0.00    $11,800.00       $2,472.72      $1,640.65

           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                           Case 17-11824                                            Doc 1251


                         Rodriguez
                 49a     Daniel Gaona         5300-000              $0.00   $12,850.00    $3,750.00   $2,488.12
                 52a     Sara Castleberry     5300-000              $0.00   $11,505.10    $6,970.43   $4,624.88
                 54a     Blanca Jimenez       5300-000              $0.00    $2,000.00     $600.00       $0.00
                 55a     Raj Kumar            5300-000              $0.00   $10,000.00   $10,258.12   $6,806.27
                         Sharma
                 56a     Gurdeep Singh        5300-000              $0.00   $12,850.00   $12,850.00   $8,525.97
                 57a     Bryan Blew           5300-000              $0.00   $17,473.00    $8,650.98   $5,739.92
                 58a     Friaz Mendoza        5300-000              $0.00    $2,800.00    $1,500.00    $995.25
                         Guadalupe
                 59a     Hortensia            5300-000              $0.00    $4,016.25    $1,000.00    $663.50
                         Maldanado
                 61a     Maria Padilla        5300-000              $0.00    $1,713.75     $600.00     $398.10
                 62a     Nicole Bone          5300-000              $0.00    $1,840.00        $0.00      $0.00
                 63      Edie L. Stone        5800-000              $0.00    $6,800.00        $0.00      $0.00
                 64a     Iniguez Rosa         5300-000              $0.00    $8,783.32    $1,903.45   $1,262.95
                 66a     Hazrat Rafah         5300-000              $0.00   $42,300.00        $0.00      $0.00
                 67a     Rachel Vega          5300-000              $0.00    $2,250.00     $600.00     $398.10
                 68a     Kimberly Slown       5300-000              $0.00   $10,246.16    $1,384.61    $918.68
                         Benton
                 69a     Ann Palm             5300-000              $0.00    $4,500.00        $0.00      $0.00
                 70a     Abel b Guerra        5300-000              $0.00   $17,473.00    $8,576.47   $5,690.50
                 72a     Lisa Andrade         5300-000              $0.00    $7,117.45    $1,196.00    $793.55
                 73a     Laura Magana         5300-000              $0.00    $4,252.50     $900.00     $597.15
                 74a     Amanda               5300-000              $0.00    $1,792.00     $900.00     $597.15
                         Betancourt
                 76a     Deeba Abedi          5300-000              $0.00   $12,850.00        $0.00      $0.00
                 77a     Kristofer Robert     5300-000              $0.00   $42,152.00   $12,850.00   $8,525.97
                         Green
                 80a     Joy Raron            5300-000              $0.00   $10,000.00        $0.00      $0.00
                 81a     Heather Eyring-      5300-000              $0.00    $8,344.28    $1,500.00    $995.25
                         Burchett
                 82a     Shadi Safi           5300-000              $0.00    $1,810.94    $1,410.94    $936.15
                 83a     Fatima Meza          5300-000              $0.00    $8,200.00    $8,945.92   $5,935.61
                         Aguirre
                 83      Fatima Meza          5300-000              $0.00    $8,909.15        $0.00      $0.00
                         Aguirre
                 84a     Maria F Garcia       5300-000              $0.00    $4,480.00    $1,120.07    $743.18
                 86a     Sumon Nahal          5300-000              $0.00    $4,000.00    $1,040.00    $690.04
                 87a     Daniel Kazakos       5300-000              $0.00    $4,614.00    $2,307.00   $1,530.70
                 88a     Daniel Kazakos       5300-000              $0.00    $7,300.00    $8,637.96   $5,731.29
                 89a     Theresa              5300-000              $0.00    $8,100.00        $0.00      $0.00
                         Peaster(nee Riley)
                 90a     Vargas Claudia       5300-000              $0.00    $2,040.00     $900.00     $597.15
                 92a     Norma Perez          5300-000              $0.00    $4,000.00        $0.00      $0.00
                 93a     Ruste Sasser         5300-000              $0.00   $15,000.00        $0.00      $0.00

           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                          Case 17-11824                                           Doc 1251


                 94a     Brittany Howard     5300-000              $0.00    $2,000.00    $360.00     $238.86
                 95a     JM Partners, LLC    5300-000              $0.00    $5,000.00   $1,500.00    $995.25
                 96a     Maria Casillas      5300-000              $0.00    $2,000.00      $0.00       $0.00
                 97a     Perry Raquel        5300-000              $0.00    $6,800.00      $0.00       $0.00
                 98a     Bustillos Irene     5300-000              $0.00    $5,600.00   $1,200.00    $796.20
                 99a     Escobar Charissa    5300-000              $0.00    $1,000.00      $0.00       $0.00
                 100a    Sarahlynn Flores    5300-000              $0.00    $1,280.00      $0.00       $0.00
                 101a    Escobar Charissa    5300-000              $0.00    $1,920.00    $172.50     $114.44
                 102a    Tina L Hall         5300-000              $0.00    $1,200.00      $0.00       $0.00
                 103a    ashee A amjad       5300-000              $0.00    $3,700.00   $2,680.85   $1,778.75
                         Waryam
                 104a    Estella Lopez       5300-000              $0.00    $5,600.22   $1,384.61    $918.68
                 105a    Aulakh Rajinder     5300-000              $0.00    $3,496.87      $0.00       $0.00
                 106a    Maria Erika         5300-000              $0.00        $0.00    $960.00     $636.96
                         Quezada Ibarra
                 107a    Garcia Linda        5300-000              $0.00    $2,800.00    $900.00     $597.15
                 108a    Fuller Hugo         5300-000              $0.00    $2,655.00    $600.00     $398.10
                 110a    Michael Rice,       5300-000              $0.00   $42,595.00   $5,000.00   $3,317.50
                         horisons
                         unlimited
                 111a    Kenneth Gordon      5300-000              $0.00   $12,850.00   $7,500.00   $4,976.25
                         Heaton Jr
                 112a    Esmeralda           5300-000              $0.00    $3,250.00   $1,000.00    $663.50
                         Hurtado
                 113a    Gayla S Cox         5300-000              $0.00    $5,000.00   $1,500.00    $995.25
                 115a    Lisa Roper          5300-000              $0.00    $1,656.00   $1,000.00    $663.50
                 116     Stone Edie          5200-000              $0.00    $6,800.00      $0.00       $0.00
                 116     Stone Edie          5300-000              $0.00    $6,800.00      $0.00       $0.00
                 117a    Alcaraz Genessis    5300-000              $0.00    $3,000.00    $600.00     $398.10
                 118a    Monica Andrade      5300-000              $0.00    $1,800.00      $0.00       $0.00
                 119a    SAIRA ZAPIEN        5300-000              $0.00    $3,000.00   $1,500.00    $995.25
                 120a    Edie L. Stone       5300-000              $0.00    $6,800.00      $0.00       $0.00
                 121a    Cristina Figueroa   5300-000              $0.00    $8,680.00    $900.00     $597.15
                 122a    Rachel Carrillo     5300-000              $0.00        $0.00      $0.00       $0.00
                 124a    Scott Albert Winn   5300-000              $0.00    $2,000.00    $600.00     $398.10
                 125a    Ramirez Vanessa     5300-000              $0.00    $2,096.00    $960.00     $636.96
                         A
                 126a    Vanessa Cristina    5300-000              $0.00        $0.00    $600.00     $398.10
                         Ramirez
                 127a    Tracey McMillion    5300-000              $0.00    $4,064.00    $600.00     $398.10
                 128a    Jasmeet Gill        5300-000              $0.00        $0.00      $0.00       $0.00
                 129a    Soria Prisma        5300-000              $0.00    $3,950.00   $1,500.00    $995.25
                 130a    Pantoja Adrian      5300-000              $0.00        $0.00      $0.00       $0.00
                 137a    Vanessa Ramirez     5300-000              $0.00    $1,280.00      $0.00       $0.00
                 138a    Gisella Rivera      5300-000              $0.00    $1,700.00      $0.00       $0.00


           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                          Case 17-11824                                            Doc 1251


                 140a    Internal Revenue    5800-000               $0.00      $0.00       $0.00         $0.00
                         Service
                         CLERK, U.S.         5300-001               $0.00      $0.00       $0.00      $398.10
                         BANKRUPTCY
                         COURT
                         Cal-Med Central     5800-000               $0.00   $9,105.18   $9,105.18    $9,105.18
                         Billing, Inc.
                         INTERNAL            5300-000               $0.00      $0.00       $0.00    $30,293.76
                         REVENUE
                         SERVICE
                         Federal
                         Withholding
                         (Employee)
                         INTERNAL            5300-000               $0.00      $0.00       $0.00     $2,196.32
                         REVENUE
                         SERVICE
                         Medicare
                         (Employee)
                         INTERNAL            5300-000               $0.00      $0.00       $0.00     $9,391.07
                         REVENUE
                         SERVICE Social
                         Security
                         (Employee)
                         STATE OF            5300-000               $0.00      $0.00       $0.00     $1,514.69
                         CALIFORNIA
                         State Disability
                         Insurance
                         (Employee)
                         STATE OF            5300-000               $0.00      $0.00       $0.00     $7,573.45
                         CALIFORNIA
                         State Withholding
                         (Employee)
                         Able Guerra         5800-000           $8,576.47      $0.00       $0.00         $0.00
                         Amardeep Batti      5800-000           $3,614.43      $0.00       $0.00         $0.00
                         Aracely Guzman      5800-000           $3,419.07      $0.00       $0.00         $0.00
                         Ashee Ahmad         5800-000           $2,000.00      $0.00       $0.00         $0.00
                         Babatunde           5800-000           $4,143.11      $0.00       $0.00         $0.00
                         Adewoyin
                         Bryan Blew          5800-000           $8,650.98      $0.00       $0.00         $0.00
                         Daniel Gaona        5800-000          $17,139.27      $0.00       $0.00         $0.00
                         Daniel Kazakos      5800-000           $8,637.96      $0.00       $0.00         $0.00
                         Edsel Condez        5800-000           $2,000.00      $0.00       $0.00         $0.00
                         Elizabeth Rainz-    5800-000           $2,000.00      $0.00       $0.00         $0.00
                         Aswell
                         Ellen Musakwa       5800-000           $2,000.00      $0.00       $0.00         $0.00
                         Estella Lopez       5800-000           $3,127.74      $0.00       $0.00         $0.00
                         Fatima Meza         5800-000           $8,909.15      $0.00       $0.00         $0.00
                         Galyna              5800-000           $2,000.00      $0.00       $0.00         $0.00
                         Miskchenko
                         Guadalupe Cid       5800-000           $7,073.44      $0.00       $0.00         $0.00
                         Gupreet Bhullar     5800-000           $2,000.00      $0.00       $0.00         $0.00
           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                           Case 17-11824                                                Doc 1251


                         Gurdeep Singh        5800-000          $12,947.20          $0.00        $0.00        $0.00
                         Gurpreet Bhullar     5800-000           $4,407.00          $0.00        $0.00        $0.00
                         INTERNAL             5800-000               $0.00       $775.20       $775.20      $775.20
                         REVENUE
                         SERVICE
                         Federal
                         Unemployment
                         (Employer)
                         INTERNAL             5800-000               $0.00      $2,196.32     $2,196.32   $2,196.32
                         REVENUE
                         SERVICE
                         Medicare
                         (Employer)
                         INTERNAL             5800-000               $0.00      $9,391.07     $9,391.07   $9,391.07
                         REVENUE
                         SERVICE Social
                         Security
                         (Employer)
                         Jorge Hidrobo        5800-000           $3,405.06          $0.00        $0.00        $0.00
                         Kristofer Green      5800-000          $14,290.78          $0.00        $0.00        $0.00
                         Laura Mejia          5800-000           $6,234.92          $0.00        $0.00        $0.00
                         Lisa Andrada         5800-000           $5,870.55          $0.00        $0.00        $0.00
                         Martha Mercado       5800-000            $317.64           $0.00        $0.00        $0.00
                         Migdalia Cid         5800-000           $7,538.81          $0.00        $0.00        $0.00
                         Raj Sharma           5800-000          $10,258.12          $0.00        $0.00        $0.00
                         Roxanne Millan       5800-000           $7,450.18          $0.00        $0.00        $0.00
                         Sara Castleberry     5800-000           $6,970.43          $0.00        $0.00        $0.00
                         Sharnjeet Dosanjh    5800-000           $2,000.00          $0.00        $0.00        $0.00
                         STATE OF             5800-000               $0.00          $0.00        $0.00        $0.00
                         CALIFORNIA
                         (ETT) State
                         Employment
                         Training Tax
                         (Employer)
                         STATE OF             5800-000               $0.00      $8,010.37     $8,010.37   $8,010.37
                         CALIFORNIA
                         State
                         Unemployment
                         (Employer)
                         Tajinder Bajwa       5800-000           $3,876.93          $0.00        $0.00        $0.00
                         UNITED               5800-000          $83,770.24          $0.00        $0.00        $0.00
                         HEALTHCARE
                         Veronica Sedillo     5800-000            $418.38           $0.00        $0.00        $0.00
           TOTAL PRIORITY UNSECURED CLAIMS                     $255,047.86    $652,427.53   $203,698.25 $203,698.25


            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

             CLAIM         CLAIMANT           UNIFORM          CLAIMS          CLAIMS         CLAIMS      CLAIMS
            NUMBER                           TRAN. CODE     SCHEDULED        ASSERTED       ALLOWED         PAID
                 1       AmerisourceBerg      7100-000             $0.00      $1,435.13      $1,435.13      $108.15

           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                           Case 17-11824                                             Doc 1251


                         en Drug
                         Corporation
                  2      UnitedHealthcare     7100-000            $0.00    $28,836.02    $28,836.02    $2,173.06
                 4b      Ramon Ramirez        7100-000            $0.00   $514,240.00   $514,240.00   $38,752.64
                         and putative class
                         members in
                         Madera Co. Case
                         No. MCV073176
                  5      Ramon Ramirez        7100-000            $0.00    $97,200.00         $0.00        $0.00
                         in his
                         representative
                         capacity in
                         Madera Co. Case
                         MCV073176
                  6      J S West Propane     7100-000            $0.00      $299.54       $299.54       $22.57
                         Gaas
                 7b      Viloria Jennifer     7100-000            $0.00     $5,000.00     $4,400.00     $331.58
                 9b      Condez Edsel         7100-000            $0.00    $17,464.63    $15,664.63    $1,180.47
                 10b     George Sarikakis     7100-000            $0.00    $55,000.00    $40,000.00    $3,014.36
                 11b     JASKARN              7100-000            $0.00     $1,906.50     $1,906.50        $0.00
                         KAUR NAHAL
                         CLERK, U.S.          7100-001            $0.00         $0.00         $0.00     $143.67
                         BANKRUPTCY
                         COURT (Claim
                         No. 11b;
                         JASKARN
                         KAUR NAHAL)
                 14b     Suman Nahal          7100-000            $0.00     $4,500.00         $0.00        $0.00
                 16b     maria a              7100-000            $0.00     $4,800.00     $4,680.00     $352.68
                         valenzuela
                 17      Pension Benefit      7100-000            $0.00   $448,875.00   $448,875.00   $33,826.80
                         Guaranty
                         Corporation
                 18      Pension Benefit      7100-000            $0.00         $0.00         $0.00        $0.00
                         Guaranty
                         Corporation
                 19      Pension Benefit      7100-000            $0.00   $130,964.92   $130,964.92    $9,869.39
                         Guaranty
                         Corporation
                 20b     Todd Phillip         7100-000            $0.00     $3,031.00     $2,131.00     $160.59
                         Logan
                 21b     Employment           7100-000            $0.00    $22,659.22    $22,659.22    $1,707.58
                         Development
                         Department
                 21d     Employment           7300-000            $0.00    $22,659.22    $22,659.22        $0.00
                         Development
                         Department
                 22b     Adam                 7100-000            $0.00     $3,500.00     $2,000.00     $150.72
                         Covarrubias
                 23      Floyd Johnson        7100-000            $0.00      $324.00       $324.00       $24.42
                 25      LifeSaver CPR        7100-000            $0.00     $3,280.00     $3,280.00     $247.18

           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                           Case 17-11824                                              Doc 1251


                 26      Manjit S. Nagi       7100-000            $0.00     $7,000.00     $7,000.00      $527.51
                 27      Cristina Figueroa    7100-000            $0.00     $4,680.00         $0.00         $0.00
                 28      LifeSaver CPR        7100-000            $0.00     $3,280.00     $3,280.00      $247.18
                         LLC
                 29      HENRY SCHEIN         7100-000            $0.00   $103,106.86   $103,106.86     $7,770.04
                 30b     JM Partners LLC      7100-000            $0.00     $2,114.93     $2,114.93      $159.38
                 31      Soria Prisma         7100-000            $0.00     $3,800.00         $0.00         $0.00
                 32b     Mariela Tovar        7100-000            $0.00     $2,182.56     $2,182.56      $164.48
                 33      Garcia Linda         7100-000            $0.00     $1,400.00         $0.00         $0.00
                 35      Ramirez Vanessa      7100-000            $0.00     $1,920.00         $0.00         $0.00
                         A
                 36b     Arellano Guzman      7100-000            $0.00     $3,616.00      $443.80        $33.44
                         Maritza
                 37b     Theresa              7100-000            $0.00     $3,000.00         $0.00         $0.00
                         Peaster(nee Riley)
                 38      Anna Rascon          7100-000            $0.00   $285,236.00   $285,236.00         $0.00
                         Clerk, US            7100-001            $0.00         $0.00         $0.00    $21,495.12
                         Bankruptcy Court
                         (Claim No. 38;
                         Anna Rascon)
                 39b     Ramon Ramirez        7100-000            $0.00     $2,472.00     $2,232.00      $168.20
                         in his
                         representative
                         capacity in
                         Madera Co. Case
                         MCV073176
                 40      GUARDCO              7100-000            $0.00     $1,092.85     $1,092.85       $82.36
                         SECURITY
                         SERVICES, INC.
                 41      GARDCO               7100-000            $0.00     $1,035.00     $1,035.00       $78.00
                         SECURITY
                         SERVICES
                 42      Cid Guadalupe        7100-000            $0.00         $0.00         $0.00         $0.00
                 43      Cid Migdalia         7100-000            $0.00         $0.00         $0.00         $0.00
                 44      UnitedHealthcare     7100-000            $0.00   $218,065.74   $218,065.74   $218,065.74
                 45b     Patricia Gomez       7100-000            $0.00     $3,832.50     $3,757.50      $283.16
                 46      Mann Harmon          7100-000            $0.00         $0.00         $0.00         $0.00
                 47b     Roxanne              7100-000            $0.00    $11,800.00     $8,527.28      $642.61
                         Rodriguez
                 48      AmerisourceBerg      7100-000            $0.00     $1,435.13     $1,435.13      $108.15
                         en Drug
                         Corporation
                 49b     Daniel Gaona         7100-000            $0.00    $29,499.00    $25,750.00     $1,940.50
                 50      LifeSaver CPR        7100-000            $0.00     $3,280.00     $3,280.00      $247.18
                         LLC
                 51      c/o Debra Willet,    7100-000            $0.00     $3,573.17     $3,573.17      $269.27
                         VP, Assoc. Gen.
                         Counse


           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                             Doc 1251


                 52b     Sara Castleberry   7100-000            $0.00    $11,505.10     $4,534.67     $341.73
                 53      LifeSaver CPR      7100-000            $0.00     $3,280.00     $3,280.00     $247.18
                         LLC
                 54b     Blanca Jimenez     7100-000            $0.00     $2,000.00     $1,400.00     $105.50
                 55b     Raj Kumar          7100-000            $0.00    $10,000.00         $0.00        $0.00
                         Sharma
                 56      Gurdeep Singh      7100-000            $0.00    $12,000.00         $0.00        $0.00
                 57b     Bryan Blew         7100-000            $0.00    $17,473.00     $8,822.02     $664.82
                 58      Friaz Mendoza      7100-000            $0.00     $2,800.00     $2,800.00     $211.01
                         Guadalupe
                 59b     Hortensia          7100-000            $0.00     $4,016.25     $3,016.25     $227.30
                         Maldanado
                 60      CITY OF            7100-000            $0.00      $284.13       $284.13       $21.41
                         MERCED
                 62b     Nicole Bone        7100-000            $0.00     $1,840.00     $1,840.00     $138.66
                 64b     Iniguez Rosa       7100-000            $0.00     $8,783.32     $6,879.87     $518.46
                 65      PG&#038;E          7100-000            $0.00    $16,701.89    $16,701.89    $1,258.64
                 66b     Hazrat Rafah       7100-000            $0.00    $42,300.00    $42,300.00    $3,187.69
                 67b     Rachel Vega        7100-000            $0.00     $2,250.00     $1,650.00        $0.00
                         CLERK, U.S.        7100-001            $0.00         $0.00         $0.00     $124.34
                         BANKRUPTCY
                         COURT (Claim
                         No. 67b; Rachel
                         Vega)
                 68b     Kimberly Slown     7100-000            $0.00    $10,246.16     $8,861.55     $667.80
                         Benton
                 69b     Ann Palm           7100-000            $0.00     $4,500.00     $4,500.00     $339.12
                 70b     Abel b Guerra      7100-000            $0.00    $17,473.00     $8,896.53     $670.43
                 72b     Lisa Andrade       7100-000            $0.00     $7,117.45     $5,921.45     $446.23
                 73b     Laura Magana       7100-000            $0.00     $4,252.50     $3,352.50     $252.64
                 74      Amanda             7100-000            $0.00     $1,792.00     $1,792.00     $135.04
                         Betancourt
                 75      Rabobank, N.A.     7100-000            $0.00         $0.00         $0.00        $0.00
                 76b     Deeba Abedi        7100-000            $0.00   $247,559.69   $247,559.69   $18,655.87
                 77b     Kristofer Robert   7100-000            $0.00    $42,152.00    $29,302.00    $2,208.17
                         Green
                 78      Gayla S. Cox       7100-000            $0.00     $5,000.00         $0.00        $0.00
                 79b     Jason Song         7100-000            $0.00    $26,400.00    $26,400.00    $1,989.48
                 80b     Joy Raron          7100-000            $0.00    $10,000.00    $10,000.00        $0.00
                         Clerk, US          7100-001            $0.00         $0.00         $0.00     $753.59
                         Bankruptcy Court
                         (Claim No. 80b;
                         Joy Raron)
                 81b     Heather Eyring-    7100-000            $0.00     $8,344.28     $6,844.28     $515.78
                         Burchett
                 82b     Shadi Safi         7100-000            $0.00     $1,809.94      $400.00       $30.14
                 86b     Sumon Nahal        7100-000            $0.00     $4,000.00     $2,960.00     $223.06
           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                           Case 17-11824                                                Doc 1251


                 87b     Daniel Kazakos       7100-000            $0.00     $4,614.00          $0.00          $0.00
                 88b     Daniel Kazakos       7100-000            $0.00     $7,300.00          $0.00          $0.00
                 89b     Theresa              7100-000            $0.00     $8,100.00      $8,100.00       $610.41
                         Peaster(nee Riley)
                 90b     Vargas Claudia       7100-000            $0.00     $2,040.00      $2,040.00          $0.00
                         CLERK, U.S.          7100-001            $0.00         $0.00          $0.00       $153.73
                         BANKRUPTCY
                         COURT (Claim
                         No. 90b; Vargas
                         Claudia)
                  91     U.S. Department      7100-000            $0.00 $1,457,269.20   $1,457,269.20   $109,818.43
                         Health and
                         Human Services
                 92a     Norma Perez          7100-000            $0.00     $4,000.00      $4,000.00       $301.44
                 93b     Ruste Sasser         7100-000            $0.00    $15,000.00     $15,000.00          $0.00
                         Clerk, US            7100-001            $0.00         $0.00          $0.00      $1,130.39
                         Bankruptcy Court
                         (Claim No. 93b;
                         Ruste Sasser)
                 95b     JM Partners, LLC     7100-000            $0.00     $5,000.00      $3,500.00       $263.76
                 96b     Maria Casillas       7100-000            $0.00     $2,000.00      $2,000.00       $150.72
                 97b     Perry Raquel         7100-000            $0.00     $6,800.00      $6,800.00          $0.00
                         Clerk, US            7100-001            $0.00         $0.00          $0.00       $512.44
                         Bankruptcy Court
                         (Claim No. 97b;
                         Perry Raquel)
                 98b     Bustillos Irene      7100-000            $0.00     $5,600.00      $4,400.00       $331.58
                 100b    Sarahlynn Flores     7100-000            $0.00     $1,280.00      $1,280.00        $96.46
                 101b    Escobar Charissa     7100-000            $0.00     $1,920.00      $1,747.50       $131.69
                 102b    Tina L Hall          7100-000            $0.00     $1,200.00      $1,200.00        $90.43
                 103b    ashee A amjad        7100-000            $0.00     $3,700.00          $0.00          $0.00
                         Waryam
                 104b    Estella Lopez        7100-000            $0.00     $5,600.22      $4,215.61       $317.68
                 105b    Aulakh Rajinder      7100-000            $0.00     $3,496.87      $3,496.87       $263.52
                 106b    Maria Erika          7100-000            $0.00         $0.00          $0.00          $0.00
                         Quezada Ibarra
                 107b    Garcia Linda         7100-000            $0.00     $2,800.00      $1,900.00          $0.00
                         Clerk, US            7100-001            $0.00         $0.00          $0.00       $143.18
                         Bankruptcy Court
                         (Claim No. 107b;
                         Garcia Linda)
                 108b    Fuller Hugo          7100-000            $0.00     $2,655.00      $2,055.00       $154.86
                 109     LIBERTY              7100-000            $0.00    $15,588.15     $15,588.15      $1,174.71
                         PRIVATE
                         SECURITY
                 110b    Michael Rice,        7100-000            $0.00    $42,595.00     $37,595.00          $0.00
                         horisons
                         unlimited


           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                          Case 17-11824                                                Doc 1251


                         Clerk, US           7100-001            $0.00         $0.00          $0.00      $2,833.12
                         Bankruptcy Court
                         (Claim No. 110b;
                         Michael Rice,
                         horisons
                         unlimited)
                 111b    Kenneth Gordon      7100-000            $0.00    $32,000.00     $27,000.00      $2,034.69
                         Heaton Jr
                 112b    Esmeralda           7100-000            $0.00     $3,250.00      $2,250.00       $169.56
                         Hurtado
                 113b    Gayla S Cox         7100-000            $0.00     $5,000.00      $3,500.00       $263.76
                 114a    United States on    7100-000            $0.00 $12,593,559.0 $12,593,559.00    $949,038.74
                         behalf of U.S.                                            0
                         Department of
                         Heal
                 114d    United States on    7300-000            $0.00 $25,187,120.0 $25,187,120.00          $0.00
                         behalf of U.S.                                            0
                         Department of
                         Heal
                 117b    Alcaraz Genessis    7100-000            $0.00     $3,000.00      $2,400.00       $180.86
                 118b    Monica Andrade      7100-000            $0.00     $1,800.00      $1,800.00       $135.65
                 119b    SAIRA ZAPIEN        7100-000            $0.00     $3,000.00      $1,500.00       $113.04
                 120b    Edie L. Stone       7100-000            $0.00     $6,800.00      $6,800.00       $512.44
                 121b    Cristina Figueroa   7100-000            $0.00     $4,000.00      $7,780.00       $586.29
                 122b    Rachel Carrillo     7100-000            $0.00         $0.00          $0.00          $0.00
                 123     Edith davalos       7100-000            $0.00         $0.00          $0.00          $0.00
                         amezcua
                 125b    Ramirez Vanessa     7100-000            $0.00     $2,096.00      $3,056.00       $230.30
                         A
                 126b    Vanessa Cristina    7100-000            $0.00         $0.00          $0.00          $0.00
                         Ramirez
                 127b    Tracey McMillion    7100-000            $0.00     $4,064.00      $3,464.00       $261.04
                 129b    Soria Prisma        7100-000            $0.00     $3,950.00      $2,450.00       $184.63
                 130b    Pantoja Adrian      7100-000            $0.00         $0.00          $0.00          $0.00
                 131     U.S. Department     7100-000            $0.00 $1,505,216.49   $1,505,216.49   $113,431.70
                         Health and
                         Human Services
                 132     Beacon Health       7100-000            $0.00    $32,435.62     $32,435.62          $0.00
                         Strategies LLC
                         Clerk, US           7100-001            $0.00         $0.00          $0.00      $2,444.32
                         Bankruptcy Court
                         (Claim No. 132;
                         Beacon Health
                         Strategies LLC)
                 133     Monica Porter       7100-000            $0.00     $6,630.00      $6,630.00          $0.00
                         Clerk, US           7100-001            $0.00         $0.00          $0.00       $499.63
                         Bankruptcy Court
                         (Claim No. 133;
                         Monica Porter)
                 134     Department of       7100-000            $0.00 $13,128,432.8 $13,128,432.89    $989,346.34
           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                            Doc 1251


                         Health Care                                              9
                         Services
                 135     ashee A amjad      7100-000             $0.00     $3,700.00        $0.00      $0.00
                         Waryam
                 136     Tina M Adame       7100-000             $0.00      $728.15      $728.15      $54.87
                 137b    Vanessa Ramirez    7100-000             $0.00     $1,920.00        $0.00      $0.00
                 140d    Internal Revenue   7300-000             $0.00      $457.61      $457.61       $0.00
                         Service
                 141     Larry Allan        7100-000             $0.00    $14,171.50   $14,171.50   $1,067.95
                         Cahill
                         AHMAD              7100-000          $2,000.00        $0.00        $0.00      $0.00
                         TOUSINEZHAD
                         AT&T               7100-000           $272.46         $0.00        $0.00      $0.00
                         AT&T               7100-000            $75.83         $0.00        $0.00      $0.00
                         Between            7100-000           $600.00         $0.00        $0.00      $0.00
                         Friends/Entre
                         Amigos
                         CERTEGY            7100-000           $107.00         $0.00        $0.00      $0.00
                         CHECK
                         SERVICES, INC
                         CERTEGY            7100-000            $31.00         $0.00        $0.00      $0.00
                         CHECK
                         SERVICES, INC
                         CITY OF            7100-000           $261.72         $0.00        $0.00      $0.00
                         GUSTINE
                         CITY OF            7100-000           $194.88         $0.00        $0.00      $0.00
                         LIVINGSTON
                         CITY OF            7100-000            $87.27         $0.00        $0.00      $0.00
                         LIVINGSTON
                         CITY OF            7100-000            $69.75         $0.00        $0.00      $0.00
                         LIVINGSTON
                         CITY OF            7100-000            $77.77         $0.00        $0.00      $0.00
                         LIVINGSTON
                         CITY OF            7100-000            $63.40         $0.00        $0.00      $0.00
                         MERCED
                         CITY OF            7100-000           $255.91         $0.00        $0.00      $0.00
                         MERCED
                         CITY OF            7100-000            $98.53         $0.00        $0.00      $0.00
                         NEWMAN
                         CITY OF            7100-000           $152.49         $0.00        $0.00      $0.00
                         PATTERSON
                         CITY OF            7100-000            $52.96         $0.00        $0.00      $0.00
                         PATTERSON
                         CITY OF            7100-000            $68.81         $0.00        $0.00      $0.00
                         RIVERBANK
                         CLIA               7100-000           $150.00         $0.00        $0.00      $0.00
                         LABORATORY
                         PROGRAM
                         COMCAST            7100-000           $236.77         $0.00        $0.00      $0.00

           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                              Doc 1251


                         COMCAST            7100-000           $677.70    $0.00   $0.00   $0.00
                         COMCAST            7100-000           $134.55    $0.00   $0.00   $0.00
                         COMCAST            7100-000              $0.54   $0.00   $0.00   $0.00
                         CYNTHIA            7100-000            $58.67    $0.00   $0.00   $0.00
                         TORRES (AP)
                         DAISY              7100-000           $127.00    $0.00   $0.00   $0.00
                         PADILLA
                         DENTAL             7100-000           $300.00    $0.00   $0.00   $0.00
                         BOARD OF
                         CALIFORNIA
                         DENTECH            7100-000           $511.03    $0.00   $0.00   $0.00
                         DEPARTMENT         7100-000        $402,022.00   $0.00   $0.00   $0.00
                         OF HEALTH
                         CARE
                         SERVICES
                         EDIE STONE         7100-000          $5,000.00   $0.00   $0.00   $0.00
                         Fatima Meza        7100-000            $36.42    $0.00   $0.00   $0.00
                         Aguirre
                         FIRST COMP         7100-000         $16,768.00   $0.00   $0.00   $0.00
                         FRONTIER           7100-000           $363.25    $0.00   $0.00   $0.00
                         GALYNA             7100-000          $3,307.00   $0.00   $0.00   $0.00
                         MISKCHENKO
                         GEORGE             7100-000         $10,000.00   $0.00   $0.00   $0.00
                         SARIKAKIS
                         GISELLA            7100-000            $77.38    $0.00   $0.00   $0.00
                         RIVERA (AP)
                         GREATER            7100-000           $245.00    $0.00   $0.00   $0.00
                         MERCED
                         CHAMBER OF
                         COMMERCE
                         GUARDCO            7100-000          $1,035.00   $0.00   $0.00   $0.00
                         SECURITY
                         SERVICE
                         HAZRAT             7100-000          $5,000.00   $0.00   $0.00   $0.00
                         RAFAH
                         HAZRAT             7100-000          $2,000.00   $0.00   $0.00   $0.00
                         RAFAH
                         HENRY SCHEIN       7100-000         $68,368.87   $0.00   $0.00   $0.00
                         JASON SONG         7100-000          $2,000.00   $0.00   $0.00   $0.00
                         JENNIFER           7100-000            $74.20    $0.00   $0.00   $0.00
                         VILORIA (AP)
                         JS WEST            7100-000           $299.54    $0.00   $0.00   $0.00
                         PROPANE GAS
                         JULIANA            7100-000            $19.56    $0.00   $0.00   $0.00
                         MERCADO
                         KEITHRYNNE         7100-000         $85,000.00   $0.00   $0.00   $0.00
                         PAULAR
                         Kelsi Banks (AP)   7100-000            $75.00    $0.00   $0.00   $0.00


           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                              Doc 1251


                         KEVIN TRAN         7100-000          $3,000.00   $0.00   $0.00   $0.00
                         LIBERTY            7100-000          $7,834.05   $0.00   $0.00   $0.00
                         PRIVATE
                         SECURITY
                         LOS BANOS          7100-000          $1,361.00   $0.00   $0.00   $0.00
                         PROFFESIONAL
                         ASSOCIATES
                         M&W                7100-000         $34,000.00   $0.00   $0.00   $0.00
                         CONSTRUCTIO
                         N INC
                         Maritza Arellano   7100-000            $84.46    $0.00   $0.00   $0.00
                         (AP)
                         MARTHA             7100-000           $317.64    $0.00   $0.00   $0.00
                         MERCADO
                         Mckesson           7100-000           $332.00    $0.00   $0.00   $0.00
                         Corporation
                         MERCED             7100-000            $50.00    $0.00   $0.00   $0.00
                         POLICE
                         DEPARTMENT
                         MERCED             7100-000           $250.00    $0.00   $0.00   $0.00
                         RESCUE
                         MISSION
                         MESA               7100-000           $202.95    $0.00   $0.00   $0.00
                         LABORATORIE
                         S INC
                         MESA               7100-000              $8.95   $0.00   $0.00   $0.00
                         LABORATORIE
                         S INC
                         MEYER DC           7100-000          $4,320.18   $0.00   $0.00   $0.00
                         MICHAEL RICE       7100-000         $10,000.00   $0.00   $0.00   $0.00
                         MID-VALLEY         7100-000           $141.31    $0.00   $0.00   $0.00
                         SURGICAL
                         SUPPLY
                         MISSION            7100-000           $415.36    $0.00   $0.00   $0.00
                         LINEN SUPPLY
                         MOSS ADAMS         7100-000         $13,000.00   $0.00   $0.00   $0.00
                         LLP
                         NATIONAL           7100-000           $440.00    $0.00   $0.00   $0.00
                         HEALTHCARE
                         ASSOCIATION
                         NORMA PEREZ        7100-000            $19.56    $0.00   $0.00   $0.00
                         (AP)
                         PG&E               7100-000            $15.94    $0.00   $0.00   $0.00
                         PG&E               7100-000            $52.06    $0.00   $0.00   $0.00
                         PG&E               7100-000            $47.02    $0.00   $0.00   $0.00
                         PG&E               7100-000           $260.29    $0.00   $0.00   $0.00
                         PG&E               7100-000           $879.60    $0.00   $0.00   $0.00
                         PG&E               7100-000           $382.03    $0.00   $0.00   $0.00
                         PG&E               7100-000          $1,244.66   $0.00   $0.00   $0.00

           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                         Case 17-11824                                                  Doc 1251


                         PG&E               7100-000           $174.72          $0.00          $0.00         $0.00
                         PG&E               7100-000           $450.00          $0.00          $0.00         $0.00
                         PG&E               7100-000            $23.96          $0.00          $0.00         $0.00
                         PG&E               7100-000           $266.74          $0.00          $0.00         $0.00
                         PG&E               7100-000           $128.94          $0.00          $0.00         $0.00
                         QUEST              7100-000           $653.92          $0.00          $0.00         $0.00
                         DIAGNOSTICS
                         RANDIK PAPER       7100-000          $2,241.55         $0.00          $0.00         $0.00
                         ROSA               7100-000           $150.15          $0.00          $0.00         $0.00
                         INIGUEZ(AP)
                         RX SECURITY        7100-000           $144.95          $0.00          $0.00         $0.00
                         SALMERI            7100-000           $980.16          $0.00          $0.00         $0.00
                         INSURANCE
                         AGENCY INC
                         SHADI SAFI         7100-000           $210.94          $0.00          $0.00         $0.00
                         (AP)
                         SHANNON            7100-000           $238.17          $0.00          $0.00         $0.00
                         UNRUH (AP)
                         SIERRA             7100-000           $427.23          $0.00          $0.00         $0.00
                         TELEPHONE
                         SPINARDI &         7100-000          $2,193.10         $0.00          $0.00         $0.00
                         JONES
                         STERICYCLE         7100-000          $2,471.48         $0.00          $0.00         $0.00
                         INC
                         TRAZARRA           7100-000            $58.41          $0.00          $0.00         $0.00
                         MANUAL (AP)
                         TURLOCK            7100-000           $141.77          $0.00          $0.00         $0.00
                         IRRIGATION
                         DISTRICT
                         VERONICA           7100-000           $418.38          $0.00          $0.00         $0.00
                         SEDILLO
                         WIPFLI LLP         7100-000         $30,000.00         $0.00          $0.00         $0.00
           TOTAL GENERAL UNSECURED CLAIMS                   $728,390.89 $56,731,167.3 $56,469,705.42   $2,557,316.6
                                                                                    3                             3




           UST Form 101-7-TDR (10/1/2010)
Filed 03/10/21                                                                                     Case 17-11824
                                                                                                      FORM 1
                                                                                                                                                                                                                    Doc 1251
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                    Page No:    1              Exhibit 8
                                                                                              ASSET CASES

  Case No.:                    17-11824-B-7                                                                                                        Trustee Name:                              James E. Salven
  Case Name:                   HORISONS UNLIMITED                                                                                                  Date Filed (f) or Converted (c):           08/13/2017 (c)
  For the Period Ending:       3/8/2021                                                                                                            §341(a) Meeting Date:                      09/14/2017
                                                                                                                                                   Claims Bar Date:                           12/20/2017

                                   1                                               2                        3                              4                        5                                           6

                          Asset Description                                     Petition/            Estimated Net Value                Property               Sales/Funds              Asset Fully Administered (FA)/
                           (Scheduled and                                     Unscheduled           (Value Determined by                Abandoned              Received by              Gross Value of Remaining Assets
                      Unscheduled (u) Property)                                  Value                     Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                                                   Less Liens, Exemptions,
                                                                                                      and Other Costs)

   Ref. #
  1       Cash on hand                                                                  $350.00                         $350.00                                         $537.22                                           FA
  Asset Notes:      see Asset 31
  2       BBVA Compass Checking                                                        $1,200.00                      $2,653.65                                     $2,653.65                                             FA
  3       Chase Checking                                                        $1,126,831.13                       $890,000.00                                           $0.00                                           FA
  Asset Notes:      money consolidated by Chapter 11 trustee see asset 29
  4       Chase Checking                                                           $21,344.98                        $21,344.98                                           $0.00                                           FA
  5       Bank of the West Checking                                             $1,635,241.29                        $25,000.00                                   $337,576.90                                             FA
  Asset Notes:      money consolidated by Chapter 11 trustee see asset 29
  6      Bank of America cashier's check payable June 4,                          $117,526.84                       $117,526.84                                           $0.00                                           FA
         2017
  Asset Notes:    money consolidated by Chapter 11 trustee see asset 29
  7       Insurance claim for vehicle                                              $17,727.00                        $17,727.00                                           $0.00                                           FA
  Asset Notes:      not there when converted
  8      Security deposit for lease of $3,000.00 by                                    $3,000.00                      $3,000.00                                           $0.00                                           FA
         Horisons Unlimimted for 1120 W I St. #B Los
         Banos, CA held by Norman and Sandra Haar
  Asset Notes:     no value
  9       Sensiba San Filippo LLP; tax consultant                                  $10,000.00                        $10,000.00                                           $0.00                                           FA
  Asset Notes:      not there when converted
  10     Pillsbury Winthrop Shaw Pittman LLP;                                     $105,796.10                       $105,826.14                                   $113,415.01                                             FA
         remaining retainer
  Asset Notes:     also includes $7588.87 refund
  11      Accounts receivable 90 days old or less:                                $318,219.00                       $318,219.00                                           $0.00                                           FA
  Asset Notes:      records not accessible; however no value due to charges of fraud
  12      Accounts receivable Over 90 days old:                                 $1,077,338.20                     $1,077,338.20                                           $0.00                                           FA
  Asset Notes:      records not accessible; however no value due to charges of fraud
  13      JP Morgan Retirement Brokerage                                        $1,198,877.04                     $1,198,877.04                                           $0.00                                           FA
  Asset Notes:      taken over by PBGC
  14      Other inventory or supplies Medical and dental                           $92,688.66                        $92,688.66                                           $0.00                                           FA
          supplies
Filed 03/10/21                                                                                     Case 17-11824
                                                                                                      FORM 1
                                                                                                                                                                                                                       Doc 1251
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                       Page No:    2              Exhibit 8
                                                                                              ASSET CASES

  Case No.:                       17-11824-B-7                                                                                                        Trustee Name:                              James E. Salven
  Case Name:                      HORISONS UNLIMITED                                                                                                  Date Filed (f) or Converted (c):           08/13/2017 (c)
  For the Period Ending:          3/8/2021                                                                                                            §341(a) Meeting Date:                      09/14/2017
                                                                                                                                                      Claims Bar Date:                           12/20/2017

                                     1                                           2                          3                                 4                        5                                           6

                            Asset Description                                  Petition/             Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                             (Scheduled and                                  Unscheduled            (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                        Unscheduled (u) Property)                               Value                      Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                   Less Liens, Exemptions,
                                                                                                      and Other Costs)

  Asset Notes:       no value
   Ref. #
  15      Office furniture                                                       $113,491.32                        $113,491.32                                             $0.00                                            FA
  Asset Notes:       sold as part of asset 37
  16     Office equipment, including all computer                                $239,062.58                        $239,062.58                                             $0.00                                            FA
         equipment and communication systems
         equipment and software
  Asset Notes:     sold as part of asset 37
  17       Eleven business Vehicles(changed to 10 but we                          $62,681.50                         $62,673.50                                             $0.00                                            FA
           found and sold 11)
           see assets
  Asset Notes:       value changed in amended Schedules filed 05/24
                     sold at auction
  18       Residential Care Facility, 160 S. 13th St.                          $1,400,000.00                        $500,000.00                                      $610,000.00                                             FA
           Chowchilla CA
  19       Residential House 1763 Forest Grove St.                               $251,603.00                        $184,406.46                                      $200,786.20                                             FA
           Merced CA 95340
  20     Total leasehold improvements across all clinic                       $1,328,260.36                       $1,328,260.36                                             $0.00                                            FA
         locations
  Asset Notes:      given that improvements were to leased property-not deemed of saleable value
  21     Internet domain names and websites Registration                              $300.00                           $300.00                                             $0.00                                            FA
         of 20 domain names
  Asset Notes:     not deemed of value due to bankruptcy and fraud charges
  22       Patient mailing list                                                      Unknown                                 $0.00                                          $0.00                                            FA
  23     Causes of action against third parties (whether or                      $443,088.00                          $2,001.00                                             $0.00                                            FA
         not a lawsuit has been filed) Funds borrowed by
         Sandra Haar
  Asset Notes:     issues as to note from Haar settled. see asset 42
  24       VOID                                                                         $0.00                                $0.00                                          $0.00                                            FA
  Asset Notes:      compromise approved by court on 06/27/18
                    see asset 42
  25       Medical Receipts-mail intercept                             (u)              $0.00                        $25,000.00                                       $37,218.21                                             FA
Filed 03/10/21                                                                                          Case 17-11824
                                                                                                           FORM 1
                                                                                                                                                                                                                             Doc 1251
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                            Page No:    3              Exhibit 8
                                                                                               ASSET CASES

  Case No.:                        17-11824-B-7                                                                                                             Trustee Name:                              James E. Salven
  Case Name:                       HORISONS UNLIMITED                                                                                                       Date Filed (f) or Converted (c):           08/13/2017 (c)
  For the Period Ending:           3/8/2021                                                                                                                 §341(a) Meeting Date:                      09/14/2017
                                                                                                                                                            Claims Bar Date:                           12/20/2017

                                      1                                             2                              3                                4                        5                                           6

                            Asset Description                                    Petition/                 Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                             (Scheduled and                                    Unscheduled                (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                        Unscheduled (u) Property)                                 Value                          Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                         Less Liens, Exemptions,
                                                                                                            and Other Costs)

  Asset Notes:       doubtful any more will be intercepted
   Ref. #
  26      State of California EDD-mail intercept                     (u)                   $0.00                             $5,719.44                                             $0.00                                           FA
  27       City of Merced                                            (u)                   $0.00                             $8,556.02                                             $0.00                                           FA
  Asset Notes:       believe subject to right of offset
  28       Foremost Signature Ins. Farmers Ins.                      (u)                   $0.00                                 $500.00                                         $550.00                                           FA
  29       Funds turned over by Chapter 11 Trustee                   (u)                   $0.00                           $920,687.02                                     $581,686.02                                             FA
  30       Cash found at sites                                       (u)                   $0.00                                 $780.00                                         $780.00                                           FA
  31       Coin found at main office                                 (u)                   $0.00                                   $0.00                                         $508.90                                           FA
  Asset Notes:       coin, in two bags, found at site(less 11.9% counting machine charge
  32       Potential claim against D & O insurance                   (u)                   $0.00                           $750,000.00                                     $750,000.00                                             FA
  33       Investigate value, if any, of closed clinics              (u)                   $0.00                             $2,001.00                                             $0.00                                           FA
  Asset Notes:       assets sold
  34       U.S.P.S. MERCED                                           (u)                   $0.00                                 $188.00                                         $188.00                                           FA
  35       Medical Record Request monies                             (u)                   $0.00                             $2,236.00                                           $235.00                                           FA
  Asset Notes:       payments for request of medical records. no recent request and records to be destroyed-as year has passed
  36       GEICO INSURANCE CLAIM                                     (u)                   $0.00                                 $420.12                                         $420.12                                           FA
  Asset Notes:       Property damage claim
  37       Sale of clinic personal property                          (u)                   $0.00                           $100,000.00                                      $60,000.00                                             FA
  38       Rent on Chowchilla residential care building              (u)                   $0.00                            $75,000.00                                      $52,000.00                                             FA
  39       PG&E refund to Haar - DIP                                 (u)                   $0.00                                  $49.99                                     $2,392.47                                             FA
  40       City of Merced Utility refund for Forest Grove            (u)                   $0.00                                 $332.16                                         $332.16                                           FA
           Ct.
  41       Refund of Chapter 11 Trustee bond                         (u)                   $0.00                             $6,917.00                                       $6,917.00                                             FA
  42       Haar settlement(see assets 43 to 53)                      (u)                Unknown                                    $0.00                                    $40,321.94                                             FA
  43       55-59 North Salado Patterson                              (u)                   $0.00                           $525,000.00                                     $525,000.00                                             FA
  44       3271 N. Thorn Avenue Merced                               (u)                   $0.00                           $238,500.00                                     $238,500.00                                             FA
  45       5594 G St. Merced                                         (u)                   $0.00                           $530,000.00                                     $530,000.00                                             FA
  46       5158 Campbell Road Mariposa                               (u)                   $0.00                           $265,000.00                                     $265,000.00                                             FA
  47       Hwy 49 Mariposa APN 013-010-087                           (u)                   $0.00                           $208,000.00                                     $208,000.00                                             FA
  48       Hwy 49 Mariposa APN 013-010-088                           (u)                   $0.00                           $213,500.00                                     $213,500.00                                             FA
Filed 03/10/21                                                                                        Case 17-11824
                                                                                                         FORM 1
                                                                                                                                                                                                                           Doc 1251
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                           Page No:    4              Exhibit 8
                                                                                              ASSET CASES

  Case No.:                     17-11824-B-7                                                                                                              Trustee Name:                              James E. Salven
  Case Name:                    HORISONS UNLIMITED                                                                                                        Date Filed (f) or Converted (c):           08/13/2017 (c)
  For the Period Ending:        3/8/2021                                                                                                                  §341(a) Meeting Date:                      09/14/2017
                                                                                                                                                          Claims Bar Date:                           12/20/2017

                                    1                                              2                             3                                4                        5                                           6

                           Asset Description                                    Petition/                Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                            (Scheduled and                                    Unscheduled               (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                       Unscheduled (u) Property)                                 Value                         Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

  49      1221 Main St. Newman                                      (u)                   $0.00                         $157,500.00                                      $157,500.00                                             FA
  50      554 5th St. Gustine                                       (u)                   $0.00                         $275,000.00                                      $275,000.00                                             FA
  51      1120 W. I St. Los Banos                                   (u)                   $0.00                         $575,000.00                                      $575,000.00                                             FA
  52      517 W. Main St. Livingston                                (u)                   $0.00                         $430,000.00                                      $430,000.00                                             FA
  53      1241 Paseo Verde Drive Merced                             (u)                   $0.00                         $235,000.00                                      $235,075.00                                             FA
  54      Mariposa property rents and deposits                      (u)                   $0.00                                  $0.00                                           $0.00                                           FA
  55     Investigate Potential Claim against accounting             (u)                 $0.00                            $10,001.00                                              $0.00                                           FA
         firm re clean opinion audit
  Asset Notes:      based on review with General Counsel and PI attorney(Dan Spitzer) the issue is not worth pursuit
  56      Potential frd tsf claim against Gospel ministry           (u)                   $0.00                          $10,001.00                                              $0.00                                           FA
  Asset Notes:      see asset 73
  57      M & W Construction-Investigate potential                  (u)                   $0.00                          $10,001.00                                              $0.00                                           FA
          frd/pref claim
  Asset Notes:      default judgement of $66,400 obtained in adv 19-01049
                    Presently evaluating value of pursuit
                    not worth further pursuit-close without abandonment
  58      Investigate potential frd/pref tsf claim as to            (u)                   $0.00                          $10,001.00                                              $0.00                                           FA
          WPIFLI
  Asset Notes:      see asset 72
  59     Investigate propriety of pre-petition payments             (u)                   $0.00                          $62,142.00                                       $62,142.00                                             FA
         to Pillsbury legal firm
  Asset Notes:      resolved, subject to court approval
  60      2004 Hyundai(5b8sb12b584u657169)                                             $2,035.00                          $2,035.00                                            $500.00                                           FA
  61      2004 Totota(jtdkb20u14024945)                                                $3,502.00                          $3,502.00                                        $2,000.00                                             FA
  62      2004 BIGTE trailer(16vix142941e24573)                                        $2,000.00                          $2,000.00                                        $1,800.00                                             FA
  63      2005 Toyota(jtdkb20u453011901)                                               $3,538.00                          $3,538.00                                        $3,600.00                                             FA
  64      2007 Toyota(4t1be46k17u644325)                                               $5,204.00                          $5,204.00                                        $5,300.00                                             FA
  65      2012 Mazda(salvage title)(jm1de5y1c0138663)                                  $2,250.00                          $2,250.00                                        $3,800.00                                             FA
  66      2014 Toyota (94t1bf1fk2eu349291)                                         $12,170.00                            $12,170.00                                        $9,500.00                                             FA
  67      2012 Pick-up(salvage title)(1n6ad0er7cc462362)                               $6,985.50                          $6,985.50                                       $10,500.00                                             FA
  68      2015 Nissan (1n6sf0er3fn725617)                                          $17,000.00                            $17,000.00                                       $15,000.00                                             FA
  69      2011 Ford (537Ls7d42bt056788)                                                $8,000.00                          $8,000.00                                        $9,400.00                                             FA
Filed 03/10/21                                                                                           Case 17-11824
                                                                                                            FORM 1
                                                                                                                                                                                                                                   Doc 1251
                                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                              Page No:    5              Exhibit 8
                                                                                                  ASSET CASES

  Case No.:                     17-11824-B-7                                                                                                                     Trustee Name:                               James E. Salven
  Case Name:                    HORISONS UNLIMITED                                                                                                               Date Filed (f) or Converted (c):            08/13/2017 (c)
  For the Period Ending:        3/8/2021                                                                                                                         §341(a) Meeting Date:                       09/14/2017
                                                                                                                                                                 Claims Bar Date:                            12/20/2017

                                    1                                                   2                           3                                   4                          5                                           6

                           Asset Description                                        Petition/               Estimated Net Value                     Property                 Sales/Funds              Asset Fully Administered (FA)/
                            (Scheduled and                                        Unscheduled              (Value Determined by                     Abandoned                Received by              Gross Value of Remaining Assets
                       Unscheduled (u) Property)                                     Value                        Trustee,                    OA =§ 554(a) abandon.           the Estate
                                                                                                          Less Liens, Exemptions,
                                                                                                             and Other Costs)

  70      2016 GMC (1gtn1lec5gz901376)                                  (u)                   $0.00                           $2,001.00                                           $16,500.00                                            FA
  Asset Notes:       not listed by debtor in attached schedule-but explains why originally said 11 and we sold 11
  71      v Health Consulting Adv 19-01042                              (u)                   $0.00                           $5,000.00                                            $9,000.00                                            FA
  72      v. WIPILI Adv 19-01043                                        (u)                   $0.00                          $10,000.00                                           $12,304.72                                            FA
  73      v. Modesto Gospel Mission Adv 19-01043                        (u)                   $0.00                          $30,000.00                                           $25,000.00                                            FA
  74      Wells Fargo Checking a/c 9070(closed 05/09/17)                (u)              $27,943.78                                 $0.00                                               $0.00                                           FA
  Asset Notes:       per amendment filed 06/26/17
  75      Citi Bank checking a/c-9618(closed 05/19/17)                  (u)           $1,352,566.96                                 $0.00                                               $0.00                                           FA
  Asset Notes:       per amendment filed 06/26/17
  76      Citi Bank checking a/c-9626(closed 05/10/17)                  (u)              $13,890.40                                 $0.00                                               $0.00                                           FA
  Asset Notes:       per amendment filed 06/26/17


  TOTALS (Excluding unknown value)                                                                                                                                                                         Gross Value of Remaining Assets
                                                                                      $11,021,712.64                     $12,073,464.98                                        $6,637,440.52                                       $0.00




       Major Activities affecting case closing:
        06/25/2020      admin claim bar date was 02/28/19
        06/19/2020      Claim allowed, in its entirety, but denied priority status.
                        case ready to close
        03/24/2020      hearing to be set for 05/05/20
                        once resolved can get final fee apps and close
        03/08/2020      General counsel to file obj to Claim 76
        03/05/2020      atty(Fear) update


                        Horisens: The 9019 to approve the settlement with the Mission is set for 3/18. Do you have anything else for me on this case? If not, we're done and I can prepare our final fee
                        application.
                        Required Action: None at this time.
        02/14/2020      requested estate counsel(Egan) to file objections to claims of Ramirez-as is only unsettled issues remainin
        02/10/2020      issue with Gospel Mission resolved $25k to be paid before sanction hearing
                        compromise to be filed after funds received
Filed 03/10/21                                                                                          Case 17-11824
                                                                                                           FORM 1
                                                                                                                                                                                                                                    Doc 1251
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                   Page No:    6              Exhibit 8
                                                                                              ASSET CASES

  Case No.:                   17-11824-B-7                                                                                                                       Trustee Name:                                James E. Salven
  Case Name:                  HORISONS UNLIMITED                                                                                                                 Date Filed (f) or Converted (c):             08/13/2017 (c)
  For the Period Ending:      3/8/2021                                                                                                                           §341(a) Meeting Date:                        09/14/2017
                                                                                                                                                                 Claims Bar Date:                             12/20/2017

                                  1                                                 2                              3                                    4                          5                                            6

                         Asset Description                                      Petition/                  Estimated Net Value                     Property                   Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                      Unscheduled                 (Value Determined by                     Abandoned                  Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                   Value                           Trustee,                    OA =§ 554(a) abandon.             the Estate
                                                                                                         Less Liens, Exemptions,
                                                                                                            and Other Costs)

       02/06/2020     atty 02/20 update


                      Horisens: There is one remaining AP
                      AP v. Modesto Gospel Mission: My motion to compel discovery response required compliance by 1/21. In trying to move this along to some resolution I filed for summary judgment to
                      be heard on 2/25.


                      I got nothing back to the discovery motion, except an email from David telling me how hard his personal life has been and saying we need to settle the case, but making no offers. I gave
                      him several days to do so and threatened terminating sanctions if he didn't. I heard nothing further, so I've filed for terminating sanctions, that hearing is set for 2/25 as well and their
                      response is due 2/11. Per the rules I had to serve the defendant itself, not just Johnston, so maybe we'll hear something by next week from the defendant.


                      Their MSJ response was due this past Tuesday and I got nothing. Normally I'd suggest that we had this in the bag, but Clement has shown a propensity for giving leash on default, so I
                      wouldn't plan a victory lap yet.
                      Required Action: None at this time, we'll know more after the hearings on 2/25..
       12/30/2019     atty Fear month end update


                      Two issues left as follows:
                      AP v. Modesto Gospel Mission: Defendants are in default on their discovery responses so I filed a motion to compel and included a prayer for terminating sanctions. This was granted
                      on 12/18, but Clement denied my request for terminating sanctions. Instead, he expressed more concern about David Johnston's health than anything else, and gave the defendant 30 days
                      to come into compliance with no sanctions. I did get a declaration from him that the requests for admissions, which were formatted along the lines of our claims, were deemed admitted.


                      Based on this, I prepared the motion for summary judgment or, atlernatively, to summary adjudication. We will *not* get summary judgment on actually fraudulent transfer, there's just
                      no evidence one way or the other and not even their lack of resposne can cure that. However, as to the constructively fraudulent tranfers and prefernece claim I think we're quite strong
                      on- and would prevail.


                      I've shipped that motion over to David with a demand that he agree to your $25k offer by 1/10, or I'll file the MSJ and believe we'll win across the board. I've not heard anything back
                      from him yet, but he's got a couple weeks left.

                      AP v. Health Consulting Strategies, Inc. - The court approved the settlement, so I'll be dismissing the AP.
                      Required Action: None at this time.
Filed 03/10/21                                                                                         Case 17-11824
                                                                                                          FORM 1
                                                                                                                                                                                                                                   Doc 1251
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                 Page No:    7               Exhibit 8
                                                                                              ASSET CASES

  Case No.:                   17-11824-B-7                                                                                                                      Trustee Name:                                James E. Salven
  Case Name:                  HORISONS UNLIMITED                                                                                                                Date Filed (f) or Converted (c):             08/13/2017 (c)
  For the Period Ending:      3/8/2021                                                                                                                          §341(a) Meeting Date:                        09/14/2017
                                                                                                                                                                Claims Bar Date:                             12/20/2017

                                  1                                                2                               3                                   4                          5                                            6

                         Asset Description                                      Petition/                  Estimated Net Value                    Property                  Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                      Unscheduled                 (Value Determined by                    Abandoned                 Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                   Value                           Trustee,                   OA =§ 554(a) abandon.            the Estate
                                                                                                         Less Liens, Exemptions,
                                                                                                            and Other Costs)

       12/05/2019     atty(fear) Nov 2019 update


                      There is one remaining AP and one waiting on settlement.
                      AP v. Modesto Gospel Mission: Defendants are in default on their discovery responses so I filed a motion to compel and included a prayer for terminating sanctions. This will be heard
                      on 12/18 and I'll let you know what the court's ruling is.
                      AP v. Health Consulting Strategies, Inc. - I received he $9k settlement check in the mail from last week today. I'll send it over to you today via mail. The 9019 to approve the settlement
                      is set for hearing 12/18. .
                      Required Action: None at this time
       12/05/2019     atty(Wilke Flury) Nov 2019 update


                      talked with Kevin Bonsignore re MW adversary. took judgment I requested they make offer to settle for 50%-no response, as yet
       11/04/2019     Special counsel atty update


                      Horisens: There are two remaining APs (the WIPFLI LLP case settled and was closed) Here's the status of the two remaining cases.
                      AP v. Modesto Gospel Mission: Defendants are in default on their discovery responses. David Johnston, their counsel, tendered an offer of $10k ('the most'). I responded with your
                      counter of $26k. I haven't heard back and don't expect to any time soon if past history is any indicator.


                      AP v. Health Consulting Strategies, Inc. - I granted an extension for discovery responses until Monday on the basis that they said they would send over a settlement offer to try to
                      resolve everything. I'll let you know Monday whether the offer comes, but if not I don't intend to grant further extensions and will move to compel discovery responses.
                      Required Action: None at this time.
       10/01/2019     to seek approval to pay storage fees; destroy remaining acct'g records; and, pay for same hearing to be 10/16/19
       09/30/2019     atty 10/19 update


                      Horisens: There are three APs I was working, one closed out: Here's the status of all three:
                      AP v. Modesto Gospel Mission: The court granted my motion to amend the complaint to include a preference claim against the Mission in addition to the fraudulent transfer claims.
                      Status conference is 10/23. If he hasn't answered by then I'll put him in default. I also issued discovery requests which are due late in October.
                      AP v. Health Consulting Strategies, Inc. - Since the court permitted the Defendants to file a late Answer- I prepared discovery and served it on them. Their responses are due in late
                      October.
                      AP v. WIPFLI, LLP - The court granted my 9019 motion to approve the settlement with WIPFLI. You should have the settlement check for that. I submitted a stipulation for dismissal
                      last week so we're done with this case.
                      Required Action: None at this time.
       08/17/2019     talked with General counsel on 08/14/19 re gov't claim. we will give them until 09/30/19 to resolve "penalty" portion issue or will request court to resolve.
Filed 03/10/21                                                                                          Case 17-11824
                                                                                                           FORM 1
                                                                                                                                                                                                                                     Doc 1251
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                     Page No:    8              Exhibit 8
                                                                                              ASSET CASES

  Case No.:                   17-11824-B-7                                                                                                                       Trustee Name:                                 James E. Salven
  Case Name:                  HORISONS UNLIMITED                                                                                                                 Date Filed (f) or Converted (c):              08/13/2017 (c)
  For the Period Ending:      3/8/2021                                                                                                                           §341(a) Meeting Date:                         09/14/2017
                                                                                                                                                                 Claims Bar Date:                              12/20/2017

                                  1                                                 2                                 3                                 4                          5                                             6

                         Asset Description                                      Petition/                  Estimated Net Value                     Property                   Sales/Funds                Asset Fully Administered (FA)/
                          (Scheduled and                                      Unscheduled                 (Value Determined by                     Abandoned                  Received by                Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                   Value                           Trustee,                    OA =§ 554(a) abandon.             the Estate
                                                                                                         Less Liens, Exemptions,
                                                                                                            and Other Costs)

       08/02/2019     Special Counsel Fear August update


                      AP v. Modesto Gospel Mission: We filed the AP- they've asserted several affirmative defenses. The most novel part is that they contend the $52k payment was not a gift, as the
                      evidence shows, but instead that Sandra Haar convinced the mission to make several hundred thousand dollars worth of renovations to their building so Horisons could install a dental
                      clinic. Their attorney, David Johnston, sent over a bunch of receipts and cancelled checks for improvements to the Mission, but nothing that says anything about Horisens' involvement.
                      Even if he could, however, it would be an avoidable transfer. I told him this and he said he'd raise other "applicable" defenses. I think he's entirely wrong, but I'm amending the AP to
                      include a claim to avoid the preference.


                      AP v. Health Consulting Strategies, Inc. - Mike Fletcher represents them, and has repeated said he'll be making an offer that will resolve some of the $30k claim, and some explanation for
                      why the rest isn't a preference. I've granted him two extensions to do so and he hasn't, so I'll be putting him in default.


                      AP v. WIPFLI, LLP - we're settled in principal, I'm finalizing the 9019 to approve the settlement.
       08/02/2019     Special Counsel Fear August update


                      AP v. Modesto Gospel Mission: We filed the AP- they've asserted several affirmative defenses. The most novel part is that they contend the $52k payment was not a gift, as the
                      evidence shows, but instead that Sandra Haar convinced the mission to make several hundred thousand dollars worth of renovations to their building so Horisons could install a dental
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                      Even if he could, however, it would be an avoidable transfer. I told him this and he said he'd raise other "applicable" defenses. I think he's entirely wrong, but I'm amending the AP to
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                      AP v. Health Consulting Strategies, Inc. - Mike Fletcher represents them, and has repeated said he'll be making an offer that will resolve some of the $30k claim, and some explanation for
                      why the rest isn't a preference. I've granted him two extensions to do so and he hasn't, so I'll be putting him in default.


                      AP v. WIPFLI, LLP - we're settled in principal, I'm finalizing the 9019 to approve the settlement.
       07/22/2019     issue re Pillsbury pre filing fees resolved subject to court approval
       05/20/2019     RESOLUTION/DROPPING ISSUE AS TO ACCOUNTANTS CLEAN OPINION


                      based on review with General Counsel and PI attorney(Dan Spitzer) the issue is not worth pursuit
       03/31/2019     discussed (last week) with estate general counsel the need to discuss claim classification issue with government re the "penalty" portion of claim. Settle or object.
       09/24/2018     negotiations with D & O carrier re settlement
                      reviewing prior audit report and work to ascertain if issue with accountants is worth pursuit
Filed 03/10/21                                                                                           Case 17-11824
                                                                                                            FORM 1
                                                                                                                                                                                                                        Doc 1251
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                        Page No:    9              Exhibit 8
                                                                                              ASSET CASES

  Case No.:                   17-11824-B-7                                                                                                             Trustee Name:                              James E. Salven
  Case Name:                  HORISONS UNLIMITED                                                                                                       Date Filed (f) or Converted (c):           08/13/2017 (c)
  For the Period Ending:      3/8/2021                                                                                                                 §341(a) Meeting Date:                      09/14/2017
                                                                                                                                                       Claims Bar Date:                           12/20/2017

                                  1                                                2                              3                            4                        5                                           6

                          Asset Description                                     Petition/                  Estimated Net Value              Property               Sales/Funds              Asset Fully Administered (FA)/
                           (Scheduled and                                     Unscheduled                 (Value Determined by              Abandoned              Received by              Gross Value of Remaining Assets
                      Unscheduled (u) Property)                                  Value                           Trustee,             OA =§ 554(a) abandon.         the Estate
                                                                                                         Less Liens, Exemptions,
                                                                                                            and Other Costs)

        09/07/2018     working to sell properties in conjunction with $2.4 million approved settlement
                       issues being pursued as to D & O insurance
                       looking in potential issues with accountants who did audit for 2015 year end


                       seeking to pay missed payroll of Chapter 11 and priority wage claims
        09/24/2017     investigating potential preference recoveries
                       investigating potential fraudulent transfers
                       listing and attempting sale of two pieces of real estate
                       attempting a sale of clinics
        09/23/2017     cash on hand at conversion
                       issues over medical billings
                       issues over transfers-potential preferential and fraudulent
        09/23/2017     care for medical records-per State and Federal law
                       investigate allegations of improper actions
        09/23/2017     no one showed at 341 meeting
        08/30/2017     trying to secure monies-chapter 11 trustee non-cooperative


   Initial Projected Date Of Final Report (TFR):          12/31/2020                           Current Projected Date Of Final Report (TFR):       12/31/2020               /s/ JAMES E. SALVEN
                                                                                                                                                                            JAMES E. SALVEN
Filed 03/10/21                                                                          Case 17-11824
                                                                                           FORM   2                                                                  Page No: 1                   Exhibit Doc
                                                                                                                                                                                                          9     1251
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                                   Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                             Bank Name:                              BANK OF THE WEST
  Primary Taxpayer ID #:             **-***2350                                                                                     Checking Acct #:                        ******9219
  Co-Debtor Taxpayer ID #:                                                                                                          Account Title:                          BANK OF THE WEST
  For Period Beginning:              5/10/2017                                                                                      Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                                       Separate bond (if applicable):

        1                 2                                3                                          4                                                    5                      6                     7

    Transaction        Check /                          Paid to/            Description of Transaction                               Uniform            Deposit           Disbursement                Balance
       Date             Ref. #                       Received From                                                                  Tran Code             $                    $


 09/01/2017             (5)      Bank of the West                    Starting Bank Balance on Sept 1, 2017                           1129-000          $325,875.55                                     $325,875.55
 09/01/2017                      Pre-Conversion Software Costs       ELECTRONIC DST MERCHANT SERVICE MERCH                           2420-000                                           $20.00         $325,855.55
                                                                     FEE 083117 8031477808 CCO 724300000857557
 09/01/2017            10489     Jasmeet Gill                        Check 10489 Payroll check                                       6950-000                                          $302.07         $325,553.48
 09/06/2017            10240     Execupay                            Check 10240 Payroll processing fee                              6950-000                                          $117.05         $325,436.43
 09/06/2017            10509     Hazrat Rafah                        Check 10509 Payroll check                                       6950-000                                         $1,608.49        $323,827.94
 09/08/2017             (5)      Pre-Conversion Software Credit      Deposit from insu co                                            1129-000            $5,623.53                                     $329,451.47
 09/12/2017                      Pre-Conversion Software Costs       STATEMENT COPY FEE STATEMENT COPY FEE                           2600-000                                           $39.00         $329,412.47
 09/12/2017            9159      Horisons                            Check 9159 withdrawn by Chapter 11 Trustee and sent                *                                         $309,010.00           $20,402.47
                                                                     to James Salven and there was a $10 fee.
                                                                     money from Chpt 11 Trustee                     $(309,000.00)    9999-000                                                           $20,402.47
                                                                     bank charge for cashiers check                      $(10.00)    2600-000                                                           $20,402.47
 09/20/2017                      Pre-Conversion Software Costs       CASH MANAGEMENT CHG-ACCOUNT ANALYSIS                            2600-000                                          $124.55          $20,277.92
                                                                     CHARGES
 09/26/2017                      Pre-Conversion Software Costs       ELECTRONIC DST Execupay 004NAf Invoice 092617                   2690-000                                          $336.12          $19,941.80
                                                                     721532350 CCD
 09/26/2017            10455     Eugene Lamazor                      Check 10455 Payroll check                                       6950-000                                          $594.95          $19,346.85
 09/27/2017                      Pre-Conversion Software Costs       software license fee                                            2690-000                                          $362.00          $18,984.85
                                                                     ELECTRONIC DST MICROSOFT 6041 EDI
                                                                     PAYMNT 092717 PPD TRN*1*AX000002M4VJX01
                                                                     necessary software license
 10/02/2017                      Pre-Conversion Software Costs       ELECTRONIC DBT MERCHANT SERVICE MERCH                           2600-000                                           $65.00          $18,919.85
                                                                     FEE 093017 8031477808 CCD 727300000757473
 10/20/2017                      Pre-Conversion Software Costs       CASH MANAGEMENT CHG -ACCOUNT                                    2600-000                                           $37.11          $18,882.74
                                                                     ANALYSIS CHARGES
 10/26/2017             (5)      Pre-Conversion Software Credit      Deposit ins pay                                                 1129-000              $70.18                                       $18,952.92
 10/26/2017             (5)      Pre-Conversion Software Credit      Deposit ins pay                                                 1129-000             $627.26                                       $19,580.18
 10/26/2017             (5)      Pre-Conversion Software Credit      Deposit ins ppay                                                1129-000            $2,164.77                                      $21,744.95



                                                                                                                                    SUBTOTALS          $334,361.29            $312,616.34
Filed 03/10/21                                                                          Case 17-11824
                                                                                           FORM   2                                               Page No: 2                   Exhibit Doc
                                                                                                                                                                                       9     1251
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                          17-11824-B-7                                                                 Trustee Name:                           James E. Salven
  Case Name:                        HORISONS UNLIMITED                                                           Bank Name:                              BANK OF THE WEST
  Primary Taxpayer ID #:            **-***2350                                                                   Checking Acct #:                        ******9219
  Co-Debtor Taxpayer ID #:                                                                                       Account Title:                          BANK OF THE WEST
  For Period Beginning:             5/10/2017                                                                    Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                3/8/2021                                                                     Separate bond (if applicable):

        1                 2                                3                                         4                                5                        6                     7

    Transaction        Check /                          Paid to/             Description of Transaction           Uniform           Deposit            Disbursement                Balance
       Date             Ref. #                       Received From                                               Tran Code            $                     $


 10/31/2017                      Pre-Conversion Software Costs       BANK DEBIT RETURN ITEM 00456 LOC#            2600-000                                           $30.00          $21,714.95
                                                                     0000000000
 11/01/2017                      Pre-Conversion Software Costs       ELECTRONIC DBT MERCHANT SERVICE MERCH        2600-000                                           $79.99          $21,634.96
                                                                     FEE 103117 8031477808 CCD 730400000821178
 11/02/2017                      Pre-Conversion Software Costs       software license fee                         2690-000                                          $362.00          $21,272.96


                                                                     ELECTRONIC DBT MICROSOFT 6041 EDI
                                                                     PAYMNT 110217 PPD
                                                                     TRN*1*AXOOOOOPN7BC5FI
 11/16/2017             (5)      Pre-Conversion Software Credit      deposit insu pay                             1129-000             $12.72                                        $21,285.68
                                                                     ELECTRONIC DEP NORI DIAN JEA HCCLAIMPMT
                                                                     111617 058945CCD
                                                                     TRN*1*EFT8671602*1450173185*000001011-
 11/20/2017                      Pre-Conversion Software Costs       CASH MANAGEMENT CHG -ACCOUNT                 2600-000                                           $44.15          $21,241.53
                                                                     ANALYSIS CHARGES
 11/27/2017                      Pre-Conversion Software Costs       software license fee                         2690-000                                          $364.06          $20,877.47
                                                                     ELECTRONIC DBT MICROSOFT 6041 EDI
                                                                     PAYMNT 112617 PPD
                                                                     TRN*1*AXOOOOOQP80BIQK
 12/01/2017             (5)      Pre-Conversion Software Credit      Deposit ins pay                              1129-000            $182.72                                        $21,060.19
 12/01/2017             (5)      Pre-Conversion Software Credit      Deposit ins pay                              1129-000            $702.55                                        $21,762.74
 12/01/2017             (5)      Pre-Conversion Software Credit      Deposit ins pay                              1129-000          $1,361.15                                        $23,123.89
 12/01/2017                      Pre-Conversion Software Costs       ELECTRONIC DST MERCHANT SERVICE MERCH        2600-000                                           $79.99          $23,043.90
                                                                     FEE 113017 8031477808 CCD 733400000825437
 12/06/2017                      Pre-Conversion Software Costs       BANK DEBIT RETURN ITEM 00402 LOG#            2600-000                                          $133.57          $22,910.33
                                                                     0000000000
 12/20/2017                      Pre-Conversion Software Costs       CASH MANAGEMENT CHG -ACCOUNT                 2600-000                                           $22.83          $22,887.50
                                                                     ANALYSIS CHARGES




                                                                                                                 SUBTOTALS           $2,259.14                     $1,116.59
Filed 03/10/21                                                                         Case 17-11824
                                                                                          FORM   2                                                                     Page No: 3                   Exhibit Doc
                                                                                                                                                                                                            9      1251
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                          17-11824-B-7                                                                                      Trustee Name:                           James E. Salven
  Case Name:                        HORISONS UNLIMITED                                                                                Bank Name:                              BANK OF THE WEST
  Primary Taxpayer ID #:            **-***2350                                                                                        Checking Acct #:                        ******9219
  Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                          BANK OF THE WEST
  For Period Beginning:             5/10/2017                                                                                         Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                3/8/2021                                                                                          Separate bond (if applicable):

        1                 2                                3                                        4                                                      5                        6                     7

    Transaction        Check /                          Paid to/            Description of Transaction                                 Uniform           Deposit            Disbursement                Balance
       Date             Ref. #                       Received From                                                                    Tran Code            $                     $


 12/27/2017                      Pre-Conversion Software Costs       software license fee                                              2690-000                                          $367.87          $22,519.63
                                                                     ELECTRONIC DBT MICROSOFT 6041 EDI
                                                                     PAYMNT 122717 PPD TRN*1
                                                                     *AXOOOOORG94BKRH
 12/27/2017            9398      BANK OF THE WEST                    Check 9398 Remainder of the funds sent to Chapter 7                  *                                         $22,010.00                $509.63
                                                                     Trustee
                                                                     funds from Chpt 11 trustee                        $(22,000.00)    9999-000                                                               $509.63
                                                                     Bank Fee                                             $(10.00)     2600-000                                                               $509.63
 01/02/2018                      Pre-Conversion Software Costs       ELECTRONIC DBT MERCHANT SERVICE MEACH                             2600-000                                           $79.99              $429.64
                                                                     FEE 123117 8031477808 CCD 736500000615619
 01/22/2018                      Pre-Conversion Software Costs       CASH MANAGEMENT CHG -ACCOUNT                                      2600-000                                           $71.04              $358.60
                                                                     ANALYSIS CHARGES
 02/01/2018                      Pre-Conversion Software Costs       ELECTRONIC DBT MERCHANT SERVICE MEACH                             2600-000                                            $5.00              $353.60
                                                                     FEE 013118 8031477808 CCD 803100000799595
 02/05/2018             (5)      Pre-Conversion Software Credit      Deposit ins pay                                                   1129-000            $180.38                                            $533.98
 02/05/2018             (5)      Pre-Conversion Software Credit      Deposit ins pay                                                   1129-000            $759.49                                          $1,293.47
 02/20/2018                      Pre-Conversion Software Costs       CASH MANAGEMENT CHG -ACCOUNT                                      2600-000                                           $22.14            $1,271.33
                                                                     ANALYSIS CHARGES
 03/08/2018             (5)      Pre-Conversion Software Credit      Deposit ins pay                                                   1129-000             $16.60                                          $1,287.93
 03/20/2018                      Pre-Conversion Software Costs       CASH MANAGEMENT CHG -ACCOUNT                                      2600-000                                           $28.71            $1,259.22
                                                                     ANALYSIS CHARGES
 04/20/2018                      Pre-Conversion Software Costs       CASH MANAGEMENT CHG -ACCOUNT                                      2600-000                                           $24.28            $1,234.94
                                                                     ANALYSIS CHARGES
 05/21/2018                      Pre-Conversion Software Costs       CASH MANAGEMENT CHG -ACCOUNT                                      2600-000                                           $21.97            $1,212.97
                                                                     ANALYSIS CHARGES
 05/31/2018                      Pre-Conversion Software Costs       ELECTRONIC DBT Execupay 0081 NC Invoice 053118                    6950-000                                           $66.57            $1,146.40
                                                                     721532350 CCD
                                                                     needed historical payroll data
 06/08/2018            9432      Pre-Conversion Software Costs       Check 9432 to close account                                       9999-000                                         $1,146.40                 $0.00



                                                                                                                                      SUBTOTALS             $956.47                 $23,843.97
Filed 03/10/21                                                                         Case 17-11824
                                                                                          FORM   2                                                                  Page No: 4             Exhibit Doc
                                                                                                                                                                                                   9      1251
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                          17-11824-B-7                                                                                   Trustee Name:                           James E. Salven
  Case Name:                        HORISONS UNLIMITED                                                                             Bank Name:                              BANK OF THE WEST
  Primary Taxpayer ID #:            **-***2350                                                                                     Checking Acct #:                        ******9219
  Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                          BANK OF THE WEST
  For Period Beginning:             5/10/2017                                                                                      Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                3/8/2021                                                                                       Separate bond (if applicable):

        1                 2                                3                                        4                                                    5                       6               7

    Transaction        Check /                          Paid to/            Description of Transaction                              Uniform           Deposit            Disbursement          Balance
       Date             Ref. #                       Received From                                                                 Tran Code            $                     $


                                                                                      TOTALS:                                                         $337,576.90            $337,576.90                 $0.00
                                                                                          Less: Bank transfers/CDs                                          $0.00              $1,146.40
                                                                                      Subtotal                                                        $337,576.90            $336,430.50
                                                                                          Less: Payments to debtors                                         $0.00                  $0.00
                                                                                      Net                                                             $337,576.90            $336,430.50



                       For the period of 5/10/2017 to 3/8/2021                                                  For the entire history of the account between 08/05/2019 to 3/8/2021

                       Total Compensable Receipts:                   $337,576.90                                Total Compensable Receipts:                                 $337,576.90
                       Total Non-Compensable Receipts:                     $0.00                                Total Non-Compensable Receipts:                                   $0.00
                       Total Comp/Non Comp Receipts:                 $337,576.90                                Total Comp/Non Comp Receipts:                               $337,576.90
                       Total Internal/Transfer Receipts:                   $0.00                                Total Internal/Transfer Receipts:                                 $0.00


                       Total Compensable Disbursements:                $5,430.50                                Total Compensable Disbursements:                             $5,430.50
                       Total Non-Compensable Disbursements:                $0.00                                Total Non-Compensable Disbursements:                             $0.00
                       Total Comp/Non Comp Disbursements:              $5,430.50                                Total Comp/Non Comp Disbursements:                           $5,430.50
                       Total Internal/Transfer Disbursements:        $332,146.40                                Total Internal/Transfer Disbursements:                     $332,146.40
Filed 03/10/21                                                                       Case 17-11824
                                                                                        FORM   2                                            Page No: 5                Exhibit Doc
                                                                                                                                                                              9     1251
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                          17-11824-B-7                                                           Trustee Name:                           James E. Salven
  Case Name:                        HORISONS UNLIMITED                                                     Bank Name:                              Independent Bank
  Primary Taxpayer ID #:            **-***2350                                                             Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                 Account Title:
  For Period Beginning:             5/10/2017                                                              Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                3/8/2021                                                               Separate bond (if applicable):

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    Transaction        Check /                       Paid to/            Description of Transaction         Uniform           Deposit            Disbursement             Balance
       Date             Ref. #                    Received From                                            Tran Code            $                     $


 09/05/2017             (25)     CITY OF MERCED                   Mail intercept funds                      1221-000          $8,556.02                                         $8,556.02
 09/05/2017             (25)     AFLAC                            Mail intercept funds                      1221-000          $1,308.72                                         $9,864.74
 09/05/2017             (25)     REGAL MEDICAL GROUP-CLAIMS       Mail intercept funds                      1221-000             $35.50                                         $9,900.24
 09/05/2017             (25)     WESTERN WORKERS COMPENSATION     Mail intercept funds                      1221-000            $153.44                                     $10,053.68
                                 CLAIM CENTER
 09/05/2017             (25)     WBC GROUP, LLC                   Mail intercept funds                      1221-000          $1,056.43                                      $11,110.11
 09/05/2017             (25)     HEALTH PLAN OF SAN MATEO         Mail intercept funds                      1221-000            $154.92                                      $11,265.03
 09/05/2017             (25)     CALIF. HEALTH & WELLNESS         Mail intercept funds                      1221-000                $3.36                                    $11,268.39
 09/05/2017             (25)     CAPITOL                          Mail intercept funds                      1221-000             $31.45                                      $11,299.84
 09/05/2017             (25)     LASALLE MEDICAL ASSOC. CLAIMS    Mail intercept funds                      1221-000            $106.50                                      $11,406.34
                                 DEPT.
 09/05/2017             (25)     LASALLE MEDICAL ASSOCIATES       Mail intercept funds                      1221-000             $48.00                                      $11,454.34
                                 CLAIMS DEPT.
 09/05/2017             (25)     HILL PHYSICIANS MEDICAL GROUP    Mail intercept funds                      1221-000             $75.00                                      $11,529.34
 09/05/2017             (25)     CORVEL ENTERPRISE COMP, INC.     Mail intercept funds                      1221-000            $836.94                                     $12,366.28
 09/05/2017             (25)     CALIF. HEALTH & WELLNESS         Mail intercept funds                      1221-000             $50.15                                     $12,416.43
 09/05/2017             (25)     WESTERN WORKERS COMPENSATION     Mail intercept funds                      1221-000            $153.44                                     $12,569.87
                                 CLAIM CENTER
 09/05/2017             (25)     LIVINGSTON COMMUNITY HEALTH      Mail intercept funds                      1221-000             $57.84                                     $12,627.71
 09/05/2017             (25)     CIGNA HEALTH                     Mail intercept funds                      1221-000                $4.00                                   $12,631.71
 09/05/2017             (25)     TRICARE PAYMENT                  Mail intercept funds                      1221-000             $67.64                                     $12,699.35
 09/05/2017             (25)     UNITED AG BENEFIT TRUST          Mail intercept funds                      1221-000             $55.27                                     $12,754.62
 09/05/2017             (25)     CBA ADMINISTRATORS               Mail intercept funds                      1221-000             $88.18                                     $12,842.80
 09/05/2017             (25)     TRICARE PAYMENT                  Mail intercept funds                      1221-000             $39.47                                     $12,882.27
 09/05/2017             (25)     STATE OF CALIFORNIA              Mail intercept funds                      1221-000          $5,719.44                                     $18,601.71
 09/05/2017             (28)     FOREMOST INS. FARMERS INS.       Medical receipt                           1221-000            $500.00                                     $19,101.71
 09/07/2017             (25)     ANTHEM BLUE CROSS                Mail intercept funds                      1221-000            $131.68                                     $19,233.39
 09/07/2017             (25)     CAPITOL ADMINISTRATORS, INC.     Mail intercept funds                      1221-000            $120.00                                     $19,353.39

                                                                                                           SUBTOTALS          $19,353.39                     $0.00
Filed 03/10/21                                                                           Case 17-11824
                                                                                            FORM   2                                        Page No: 6                Exhibit Doc
                                                                                                                                                                              9     1251
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                          17-11824-B-7                                                           Trustee Name:                           James E. Salven
  Case Name:                        HORISONS UNLIMITED                                                     Bank Name:                              Independent Bank
  Primary Taxpayer ID #:            **-***2350                                                             Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                 Account Title:
  For Period Beginning:             5/10/2017                                                              Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                3/8/2021                                                               Separate bond (if applicable):

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    Transaction        Check /                       Paid to/             Description of Transaction        Uniform           Deposit            Disbursement             Balance
       Date             Ref. #                    Received From                                            Tran Code            $                     $


 09/07/2017             (25)     ANTHEM BLUE CROSS                Mail intercept funds                      1221-000            $144.43                                     $19,497.82
 09/07/2017             (25)     ANTHEM BLUE CROSS                intercepted receipts                      1221-000             $87.25                                     $19,585.07
 09/07/2017             (25)     ANTHEM BLUE CROSS                Mail intercept funds                      1221-000             $50.40                                     $19,635.47
 09/07/2017             (25)     ANTHEM BLUE CROSS                Mail intercept funds                      1221-000            $140.00                                     $19,775.47
 09/07/2017             (25)     ANTHEM BLUE CROSS                Mail intercept funds                      1221-000             $25.20                                     $19,800.67
 09/07/2017             (25)     ANTHEM BLUE CROSS                Mail intercept funds                      1221-000            $334.03                                     $20,134.70
 09/07/2017             (25)     ANTHEM BLUE CROSS                Mail intercept funds                      1221-000             $50.84                                     $20,185.54
 09/07/2017             (25)     ANTHEM BLUE CROSS                Mail intercept funds                      1221-000             $76.91                                     $20,262.45
 09/07/2017             (25)     ANTHEM BLUE CROSS                Mail intercept funds                      1221-000             $19.76                                     $20,282.21
 09/07/2017             (25)     CSAS EXCESS INSURANCE            Mail intercept funds                      1221-000            $175.00                                     $20,457.21
                                 AUTHORITY
 09/07/2017             (25)     ANTHEM BLUE CROSS                Mail intercept funds                      1221-000             $93.30                                     $20,550.51
 09/07/2017             (25)     LINECO                           Mail intercept funds                      1221-000            $103.23                                     $20,653.74
 09/07/2017             (25)     LINECO                           Mail intercept funds                      1221-000            $103.23                                     $20,756.97
 09/07/2017             (25)     MARLEN TEJEDA                    Mail intercept funds                      1221-000             $20.00                                     $20,776.97
 09/07/2017             (25)     DAVID A LEE JR                   Mail intercept funds                      1221-000             $92.00                                     $20,868.97
 09/07/2017             (25)     A.O.                             Mail intercept funds                      1221-000            $124.40                                     $20,993.37
 09/07/2017             (25)     GABRIELA B.                      Mail intercept funds                      1221-000             $20.00                                     $21,013.37
 09/07/2017             (25)     AARON MURILLO                    Mail intercept funds                      1221-000             $92.00                                     $21,105.37
 09/07/2017             (25)     ADRIANA RUVALCABA                Mail intercept funds                      1221-000            $124.20                                     $21,229.57
 09/07/2017             (25)     KADEENAH PIMENTEL                Mail intercept funds                      1221-000             $92.00                                     $21,321.57
 09/07/2017             (25)     JOSE GONZALEZ                    Mail intercept funds                      1221-000             $20.00                                     $21,341.57
 09/07/2017             (25)     JENNIFER RAMIREZ                 Mail intercept funds                      1221-000             $20.00                                     $21,361.57
 09/07/2017             (25)     CAPITOL ADMINISTRATORS, INC.     Mail intercept funds                      1221-000             $76.87                                     $21,438.44
 09/07/2017             (25)     ELIA MENDOZA                     Mail intercept funds                      1221-000             $92.00                                     $21,530.44
 09/07/2017             (25)     ESMERALDA NERI                   Mail intercept funds                      1221-000            $124.20                                     $21,654.64
 09/07/2017             (25)     JULIANA SANTOYO                  Mail intercept funds                      1221-000             $20.00                                     $21,674.64


                                                                                                           SUBTOTALS           $2,321.25                     $0.00
Filed 03/10/21                                                                       Case 17-11824
                                                                                        FORM   2                                                          Page No: 7                Exhibit Doc
                                                                                                                                                                                            9     1251
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                          17-11824-B-7                                                                         Trustee Name:                           James E. Salven
  Case Name:                        HORISONS UNLIMITED                                                                   Bank Name:                              Independent Bank
  Primary Taxpayer ID #:            **-***2350                                                                           Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                               Account Title:
  For Period Beginning:             5/10/2017                                                                            Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                3/8/2021                                                                             Separate bond (if applicable):

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    Transaction        Check /                       Paid to/            Description of Transaction                       Uniform            Deposit           Disbursement             Balance
       Date             Ref. #                    Received From                                                          Tran Code             $                    $


 09/07/2017             (25)     ANNETH ISIDRO                    Mail intercept funds                                    1221-000              $20.00                                    $21,694.64
 09/07/2017             (25)     ELVIA HERNANDEZ                  Mail intercept funds                                    1221-000              $92.00                                    $21,786.64
 09/07/2017             (25)     ALEXA TEJEDA                     Mail intercept funds                                    1221-000              $20.00                                    $21,806.64
 09/07/2017             (25)     MARLEN MORENO                    Mail intercept funds                                    1221-000              $20.00                                    $21,826.64
 09/07/2017             (25)     UNITED AG BENEFIT TRUST          Mail intercept funds                                    1221-000              $55.27                                    $21,881.91
 09/07/2017             (25)     UNITED AG BENEFIT TRUST          Mail intercept funds                                    1221-000              $75.27                                    $21,957.18
 09/07/2017             (25)     ANTHEM BLUE CROSS                Mail intercept funds                                    1221-000              $75.50                                    $22,032.68
 09/07/2017             (25)     UNITED AG BENEFIT TRUST          Mail intercept funds                                    1221-000              $78.79                                     $22,111.47
 09/07/2017             (29)     RABOBANK, N.A.                   Bank acct. funds turned over from Chapter 11 Trustee    1290-010          $581,686.02                                  $603,797.49
 09/13/2017                      BANK OF THE WEST                 Funds turned over from Chapter 11 Trustee               9999-000          $309,000.00                                  $912,797.49
 09/14/2017             (25)     STATE OF CALIFORNIA FOR          Mail intercept funds                                    1221-000              $42.34                                   $912,839.83
                                 PERSONAL CHOICE BASIC
 09/14/2017             (25)     ABRAMS COLLEGE, DANIEL LUCKY,    Mail intercept funds                                    1221-000             $300.00                                   $913,139.83
                                 CLARENCE LUCKY
 09/14/2017             (25)     ABRAMS COLLEGE DANIEL LUCKY      Mail intercept funds                                    1221-000             $300.00                                   $913,439.83
                                 CLARENCE LUCKY
 09/14/2017             (25)     ABRAMS COLLEGE DANIEL LUCKY      Mail intercept funds                                    1221-000             $300.00                                   $913,739.83
                                 CLARENCE LUCKY
 09/14/2017             (25)     ABRAMS COLLEGE DANIEL LUCKY      Mail intercept funds                                    1221-000             $300.00                                   $914,039.83
                                 CLARENCE LUCKY
 09/14/2017             (25)     ABRAMS COLLEGE, DANIEL LUCKY ,   Mail intercept funds                                    1221-000             $300.00                                   $914,339.83
                                 CLARENCE LUCKY
 09/14/2017             (25)     ABRAMS COLLEGE DANIEL LUCKY      Mail intercept funds                                    1221-000             $300.00                                   $914,639.83
                                 CLARENCE LUCKY
 09/14/2017             (25)     ABRAMS COLLEGE DANIEL LUCKY      Mail intercept funds                                    1221-000             $300.00                                   $914,939.83
                                 CLARENCE LUCKY
 09/14/2017             (25)     ABRAMS COLLEGE DANIEL LUCKY      Mail intercept funds                                    1221-000             $300.00                                   $915,239.83
                                 CLARENCE LUCKY



                                                                                                                         SUBTOTALS          $893,565.19                    $0.00
Filed 03/10/21                                                                     Case 17-11824
                                                                                      FORM   2                                            Page No: 8                Exhibit Doc
                                                                                                                                                                            9     1251
                                                                CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                         17-11824-B-7                                                          Trustee Name:                           James E. Salven
  Case Name:                       HORISONS UNLIMITED                                                    Bank Name:                              Independent Bank
  Primary Taxpayer ID #:           **-***2350                                                            Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                               Account Title:
  For Period Beginning:            5/10/2017                                                             Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:               3/8/2021                                                              Separate bond (if applicable):

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    Transaction        Check /                     Paid to/            Description of Transaction         Uniform           Deposit            Disbursement             Balance
       Date             Ref. #                  Received From                                            Tran Code            $                     $


 09/14/2017             (25)     ABRAMS COLLEGE DANIEL LUCKY    Mail intercept funds                      1221-000            $300.00                                    $915,539.83
                                 CLARENCE LUCKY
 09/14/2017             (25)     ABRAMS COLLEGE DANIEL LUCKY    Mail intercept funds                      1221-000            $300.00                                    $915,839.83
                                 CLARENCE LUCKY
 09/14/2017             (25)     ABRAMS COLLEGE DANIEL LUCKY    Mail intercept funds                      1221-000            $300.00                                    $916,139.83
                                 CLARENCE LUCKY
 09/14/2017             (25)     DELTA HEALTH                   Mail intercept funds                      1221-000            $111.00                                    $916,250.83
 09/14/2017             (25)     DAVID RAZO ANN RAZO            Mail intercept funds                      1221-000             $20.00                                    $916,270.83
 09/14/2017             (25)     DELTA HEALTH                   Mail intercept funds                      1221-000            $153.00                                    $916,423.83
 09/14/2017             (25)     JOHN ALVES                     Mail intercept funds                      1221-000             $20.00                                    $916,443.83
 09/14/2017             (25)     DELTA HEALTH                   Mail intercept funds                      1221-000             $36.00                                    $916,479.83
 09/14/2017             (25)     LINCOLN FINANCIAL GROUP        Mail intercept funds                      1221-000            $119.00                                    $916,598.83
 09/14/2017             (25)     DAVID RAZO ANN RAZO            Mail intercept funds                      1221-000             $20.00                                    $916,618.83
 09/14/2017             (25)     REGAL MEDICAL GROUP            Mail intercept funds                      1221-000             $35.50                                    $916,654.33
 09/14/2017             (25)     LATARA ENTERPRISE              Mail intercept funds                      1221-000            $570.00                                    $917,224.33
 09/14/2017             (25)     DELTA HEALTH                   Mail intercept funds                      1221-000            $160.00                                    $917,384.33
 09/14/2017             (25)     AUDITOR'S WARRANT COUNTY OF    Mail intercept funds                      1221-000          $1,182.70                                    $918,567.03
                                 MADERA
 09/14/2017             (25)     ALLIED MEMBER SERVICES         Mail intercept funds                      1221-000          $1,026.07                                    $919,593.10
 09/14/2017             (25)     ABRAMS COLLEGE DANIEL LUCKY    Mail intercept funds                      1221-000            $300.00                                    $919,893.10
                                 CLARENCE LUCKY
 09/14/2017             (25)     ABRAMS COLLEGE DANIEL LUCKY    Mail intercept funds                      1221-000            $300.00                                    $920,193.10
                                 CLARENCE LUCKY
 09/14/2017             (25)     ABRAMS COLLEGE DANIEL LUCKY    Mail intercept funds                      1221-000            $300.00                                    $920,493.10
                                 CLARENCE LUCKY
 09/14/2017             (25)     DELTA HEALTH                   Mail intercept funds                      1221-000            $163.00                                    $920,656.10
 09/18/2017             (30)     JAMES SALVEN ON BEHALF OF      Funds found at debtor's business          1229-000            $780.00                                    $921,436.10
                                 HORISONS UNLIMITED


                                                                                                         SUBTOTALS           $6,196.27                     $0.00
Filed 03/10/21                                                                            Case 17-11824
                                                                                             FORM   2                                                            Page No: 9                  Exhibit Doc
                                                                                                                                                                                                     9     1251
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                               Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                         Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                                 Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                      Account Title:
  For Period Beginning:              5/10/2017                                                                                  Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                                   Separate bond (if applicable):

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    Transaction        Check /                           Paid to/             Description of Transaction                         Uniform            Deposit           Disbursement               Balance
       Date             Ref. #                        Received From                                                             Tran Code             $                    $


 09/18/2017             (31)     JAMES SALVEN                         Funds found at debtor's business                           1229-000             $508.90                                     $921,945.00


                                                                      Coins
 09/18/2017            5001      Salmeri Insurance Agency, Inc.       insurance premium balance due                              2420-000                                         $194.41         $921,750.59
 09/19/2017             (25)     CM&F GROUP, INC.                     Mail intercept funds                                       1221-000            $3,813.24                                    $925,563.83
 09/25/2017            5002      Seelig & Cussigh HCO, LLC            retainer approved 09/25/17 docket 250                         *                                         $80,000.00          $845,563.83
                                                                      approved by court docket 250               $(73,886.00)    3731-000                                                         $845,563.83
                                                                      approved by court                           $(6,114.00)    3732-000                                                         $845,563.83
 09/27/2017             (2)      BBVA COMPASS                         Funds turned over from debtor                              1129-000            $2,653.65                                    $848,217.48
 09/27/2017             (10)     PILLSBURY WINTHROP SHAW              Funds from Law Firm                                        1129-000          $105,826.14                                    $954,043.62
                                 PITTMAN LLP
 09/27/2017             (25)     STATE OF CALIFORNIA                  Mail intercept funds                                       1221-000              $42.34                                     $954,085.96
 09/27/2017             (25)     ANTHEM BLUE CROSS                    Mail intercept funds                                       1221-000             $163.00                                     $954,248.96
 09/27/2017             (25)     ANTHEM BLUE CROSS                    Mail intercept funds                                       1221-000              $55.84                                     $954,304.80
 09/27/2017             (25)     ANTHEM BLUE CROSS                    Mail intercept funds                                       1221-000             $250.61                                     $954,555.41
 09/27/2017             (34)     POSTMASTER U.S.P.S. MERCED           Mail intercept funds                                       1229-000             $188.00                                     $954,743.41
 09/30/2017                      Integrity Bank                       Bank Service Fee                                           2600-000                                         $858.66         $953,884.75
 10/03/2017             (25)     DELTA DENTAL                         Mail intercept funds                                       1221-000             $197.60                                     $954,082.35
 10/03/2017             (35)     ABI DOCUMENT SUPPORT SERVICES        Mail intercept funds                                       1229-000              $15.00                                     $954,097.35
 10/03/2017             (35)     UNISOURCE DISCOVERY DOCUMENT         Mail intercept funds                                       1229-000              $15.00                                      $954,112.35
                                 RETRIEVAL
 10/03/2017             (35)     NATIONAL TRANSLATION &               Mail intercept funds                                       1229-000              $15.00                                     $954,127.35
                                 PHOTOCOPY
 10/03/2017             (35)     SHARP LEGAL IMAGING                  Mail intercept funds                                       1229-000              $15.00                                     $954,142.35
 10/03/2017            5003      Crisit's Cleaning Service            cleaning Forest Grove                                      2690-000                                         $325.00         $953,817.35
 10/03/2017            5004      Comcast Business                     Chpt 7 portion operating cost-Chowchilla                   2690-000                                         $492.62         $953,324.73
 10/03/2017            5005      Comcast Business                     Chpt 7 portion of bill                                     2690-000                                     $97,002.00          $856,322.73
 10/03/2017            5005      VOID: Comcast Business               void                                                       2690-003                                     ($97,002.00)        $953,324.73


                                                                                                                                SUBTOTALS          $113,759.32                $81,870.69
Filed 03/10/21                                                                                   Case 17-11824
                                                                                                    FORM   2                                                  Page No: 10                 Exhibit Doc
                                                                                                                                                                                                  9     1251
                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                             17-11824-B-7                                                                          Trustee Name:                           James E. Salven
  Case Name:                           HORISONS UNLIMITED                                                                    Bank Name:                              Independent Bank
  Primary Taxpayer ID #:               **-***2350                                                                            Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                   Account Title:
  For Period Beginning:                5/10/2017                                                                             Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                   3/8/2021                                                                              Separate bond (if applicable):

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    Transaction        Check /                              Paid to/             Description of Transaction                   Uniform           Deposit            Disbursement               Balance
       Date             Ref. #                           Received From                                                       Tran Code            $                     $


 10/03/2017            5006      Comcast Business                        Chpt 7 portion of bill-Newman                        2690-000                                        $498.84          $952,825.89
 10/03/2017            5007      Comcast Business                        Chpt 7 portion bill for Los Banos                    2690-000                                        $970.02          $951,855.87
 10/03/2017            5008      PG & E                                  clinic while try sell                                2690-000                                          $25.53         $951,830.34
 10/03/2017            5009      PG & E                                  clinic while try sell                                2690-000                                          $95.07         $951,735.27
 10/03/2017            5010      PG&E                                    clinic while try sell                                2690-000                                       $2,683.00         $949,052.27
 10/10/2017             (25)     DEP REVERSE: DAVID RAZO ANN             Mail intercept funds                                 1221-000            ($20.00)                                     $949,032.27
                                 RAZO                                    check did not clear
 10/10/2017            5003      VOID: Crisit's Cleaning Service         asked for different Payee                            2690-003                                        ($325.00)        $949,357.27
 10/10/2017             5011     Cristi Worley                           replacement check                                    2690-000                                        $325.00          $949,032.27
 10/10/2017            5012      Comcast                                 internet/phones for med records                      2690-000                                        $364.83          $948,667.44
 10/10/2017            5013      PG&E                                    clinic while try sell                                2690-000                                        $109.04          $948,558.40
 10/10/2017            5014      PG& E                                   clinic while try sell                                2690-000                                       $1,751.04         $946,807.36
 10/10/2017            5015      PG&E                                    clinic while try sell                                2690-000                                        $660.24          $946,147.12
 10/10/2017            5016      Derrel's Mini Storage                   record storage for pref/frd analysis                 2420-000                                       $1,985.67         $944,161.45
 10/12/2017             (35)     NORMA QUINOZ                            Mail intercept funds                                 1229-000             $15.00                                      $944,176.45
 10/12/2017             (36)     GEICO INSURANCE                         Mail intercept funds                                 1229-000            $420.12                                      $944,596.57
 10/12/2017            5017      PG&E                                    Newman clinic while try sell                         2690-000                                        $136.85          $944,459.72
 10/12/2017            5018      PG & E                                  los banos Ste D while try sell                       2690-000                                          $99.66         $944,360.06
 10/16/2017             (37)     Community Health Centers of America     deposit on Clinic assets purchase                    1229-000          $25,000.00                                     $969,360.06
 10/16/2017            5019      TID                                     water while try sell                                 2690-000                                          $25.71         $969,334.35
 10/16/2017            5020      Combast Business                        internet/telephone med records                       2690-000                                        $253.40          $969,080.95
 10/20/2017            5021      Comcast Businesss                       account 8155500140204723                             2690-000                                        $323.34          $968,757.61
 10/20/2017            5022      Sara Castlebery                         payment approved by court in operational approval    2690-000                                        $200.00          $968,557.61
 10/20/2017            5023      Salmerei Insurance Agency, Inc.         Policy No. 07004843699                               2420-000                                       $1,060.41         $967,497.20
 10/23/2017            5024      City of Merced                          main st water med record catelog                     2690-000                                          $68.49         $967,428.71
 10/23/2017            5025      PG&E                                    Patterson clinic while try sell                      2690-000                                          $15.70         $967,413.01
 10/25/2017             (25)     RONDA K LOVE                            Mail intercept funds                                 1221-000             $34.00                                      $967,447.01


                                                                                                                             SUBTOTALS          $25,449.12                  $11,326.84
Filed 03/10/21                                                                           Case 17-11824
                                                                                            FORM   2                                                           Page No: 11                 Exhibit Doc
                                                                                                                                                                                                   9     1251
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                             Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                       Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                               Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                    Account Title:
  For Period Beginning:              5/10/2017                                                                                Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                                 Separate bond (if applicable):

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    Transaction        Check /                         Paid to/             Description of Transaction                         Uniform           Deposit            Disbursement               Balance
       Date             Ref. #                      Received From                                                             Tran Code            $                     $


 10/31/2017             (38)     LAW OFFICE OF CHARLES RAYBURN      Rents                                                      1222-000          $28,000.00                                     $995,447.01
                                 WILSON CLIENT TRUST
 10/31/2017             (38)     CENTRAL CALIFORIA HEALTH CARE      Rents                                                      1222-000           $4,500.00                                     $999,947.01
                                 SERVICES
 10/31/2017                      Integrity Bank                     Bank Service Fee                                           2600-000                                       $1,424.99         $998,522.02
 10/31/2017             5011     STOP PAYMENT: Cristi Worley        2nd replacement check                                      2690-004                                        ($325.00)        $998,847.02
 10/31/2017            5026      Cristi Worley                      2nd replacement check                                      2690-000                                         $325.00         $998,522.02
 11/01/2017             (35)     UNITED STATES TREASURY             Mail intercept funds                                       1229-000             $10.00                                      $998,532.02
 11/02/2017            5027      PG&E                               chochilla clinic while try sell                            2690-000                                         $128.46         $998,403.56
 11/02/2017            5028      PG&E                               newman clinic while try sell                               2690-000                                         $485.00         $997,918.56
 11/02/2017            5029      PG&E                               main st power catalog med records                          2690-000                                       $1,985.20         $995,933.36
 11/02/2017            5030      City of Merced                     water at main offce med records                            2690-000                                         $489.00         $995,444.36
 11/03/2017            5031      Seelig & Cussigh HCO, LLC          second draw down approved see docket 336                      *                                          $80,000.00         $915,444.36
                                                                    approved see docket 336                    $(37,005.88)    3732-000                                                         $915,444.36
                                                                    allocation to balance to orders            $(42,994.12)    3731-000                                                         $915,444.36
 11/03/2017            5032      Seelig & Cussigh HCO, LLC          second draw down approved see docket 336                   3732-000                                       $2,723.46         $912,720.90
 11/05/2017            5033      Comcast                            main st for 351 issue                                      2420-000                                         $717.82         $912,003.08
 11/05/2017            5034      PG&E                               last bill Gustine closed                                   2690-000                                        $174.57           $911,828.51
 11/05/2017            5035      PG&E                               los banos Ste B                                            2690-000                                          $39.95          $911,788.56
 11/05/2017            5036      City of Merced                     Main St. office                                            2420-000                                        $205.21           $911,583.35
 11/06/2017            5037      Hoffman Electronic Systems         main St. security                                          2420-000                                        $281.00           $911,302.35
 11/07/2017             (25)     CARPENTERS HEALTH & WELFARE        Mail intercept funds                                       1221-000            $127.44                                       $911,429.79
                                 TRUST FUND
 11/07/2017             (28)     FOREMOST INS. GROUP FARMERS        Freeze and sieze funds                                     1129-000             $50.00                                       $911,479.79
 11/07/2017             (35)     PROFESSIONAL DOCUMENT SERVICES     Mail intercept funds                                       1229-000             $15.00                                       $911,494.79
 11/07/2017             (35)     PROFESSIONAL DOCUMENT SERVICES     Mail intercept funds                                       1229-000             $15.00                                       $911,509.79
 11/07/2017             (35)     EXPEDITE DOCUMENT IMAGING INC      Mail intercept funds                                       1229-000             $15.00                                       $911,524.79
 11/07/2017             (35)     COMPEX                             Mail intercept funds                                       1229-000             $15.00                                       $911,539.79

                                                                                                                              SUBTOTALS          $32,747.44                  $88,654.66
Filed 03/10/21                                                                              Case 17-11824
                                                                                               FORM   2                                                               Page No: 12                Exhibit Doc
                                                                                                                                                                                                         9     1251
                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                                    Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                              Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                                      Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                           Account Title:
  For Period Beginning:              5/10/2017                                                                                       Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                                        Separate bond (if applicable):

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    Transaction        Check /                            Paid to/               Description of Transaction                           Uniform           Deposit            Disbursement              Balance
       Date             Ref. #                         Received From                                                                 Tran Code            $                     $


 11/07/2017            5038      Biomedical Waste Disposal, Inc.       payment authorized Docket 342                                  2420-000                                       $4,950.00        $906,589.79
 11/09/2017            5039      PG&E                                  los Banos Ste B current charges                                2690-000                                        $136.30         $906,453.49
 11/09/2017            5040      PG&E                                  Main Street                                                    2690-000                                        $935.46         $905,518.03
 11/17/2017            5041      FedEx                                 items sent for billing; med records; and, sales of property    2420-000                                        $186.85         $905,331.18
 11/18/2017            5042      City of Merced                        Forest Grove utilities                                         2420-000                                         $74.36         $905,256.82
 11/18/2017            5043      PG&E                                  keep power on while sell                                       2420-000                                         $41.86         $905,214.96
 11/18/2017            5044      PG&E                                  keep power on while sell                                       2420-000                                        $756.96         $904,458.00
 11/18/2017            5045      PG&E                                  keep power on while sell                                       2420-000                                         $75.41         $904,382.59
 11/21/2017             (38)     CENTRAL CA HEALTH CARE SERVICES       Rents                                                          1222-000          $6,500.00                                     $910,882.59
 11/30/2017                      Integrity Bank                        Bank Service Fee                                               2600-000                                       $1,324.98        $909,557.61
 12/05/2017            5046      PETER L. FEAR                         approved doc 411                                               3210-600                                      $31,494.00        $878,063.61
 12/05/2017            5047      PETER L. FEAR                         approved doc 411                                               3220-610                                       $1,139.36        $876,924.25
 12/06/2017            5048      John Dratz, Jr. PCO                   amsbudsman fees                                                3991-000                                      $15,050.00        $861,874.25
 12/06/2017            5049      John Dratz, Jr. PCO                   amsbudsman fees                                                3992-000                                       $1,911.95        $859,962.30
 12/08/2017            5050      Comcast                               main st for 351 issue                                          2420-000                                        $692.70         $859,269.60
 12/08/2017            5051      Hoffman Electronic Systems            main St. security                                              2420-000                                        $276.00         $858,993.60
 12/08/2017            5052      PG&E                                  keep power on while sell                                       2420-000                                         $16.78         $858,976.82
 12/08/2017            5053      City of Merced                        main st                                                        2420-000                                        $205.21         $858,771.61
 12/11/2017            5054      FedEx                                 items sent for billing; med records; and, sales of property    2420-000                                         $89.71         $858,681.90




                                                                                                                                     SUBTOTALS           $6,500.00              $59,357.89
Filed 03/10/21                                                                         Case 17-11824
                                                                                          FORM   2                                                                       Page No: 13                Exhibit Doc
                                                                                                                                                                                                            9     1251
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                          17-11824-B-7                                                                                        Trustee Name:                           James E. Salven
  Case Name:                        HORISONS UNLIMITED                                                                                  Bank Name:                              Independent Bank
  Primary Taxpayer ID #:            **-***2350                                                                                          Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                              Account Title:
  For Period Beginning:             5/10/2017                                                                                           Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                3/8/2021                                                                                            Separate bond (if applicable):

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    Transaction        Check /                        Paid to/              Description of Transaction                                   Uniform           Deposit            Disbursement              Balance
       Date             Ref. #                     Received From                                                                        Tran Code            $                     $


 12/14/2017                      BAIRD AUCTIONS & APPRAISALS       auction proceeds                                                         *              $62,772.52                                    $921,454.42
                                                                   Court approved sale of 11 vehicles at                 $(11,685.00)    3610-000                                                        $921,454.42
                                                                   auction. Auctioneer 15% commission on
                                                                   $77,900.48
                                                                   Court approved expenses : storage $1454                $(3,442.48)    3620-000                                                        $921,454.42
                                                                   ; batteries $363.48; keys $225.00; towing
                                                                   $1400. See copies of receipts/invoices.
                        {68}                                       gross sales price-2015 Nissan pickup                   $15,000.00     1129-000                                                        $921,454.42
                        {67}                                       gross sales price-2012 Nissan pickup                   $10,500.00     1129-000                                                        $921,454.42
                        {66}                                       gross sales price-2014 Camry                            $9,500.00     1129-000                                                        $921,454.42
                        {64}                                       gross sales price-2007 Camry                            $5,300.00     1129-000                                                        $921,454.42
                        {69}                                       gross sales price-2011 Ford Electric Van                $9,400.00     1129-000                                                        $921,454.42
                        {65}                                       gross sales price2012 Mazda SUV                         $3,800.00     1129-000                                                        $921,454.42
                        {61}                                       gross sales price-2004 Toyota Prius                     $2,000.00     1129-000                                                        $921,454.42
                        {60}                                       gross sales price-2004 Hyundai Santa Fe                   $500.00     1129-000                                                        $921,454.42
                        {62}                                       gross sales price-2004 Big Tex trailer                  $1,800.00     1129-000                                                        $921,454.42
                        {70}                                       gross sales price-2016 GMC pickup                      $16,500.00     1229-000                                                        $921,454.42
                        {63}                                       gross sales price-2005 Toyota                           $3,600.00     1129-000                                                        $921,454.42
 12/14/2017             (25)     UNITED HEALTHCARE INS. Co.        mail intercept                                                        1221-000            $133.57                                     $921,587.99
 12/14/2017             (38)     CENTRAL CALIF HEALTH CARE         Rent                                                                  1222-000           $6,500.00                                    $928,087.99
                                 SERVICES
 12/14/2017             (39)     PG&E                              Mail intercept                                                        1129-000             $49.99                                     $928,137.98
 12/15/2017            5055      PG&E                              utility bill                                                          2690-000                                        $584.82         $927,553.16
 12/15/2017            5056      FedEx                             items sent for billing; med records; and, sales of property           2420-000                                         $61.41         $927,491.75
 12/21/2017            5057      Seelig & Cussigh HCO, LLC         third approved draw down                                              3731-000                                      $87,276.54        $840,215.21
                                                                   limited by cap
 12/27/2017             (35)     COMPEX                            Medical record request                                                1229-000             $15.00                                     $840,230.21
 12/27/2017            5058      PG&E                              sale of Patterson clinic off                                          2420-000                                         $18.13         $840,212.08
                                                                   last payment-power shut off



                                                                                                                                        SUBTOTALS          $69,471.08              $87,940.90
Filed 03/10/21                                                                             Case 17-11824
                                                                                              FORM   2                                                               Page No: 14               Exhibit Doc
                                                                                                                                                                                                       9     1251
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                                   Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                             Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                                     Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                          Account Title:
  For Period Beginning:              5/10/2017                                                                                      Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                                       Separate bond (if applicable):

        1                 2                                3                                           4                                                  5                    6                     7

    Transaction        Check /                           Paid to/             Description of Transaction                             Uniform           Deposit            Disbursement             Balance
       Date             Ref. #                        Received From                                                                 Tran Code            $                     $


 12/27/2017            5059      PG&E                                 sale of Mariposa clinic off                                    2420-000                                       $125.08         $840,087.00
                                                                      last payment-power shut off
 12/27/2017            5060      PG&E                                 sale of Mariposa clinic off                                    2420-000                                         $24.32        $840,062.68
                                                                      last payment-power shut off
 12/27/2017            5061      PG&E                                 sale of Los Banos clinic off                                   2420-000                                         $60.23        $840,002.45
                                                                      last payment-power shut off
 12/27/2017            5062      PG&E                                 sale of Los Banos clinic off                                   2420-000                                         $52.24        $839,950.21
                                                                      last payment-power shut off
 12/27/2017            5063      City of Merced                       Forest Grove                                                   2420-000                                         $74.68        $839,875.53
 12/27/2017            5064      Haar Rental Properties               rent on Main St through 01/18                                  2410-000                                      $3,165.50        $836,710.03
                                                                      authorized by court at Docket 446
 12/28/2017                      BANK OF THE WEST                     Remainder of funds in Bank of the West acct. Acct. now         9999-000          $22,000.00                                   $858,710.03
                                                                      closed.
 12/31/2017                      Integrity Bank                       Bank Service Fee                                               2600-000                                      $1,316.35        $857,393.68
 01/06/2018             (37)     CHANNAVEERAPPA & PHIPPS, LLP         deposit on clinic pruchase                                     1229-000          $35,000.00                                   $892,393.68
 01/08/2018            5065      City of Merced                       Main Street Office                                             2420-000                                       $210.19         $892,183.49
                                                                      med record work
 01/08/2018            5066      Comcast                              main st for 351 issue                                          2420-000                                       $692.70         $891,490.79
                                                                      12/28*17 to 01/27/18
 01/09/2018             (38)     CENTRAL CALIFORNIA HEALTH CARE       Rents                                                          1222-000           $6,500.00                                   $897,990.79
                                 SERVICES
 01/09/2018            5067      FedEx                                items sent for billing; med records; and, sales of property    2420-000                                         $67.21        $897,923.58
                                                                      Invoice 6-042-17947
 01/09/2018            5068      FedEx                                items sent for billing; med records; and, sales of property    2420-000                                         $84.71        $897,838.87
                                                                      Invoice 6-047-49465
 01/10/2018             (18)     SPSD DEVELOPERS LLC                  Sale proceeds Care facility                                    1110-000          $30,000.00                                   $927,838.87
 01/10/2018             (35)     EDD                                  record request                                                 1229-000             $15.00                                    $927,853.87
 01/11/2018            5069      PG&E                                 merced office                                                  2420-000                                       $669.38         $927,184.49
                                                                      351 compliance


                                                                                                                                    SUBTOTALS          $93,515.00                  $6,542.59
Filed 03/10/21                                                                            Case 17-11824
                                                                                             FORM   2                                                                  Page No: 15               Exhibit Doc
                                                                                                                                                                                                         9     1251
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                                     Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                               Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                                       Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
  For Period Beginning:              5/10/2017                                                                                        Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                                         Separate bond (if applicable):

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    Transaction        Check /                           Paid to/             Description of Transaction                               Uniform            Deposit           Disbursement             Balance
       Date             Ref. #                        Received From                                                                   Tran Code             $                    $


 01/12/2018            5070      Haar Rental Properties               rent on Main St through 01/18                                    2410-000                                      $9,283.50        $917,900.99
                                                                      authorized by court at Docket 446
                                                                      balance remaining due
 01/15/2018            5071      Daniel Eagan                         approved docket 539                                              3210-000                                  $165,322.00          $752,578.99
 01/15/2018            5072      Daniel Eagan                         approved docket 539                                              3220-000                                      $4,320.15        $748,258.84
 01/15/2018            5073      International Sureties, LTD          Bond Payment                                                     2300-000                                       $479.32         $747,779.52
 01/24/2018            5001      STOP PAYMENT: Salmeri Insurance      insurance premium balance due                                    2420-004                                      ($194.41)        $747,973.93
                                 Agency, Inc.
 01/26/2018            5074      FedEx                                items sent to attorney re sale of Forest Grove                   2420-000                                        $28.34         $747,945.59
                                                                      6-061-23693
 01/26/2018            5075      City of Merced                       Forest Grove                                                     2420-000                                        $75.64         $747,869.95
                                                                      maintain property while sell
 01/29/2018            5076      Cal-Med Cental Billing, Inc.         approced fees                                                    3991-000                                      $3,116.17        $744,753.78
 01/31/2018                      Integrity Bank                       Bank Service Fee                                                 2600-000                                      $1,276.11        $743,477.67
 02/06/2018            5077      City of Merced                       Main St. office                                                  2420-000                                        $18.52         $743,459.15
                                                                      maintain property while complete record duties
 02/08/2018             (39)     PACIFIC GAS & ELECTRIC               Freeze and sieze funds                                           1229-000            $2,342.48                                  $745,801.63
 02/10/2018            5078      Comcast                              main st for 351 issue                                            2420-000                                      $1,010.40        $744,791.23
                                                                      12/28*17 to 02/28/18
 02/10/2018            5079      Salmerei Insurance Agency, Inc.      Policy No. 077-004-844-36-99                                     2420-000                                       $885.00         $743,906.23
                                                                      1763 Forest Grove C.
                                                                      Merced, Ca 95340
                                                                      coverage
 02/13/2018                      FIDELITY NATIONAL TITLE CO.          sale of facility                                                    *              $535,078.40                                 $1,278,984.63
                        {18}                                          Gross Sales proceeds                             $610,000.00     1110-000                                                      $1,278,984.63
                                                                      Court approved R.E. commissions                  $(36,600.00)    3510-000                                                      $1,278,984.63
                                                                      Title and escrow costs                            $(2,932.50)    2500-000                                                      $1,278,984.63
                                                                      Property taxes                                    $(5,389.10)    2820-000                                                      $1,278,984.63
                        {18}                                          30,000 credit for buyer's deposit outside        $(30,000.00)    1110-002                                                      $1,278,984.63
                                                                      of escrow

                                                                                                                                      SUBTOTALS          $537,420.88            $185,620.74
Filed 03/10/21                                                                           Case 17-11824
                                                                                            FORM   2                                                         Page No: 16                 Exhibit Doc
                                                                                                                                                                                                 9     1251
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                           Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                     Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                             Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                  Account Title:
  For Period Beginning:              5/10/2017                                                                              Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                               Separate bond (if applicable):

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    Transaction        Check /                         Paid to/               Description of Transaction                     Uniform            Deposit           Disbursement               Balance
       Date             Ref. #                      Received From                                                           Tran Code             $                    $


 02/13/2018             (35)     QUEST DISCOVERY SERVICES           Med record request                                       1229-000              $15.00                                    $1,278,999.63
 02/13/2018             (35)     COMPEX LEGAL SERVICES              Med record request                                       1229-000              $15.00                                    $1,279,014.63
 02/14/2018            5080      Andres Appliance Repairs           repair water main at Forest Grove                        2420-000                                        $185.00         $1,278,829.63
                                                                    Invoice 1763
 02/19/2018            5081      City of Merced                     Forest Grove-02/15/18                                    2420-000                                         $75.64         $1,278,753.99
                                                                    maintain property while sell
 02/19/2018            5082      Seelig & Cussigh HCO, LLC          approved fees                                            3731-000                                      $94,776.94        $1,183,977.05
 02/19/2018            5083      Seelig & Cussigh HCO, LLC          approved fees                                            3732-000                                      $30,160.53        $1,153,816.52
 02/28/2018                      Integrity Bank                     Bank Service Fee                                         2600-000                                       $1,316.08        $1,152,500.44
 03/01/2018                      FIDELITY NATIONAL TITLE CO.        Sale proceeds Forest Grove                                  *              $184,406.46                                   $1,336,906.90
                        {19}                                        sale price $200,000 PLUS credit County   $200,786.20     1110-000                                                        $1,336,906.90
                                                                    taxes $786.20
                                                                    Court approved R.E. commissions          $(12,000.00)    3510-000                                                        $1,336,906.90
                                                                    Property Taxes                            $(3,273.64)    2820-000                                                        $1,336,906.90
                                                                    Title & Escrow charges                    $(1,106.10)    2500-000                                                        $1,336,906.90
 03/01/2018             (25)     BLUE SHIELD OF CALIFORNIA          Mail intercept funds                                     1221-000             $249.09                                    $1,337,155.99
 03/06/2018             (25)     WIPFLi                             Mail intercept funds                                     1221-000            $1,984.40                                   $1,339,140.39
 03/28/2018             (35)     RECORD RETRIEVAL SOLUTIONS         Mail intercept                                           1229-000              $15.00                                    $1,339,155.39
 03/31/2018                      Integrity Bank                     Bank Service Fee                                         2600-000                                       $1,954.23        $1,337,201.16
 03/31/2018            5084      Seelig & Cussigh HCO, LLC          approved fees and costs                                  3731-000                                      $41,262.50        $1,295,938.66
 03/31/2018            5085      Seelig & Cussigh HCO, LLC          approved fees and costs                                  3732-000                                      $11,341.61        $1,284,597.05
 04/03/2018             (40)     CITY OF MERCED                     Utilities refund                                         1229-000             $332.16                                    $1,284,929.21
 04/10/2018            5086      FedEx                              postage                                                  2420-000                                         $37.39         $1,284,891.82
 04/13/2018             (35)     CD PHOTOCOPY SERVICE INC.          Mail intercept funds                                     1229-000              $15.00                                    $1,284,906.82
 04/30/2018                      Integrity Bank                     Bank Service Fee                                         2600-000                                       $1,858.51        $1,283,048.31
 05/23/2018            5087      CHRIS RATZLAFF                     approved by CMO at docket 594                            3410-000                                       $9,600.00        $1,273,448.31
 05/23/2018            5087      VOID: CHRIS RATZLAFF               written for wrong amount                                 3410-003                                      ($9,600.00)       $1,283,048.31
 05/23/2018            5088      CHRIS RATZLAFF                     approved by CMO at docket 594                            3420-000                                        $152.42         $1,282,895.89


                                                                                                                            SUBTOTALS          $187,032.11            $183,120.85
Filed 03/10/21                                                                              Case 17-11824
                                                                                               FORM   2                                                         Page No: 17                Exhibit Doc
                                                                                                                                                                                                   9     1251
                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                              Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                        Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                                Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
  For Period Beginning:              5/10/2017                                                                                 Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                                  Separate bond (if applicable):

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    Transaction        Check /                            Paid to/               Description of Transaction                     Uniform           Deposit            Disbursement              Balance
       Date             Ref. #                         Received From                                                           Tran Code            $                     $


 05/23/2018            5089      CHRIS RATZLAFF                          approved by CMO at docket 594                          3410-000                                       $9,660.00       $1,273,235.89
 05/31/2018                      Integrity Bank                          Bank Service Fee                                       2600-000                                       $1,906.38       $1,271,329.51
 06/01/2018            5090      PETER L. FEAR                           approved fees and costs                                3210-600                                      $33,121.50       $1,238,208.01
 06/01/2018            5091      PETER L. FEAR                           approved fees and costs                                3220-610                                       $1,609.71       $1,236,598.30
 06/01/2018            5092      Daniel Eagan                            approved fees and costs                                3210-000                                  $123,543.00          $1,113,055.30
 06/01/2018            5093      Daniel Eagan                            approved fees and costs                                3220-000                                       $5,694.93       $1,107,360.37
 06/07/2018             (41)     GLOBAL SURETY, LLC                      Chapter 11 bond refund                                 1290-010          $6,917.00                                    $1,114,277.37
 06/12/2018                      BANK OF WEST                            funds from bank acct.                                  9999-000          $1,146.40                                    $1,115,423.77
 06/19/2018             (1)      ANTHEM BLUE CROSS                       mail intercept                                         1129-000            $537.22                                    $1,115,960.99
 06/19/2018             (25)     ANTHEM BLUE CROSS                       intercepted paymens                                    1221-000            $174.50                                    $1,116,135.49
 06/19/2018             (25)     ANTHEM BLUE CROSS                       Mail intercept funds                                   1221-000            $128.75                                    $1,116,264.24
 06/19/2018             (25)     ANTHEM BLUE CROSS                       mail intercept                                         1221-000            $123.87                                    $1,116,388.11
 06/19/2018             (25)     ANTHEM BLUE CROSS                       mail intercept                                         1221-000            $144.93                                    $1,116,533.04
 06/30/2018                      Integrity Bank                          Bank Service Fee                                       2600-000                                       $1,641.57       $1,114,891.47
 07/31/2018                      Integrity Bank                          Bank Service Fee                                       2600-000                                       $1,657.52       $1,113,233.95
 08/05/2018                      Independent Bank                        Bank Service Fee                                       2600-000                                        $266.95        $1,112,967.00
 08/06/2018                      Independent Bank                        Bank Service Fee                                       2600-000                                       ($266.95)       $1,113,233.95
 08/20/2018            5094      FIDELITY NATIONAL TITLE CO.             refund of monies from escrow FFOM-2011803098           1249-000           ($711.09)                                   $1,112,522.86
                                                                         55-59 North Salado Ave. Patterson, Ca
 08/23/2018                      Transfer From: #*******1824             refund to Fidelity was taken from incorrect account    9999-000            $711.09                                    $1,113,233.95
 08/31/2018                      Independent Bank                        Bank Service Fee                                       2600-000                                      $19,497.08       $1,093,736.87
 09/05/2018                      Independent Bank                        Bank Service Fee                                       2600-000                                  ($19,497.08)         $1,113,233.95
 09/06/2018                      Independent Bank                        Bank Service Fee                                       2600-000                                       $1,655.92       $1,111,578.03
 09/06/2018            5079      VOID: Salmerei Insurance Agency, Inc.   never cleared. house sold . nothing owing              2420-003                                       ($885.00)       $1,112,463.03
 09/24/2018            5095      Dettel's Mini Storage, Inc.             record maintenance                                     2420-000                                       $2,136.90       $1,110,326.13
                                                                         annual storage unit 050-2932
                                                                         10/01/18-09/30/19
 09/25/2018             (25)     STATE of ARIZONA                        mail intercept                                         1221-000             $21.60                                    $1,110,347.73

                                                                                                                               SUBTOTALS           $9,194.27             $181,742.43
Filed 03/10/21                                                                                 Case 17-11824
                                                                                                  FORM   2                                            Page No: 18                Exhibit Doc
                                                                                                                                                                                         9     1251
                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                    Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                              Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                      Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                           Account Title:
  For Period Beginning:              5/10/2017                                                                       Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                        Separate bond (if applicable):

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    Transaction        Check /                            Paid to/                  Description of Transaction        Uniform            Deposit           Disbursement              Balance
       Date             Ref. #                         Received From                                                 Tran Code             $                    $


 10/03/2018            5096      FIDELITY NATIONAL TITLE CO.                missed charges on G St closing            2500-000                                        $851.40        $1,109,496.33
 10/03/2018            5096      VOID: FIDELITY NATIONAL TITLE CO.          closing costs                             2500-003                                       ($851.40)       $1,110,347.73
 10/11/2018            5097      SHARLENE F. ROBERTS-CAUDLE                 approved docket 857                       3210-600                                      $61,789.00       $1,048,558.73
 10/11/2018            5098      SHARLENE F. ROBERTS-CAUDLE                 approved docket 857                       3220-610                                       $2,357.60       $1,046,201.13
 11/16/2018            5099      Daniel Eagan                               approved docket 890                       3210-000                                      $97,707.50        $948,493.63
 11/16/2018            5100      Daniel Eagan                               approved docket 890                       3220-000                                       $7,797.71        $940,695.92
 12/26/2018            5101      John Dratz, Jr. PCO                        docket 950                                3991-000                                      $10,395.00        $930,300.92
 12/26/2018            5102      John Dratz, Jr. PCO                        docket 950                                3992-000                                        $889.12          $929,411.80
 12/26/2018            5103      Kavita Gupta, Esq                          docket 883                                6700-000                                      $57,364.39        $872,047.41
 12/26/2018            5104      Kavita Gupta, Esq                          docket 883                                6102-000                                       $7,898.01        $864,149.40
 12/26/2018            5105      Pachulski Stang Ziehl & Jones, LLP         docket 725                                6210-000                                  $128,100.00           $736,049.40
 12/26/2018            5106      Pachulski Stang Ziehl & Jones, LLP         docket 725                                6220-170                                       $1,946.79        $734,102.61
 12/26/2018            5107      Pillsbury Winthrop Shaw Pittman LLP        docket 824                                6210-000                                  $284,426.64           $449,675.97
 12/26/2018            5108      UnitedHealthcare                           docket 952                                7100-000                                  $218,065.74           $231,610.23
 01/15/2019            5109      International Sureties, LTD                Bond Payment                              2300-000                                        $667.38         $230,942.85
 02/03/2019             5110     FRANCHISE TAX BOARD                        exempt org fee                            2820-000                                         $65.00         $230,877.85
 02/03/2019             5111     California Registry of Charitable Trusts   Charitable Trust fee                      2820-000                                        $225.00         $230,652.85
 03/04/2019             (32)     LANDMARK AMERICAN INSURANCE                Litigation/Settlement                     1249-000          $750,000.00                                   $980,652.85
                                 CO.
 03/10/2019             5112     CHRIS RATZLAFF                             approved docket 1041                      3410-000                                      $34,950.50        $945,702.35
 03/10/2019             5113     CHRIS RATZLAFF                             approved docket 1041                      3420-000                                        $162.62         $945,539.73
 03/10/2019             5114     SHARLENE F. ROBERTS-CAUDLE                 approved docket 1042                      3210-600                                      $10,567.50        $934,972.23
 03/10/2019             5115     SHARLENE F. ROBERTS-CAUDLE                 approved docket 1042                      3220-610                                       $1,347.75        $933,624.48
 04/01/2019             5116     Seelig & Cussigh HCO, LLC                  payment approved docket 1059              3731-000                                      $43,089.50        $890,534.98
 04/01/2019             5117     Seelig & Cussigh HCO, LLC                  payment approved docket 1059              3732-000                                      $17,389.07        $873,145.91
 04/01/2019             5118     Daniel Eagan                               payment approved docket 1060              3210-000                                      $63,404.80         $809,741.11
 04/01/2019             5119     Daniel Eagan                               payment approved docket 1060              3220-000                                       $2,818.08        $806,923.03


                                                                                                                     SUBTOTALS          $750,000.00           $1,053,424.70
Filed 03/10/21                                                                            Case 17-11824
                                                                                             FORM   2                                                              Page No: 19                Exhibit Doc
                                                                                                                                                                                                      9     1251
                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                                 Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                           Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                                   Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                        Account Title:
  For Period Beginning:              5/10/2017                                                                                    Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                                     Separate bond (if applicable):

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    Transaction        Check /                            Paid to/             Description of Transaction                          Uniform           Deposit            Disbursement              Balance
       Date             Ref. #                         Received From                                                              Tran Code            $                     $


 04/01/2019            5120      OFFICE OF THE UNITED STATES           payment approved at docket 1054                             2950-000                                      $11,375.00        $795,548.03
                                 TRUSTEE
 04/05/2019            5121      Cal-Med Central Billing, Inc.         payment approved docket 1053                                5800-000                                       $9,105.18        $786,442.85
 05/13/2019                      INTERNAL REVENUE SERVICE              Claim #: ; Distribution Dividend: 100.00;                   6950-720                                      $75,423.32         $711,019.53
 05/13/2019                      INTERNAL REVENUE SERVICE              Claim #: ; Distribution Dividend: 100.00;                   6950-730                                      $22,276.16        $688,743.37
 05/13/2019                      INTERNAL REVENUE SERVICE              Claim #: ; Distribution Dividend: 100.00;                   5300-000                                      $41,881.15        $646,862.22
 05/13/2019                      INTERNAL REVENUE SERVICE              Claim #: ; Distribution Dividend: 100.00;                   5800-000                                      $12,362.59        $634,499.63
 05/13/2019                      INTERNAL REVENUE SERVICE              Voiding the bank debit entry for the IRS, so a check can    6950-720                                  ($75,423.32)          $709,922.95
                                                                       be written for payment.
 05/13/2019                      INTERNAL REVENUE SERVICE              Voiding the bank debit entry for the IRS, so a check can    6950-730                                  ($22,276.16)           $732,199.11
                                                                       be written for payment.
 05/13/2019                      INTERNAL REVENUE SERVICE              Voiding the bank debit entry for the IRS, so a check can    5300-000                                  ($41,881.15)          $774,080.26
                                                                       be written for payment.
 05/13/2019                      INTERNAL REVENUE SERVICE              Voiding the bank debit entry for the IRS, so a check can    5800-000                                  ($12,362.59)          $786,442.85
                                                                       be written for payment.
 05/13/2019            5122      State of California                   Claim #: ; Distribution Dividend: 100.00;                   6950-730                                      $14,556.25        $771,886.60
 05/13/2019            5123      State of California                   Claim #: ; Distribution Dividend: 100.00;                   6950-720                                      $16,366.74        $755,519.86
 05/13/2019            5124      Viloria Jennifer                      Claim #: 7; Distribution Dividend: 100.00;                  6950-720                                        $862.55         $754,657.31
 05/13/2019            5125      Hector Orozco                         Claim #: 8; Distribution Dividend: 100.00;                  6950-720                                       $2,679.52        $751,977.79
 05/13/2019            5126      Condez Edsel                          Claim #: 9; Distribution Dividend: 100.00;                  6950-720                                       $3,190.10        $748,787.69
 05/13/2019            5127      George Sarikakis                      Claim #: 10; Distribution Dividend: 100.00;                 6950-720                                       $9,952.50        $738,835.19
 05/13/2019            5128      JASKARN KAUR NAHAL                    Claim #: 11; Distribution Dividend: 100.00;                 6950-720                                        $955.44         $737,879.75
 05/13/2019            5129      LAURA MEJIA                           Claim #: 12; Distribution Dividend: 100.00;                 6950-720                                       $3,981.00        $733,898.75
 05/13/2019            5130      carmen penaloza                       Claim #: 13; Distribution Dividend: 100.00;                 6950-720                                       $1,113.19        $732,785.56
 05/13/2019            5131      maria a valenzuela                    Claim #: 16; Distribution Dividend: 100.00;                 6950-720                                        $834.77         $731,950.79
 05/13/2019            5132      Todd Phillip Logan                    Claim #: 20; Distribution Dividend: 100.00;                 6950-720                                       $1,383.40        $730,567.39
 05/13/2019            5133      Adam Covarrubias                      Claim #: 22; Distribution Dividend: 100.00;                 6950-720                                       $1,327.00        $729,240.39
 05/13/2019            5134      Lujano Gloria                         Claim #: 34; Distribution Dividend: 100.00;                 6950-720                                       $1,144.54        $728,095.85


                                                                                                                                  SUBTOTALS                $0.00             $78,827.18
Filed 03/10/21                                                                              Case 17-11824
                                                                                               FORM   2                                                 Page No: 20               Exhibit Doc
                                                                                                                                                                                          9     1251
                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                      Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                        Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                             Account Title:
  For Period Beginning:              5/10/2017                                                                         Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                          Separate bond (if applicable):

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    Transaction        Check /                            Paid to/              Description of Transaction              Uniform           Deposit            Disbursement             Balance
       Date             Ref. #                         Received From                                                   Tran Code            $                     $


 05/13/2019            5135      Arellano Guzman Maritza                 Claim #: 36; Distribution Dividend: 100.00;    6950-720                                      $4,209.91        $723,885.94
 05/13/2019            5136      Theresa Peaster(nee Riley)              Claim #: 37; Distribution Dividend: 100.00;    6950-720                                       $995.25         $722,890.69
 05/13/2019            5137      Ramon Ramirez in his representative     Claim #: 39; Distribution Dividend: 100.00;    6950-720                                      $1,006.45        $721,884.24
                                 capacity in Madera Co. Case MCV073176
 05/13/2019            5138      Cid Guadalupe                           Claim #: 42; Distribution Dividend: 100.00;    6950-720                                      $2,525.95        $719,358.29
 05/13/2019            5139      Cid Migdalia                            Claim #: 43; Distribution Dividend: 100.00;    6950-720                                      $2,755.51        $716,602.78
 05/13/2019            5140      Patricia Gomez                          Claim #: 45; Distribution Dividend: 100.00;    6950-720                                      $1,109.38        $715,493.40
 05/13/2019            5141      Mann Harmon                             Claim #: 46; Distribution Dividend: 100.00;    6950-720                                       $422.65         $715,070.75
 05/13/2019            5142      Daniel Gaona                            Claim #: 49; Distribution Dividend: 100.00;    6950-720                                      $4,976.25        $710,094.50
 05/13/2019            5143      Blanca Jimenez                          Claim #: 54; Distribution Dividend: 100.00;    6950-720                                       $318.48         $709,776.02
 05/13/2019            5144      Friaz Mendoza Guadalupe                 Claim #: 58; Distribution Dividend: 100.00;    6950-720                                      $1,990.50        $707,785.52
 05/13/2019            5145      Hortensia Maldanado                     Claim #: 59; Distribution Dividend: 100.00;    6950-720                                      $1,990.50        $705,795.02
 05/13/2019            5146      Maria Padilla                           Claim #: 61; Distribution Dividend: 100.00;    6950-720                                      $1,137.07        $704,657.95
 05/13/2019            5147      Iniguez Rosa                            Claim #: 64; Distribution Dividend: 100.00;    6950-720                                      $2,755.51        $701,902.44
 05/13/2019            5148      Rachel Vega                             Claim #: 67; Distribution Dividend: 100.00;    6950-720                                       $721.55         $701,180.89
 05/13/2019            5149      Kimberly Slown Benton                   Claim #: 68; Distribution Dividend: 100.00;    6950-720                                      $2,756.07        $698,424.82
 05/13/2019            5150      Ann Palm                                Claim #: 69; Distribution Dividend: 100.00;    6950-720                                       $870.83         $697,553.99
 05/13/2019            5151      Kevin Tran                              Claim #: 71; Distribution Dividend: 100.00;    6950-720                                      $9,952.50        $687,601.49
 05/13/2019            5152      Lisa Andrade                            Claim #: 72; Distribution Dividend: 100.00;    6950-720                                      $2,380.63        $685,220.86
 05/13/2019            5153      Laura Magana                            Claim #: 73; Distribution Dividend: 100.00;    6950-720                                      $1,011.25        $684,209.61
 05/13/2019            5154      Amanda Betancourt                       Claim #: 74; Distribution Dividend: 100.00;    6950-720                                      $1,096.11         $683,113.50
 05/13/2019            5155      Jason Song                              Claim #: 79; Distribution Dividend: 100.00;    6950-720                                      $7,962.00        $675,151.50
 05/13/2019            5156      Heather Eyring-Burchett                 Claim #: 81; Distribution Dividend: 100.00;    6950-720                                      $1,990.50        $673,161.00
 05/13/2019            5157      Maria F Garcia                          Claim #: 84; Distribution Dividend: 100.00;    6950-720                                      $2,229.52        $670,931.48
 05/13/2019            5158      Barajas, Gregory                        Claim #: 85; Distribution Dividend: 100.00;    6950-720                                      $1,194.30        $669,737.18
 05/13/2019            5159      Sumon Nahal                             Claim #: 86; Distribution Dividend: 100.00;    6950-720                                      $2,070.12        $667,667.06
 05/13/2019            5160      Daniel Kazakos                          Claim #: 87; Distribution Dividend: 100.00;    6950-720                                      $1,530.70        $666,136.36


                                                                                                                       SUBTOTALS                $0.00             $61,959.49
Filed 03/10/21                                                                          Case 17-11824
                                                                                           FORM   2                                                  Page No: 21               Exhibit Doc
                                                                                                                                                                                       9     1251
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                   Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                             Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                     Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                          Account Title:
  For Period Beginning:              5/10/2017                                                                      Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                       Separate bond (if applicable):

        1                 2                                 3                                        4                                   5                     6                      7

    Transaction        Check /                          Paid to/            Description of Transaction               Uniform           Deposit            Disbursement             Balance
       Date             Ref. #                       Received From                                                  Tran Code            $                     $


 05/13/2019            5161      Vargas Claudia                      Claim #: 90; Distribution Dividend: 100.00;     6950-720                                       $930.23         $665,206.13
 05/13/2019            5162      Norma Perez                         Claim #: 92; Distribution Dividend: 100.00;     6950-720                                      $1,116.92        $664,089.21
 05/13/2019            5163      Ruste Sasser                        Claim #: 93; Distribution Dividend: 100.00;     6950-720                                      $4,976.25         $659,112.96
 05/13/2019            5164      Brittany Howard                     Claim #: 94; Distribution Dividend: 100.00;     6950-720                                      $1,189.00        $657,923.96
 05/13/2019            5165      JM Partners, LLC                    Claim #: 95; Distribution Dividend: 100.00;     6950-720                                      $1,990.50        $655,933.46
 05/13/2019            5166      Perry Raquel                        Claim #: 97; Distribution Dividend: 100.00;     6950-720                                       $868.11         $655,065.35
 05/13/2019            5167      Bustillos Irene                     Claim #: 98; Distribution Dividend: 100.00;     6950-720                                      $1,499.51        $653,565.84
 05/13/2019            5168      Escobar Charissa                    Claim #: 101; Distribution Dividend: 100.00;    6950-720                                      $1,035.06        $652,530.78
 05/13/2019            5169      Estella Lopez                       Claim #: 104; Distribution Dividend: 100.00;    6950-720                                      $2,756.07        $649,774.71
 05/13/2019            5170      Aulakh Rajinder                     Claim #: 105; Distribution Dividend: 100.00;    6950-720                                      $1,132.10        $648,642.61
 05/13/2019            5171      Garcia Linda                        Claim #: 107; Distribution Dividend: 100.00;    6950-720                                      $1,077.52        $647,565.09
 05/13/2019            5172      Fuller Hugo                         Claim #: 108; Distribution Dividend: 100.00;    6950-720                                      $1,298.81        $646,266.28
 05/13/2019            5173      Michael Rice, horisons unlimited    Claim #: 110; Distribution Dividend: 100.00;    6950-720                                      $9,952.50        $636,313.78
 05/13/2019            5174      Kenneth Gordon Heaton Jr            Claim #: 111; Distribution Dividend: 100.00;    6950-720                                      $9,952.50        $626,361.28
 05/13/2019            5175      Esmeralda Hurtado                   Claim #: 112; Distribution Dividend: 100.00;    6950-720                                      $1,288.93        $625,072.35
 05/13/2019            5176      Gayla S Cox                         Claim #: 113; Distribution Dividend: 100.00;    6950-720                                      $1,990.50        $623,081.85
 05/13/2019            5177      Lisa Roper                          Claim #: 115; Distribution Dividend: 100.00;    6950-720                                      $1,990.50        $621,091.35
 05/13/2019            5178      Alcaraz Genessis                    Claim #: 117; Distribution Dividend: 100.00;    6950-720                                      $1,029.76        $620,061.59
 05/13/2019            5179      Cristina Figueroa                   Claim #: 121; Distribution Dividend: 100.00;    6950-720                                      $1,052.48         $619,009.11
 05/13/2019            5180      Edith davalos amezcua               Claim #: 123; Distribution Dividend: 100.00;    6950-720                                      $1,110.44        $617,898.67
 05/13/2019            5181      Scott Albert Winn                   Claim #: 124; Distribution Dividend: 100.00;    6950-720                                      $1,163.20        $616,735.47
 05/13/2019            5182      Tracey McMillion                    Claim #: 127; Distribution Dividend: 100.00;    6950-720                                       $873.34         $615,862.13
 05/13/2019            5183      Soria Prisma                        Claim #: 129; Distribution Dividend: 100.00;    6950-720                                      $1,990.50        $613,871.63
 05/13/2019            5184      Kelsi Banks                         Claim #: 201; Distribution Dividend: 100.00;    6950-720                                      $1,016.40        $612,855.23
 05/13/2019            5185      Natalie Caballero                   Claim #: 202; Distribution Dividend: 100.00;    6950-720                                      $1,592.40         $611,262.83
 05/13/2019            5186      Sinai Campos                        Claim #: 203; Distribution Dividend: 100.00;    6950-720                                      $1,061.19        $610,201.64
 05/13/2019            5187      Samantha Escobar                    Claim #: 204; Distribution Dividend: 100.00;    6950-720                                      $1,035.06        $609,166.58


                                                                                                                    SUBTOTALS                $0.00             $56,969.78
Filed 03/10/21                                                                           Case 17-11824
                                                                                            FORM   2                                                  Page No: 22               Exhibit Doc
                                                                                                                                                                                        9     1251
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                    Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                              Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                      Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                           Account Title:
  For Period Beginning:              5/10/2017                                                                       Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                        Separate bond (if applicable):

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    Transaction        Check /                           Paid to/            Description of Transaction               Uniform           Deposit            Disbursement             Balance
       Date             Ref. #                        Received From                                                  Tran Code            $                     $


 05/13/2019            5188      Dominick Evans                       Claim #: 205; Distribution Dividend: 100.00;    6950-720                                       $955.44          $608,211.14
 05/13/2019            5189      Julianne Gonzalez                    Claim #: 206; Distribution Dividend: 100.00;    6950-720                                      $1,022.46        $607,188.68
 05/13/2019            5190      Vianey Guadarrama                    Claim #: 207; Distribution Dividend: 100.00;    6950-720                                       $674.04         $606,514.64
 05/13/2019            5191      Ilima Hamilton                       Claim #: 208; Distribution Dividend: 100.00;    6950-720                                      $1,289.26        $605,225.38
 05/13/2019            5192      Briana Hernandez                     Claim #: 209; Distribution Dividend: 100.00;    6950-720                                       $748.75         $604,476.63
 05/13/2019            5193      Isaac Jimenez                        Claim #: 210; Distribution Dividend: 100.00;    6950-720                                      $1,134.42        $603,342.21
 05/13/2019            5194      Andreya Lemos                        Claim #: 212; Distribution Dividend: 100.00;    6950-720                                      $1,114.27        $602,227.94
 05/13/2019            5195      Ana Lizarraga                        Claim #: 213; Distribution Dividend: 100.00;    6950-720                                      $1,112.03         $601,115.91
 05/13/2019            5196      Leslie Lomeli                        Claim #: 214; Distribution Dividend: 100.00;    6950-720                                      $1,102.99        $600,012.92
 05/13/2019            5197      Adriana Lopez                        Claim #: 215; Distribution Dividend: 100.00;    6950-720                                       $994.01         $599,018.91
 05/13/2019            5198      Deyanira Lopez                       Claim #: 216; Distribution Dividend: 100.00;    6950-720                                      $1,125.38        $597,893.53
 05/13/2019            5199      Crystal Luevano                      Claim #: 217; Distribution Dividend: 100.00;    6950-720                                      $2,142.44        $595,751.09
 05/13/2019            5200      Juan Maldonado                       Claim #: 218; Distribution Dividend: 100.00;    6950-720                                      $1,305.02        $594,446.07
 05/13/2019            5201      Mark Marquez                         Claim #: 219; Distribution Dividend: 100.00;    6950-720                                      $1,261.32        $593,184.75
 05/13/2019            5202      Silvia Martinez                      Claim #: 220; Distribution Dividend: 100.00;    6950-720                                       $752.33         $592,432.42
 05/13/2019            5203      Brenda Medina                        Claim #: 221; Distribution Dividend: 100.00;    6950-720                                      $1,135.83        $591,296.59
 05/13/2019            5204      Eileen Medina                        Claim #: 222; Distribution Dividend: 100.00;    6950-720                                      $1,027.59        $590,269.00
 05/13/2019            5205      Juliana Mercado                      Claim #: 223; Distribution Dividend: 100.00;    6950-720                                      $1,147.02        $589,121.98
 05/13/2019            5206      Martha Mercado                       Claim #: 224; Distribution Dividend: 100.00;    6950-720                                      $2,142.44        $586,979.54
 05/13/2019            5207      Lucienne Miller                      Claim #: 225; Distribution Dividend: 100.00;    6950-720                                      $1,007.93        $585,971.61
 05/13/2019            5208      Maria Moreno                         Claim #: 226; Distribution Dividend: 100.00;    6950-720                                      $1,114.60        $584,857.01
 05/13/2019            5209      Jaydeeh Narvaez                      Claim #: 227; Distribution Dividend: 100.00;    6950-720                                       $900.69         $583,956.32
 05/13/2019            5210      Savannah Perez                       Claim #: 228; Distribution Dividend: 100.00;    6950-720                                      $1,122.15        $582,834.17
 05/13/2019             5211     Coreena Pruneda                      Claim #: 229; Distribution Dividend: 100.00;    6950-720                                       $906.92         $581,927.25
 05/13/2019            5212      Gisella Rivera                       Claim #: 230; Distribution Dividend: 100.00;    6950-720                                       $949.22         $580,978.03
 05/13/2019            5213      Cynthia Robinson                     Claim #: 231; Distribution Dividend: 100.00;    6950-720                                      $1,990.50        $578,987.53
 05/13/2019            5214      Patricia Ruvalcaba                   Claim #: 232; Distribution Dividend: 100.00;    6950-720                                      $1,033.82        $577,953.71


                                                                                                                     SUBTOTALS                $0.00             $31,212.87
Filed 03/10/21                                                                              Case 17-11824
                                                                                               FORM   2                                                  Page No: 23               Exhibit Doc
                                                                                                                                                                                           9     1251
                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                       Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                 Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                         Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                              Account Title:
  For Period Beginning:              5/10/2017                                                                          Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                           Separate bond (if applicable):

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    Transaction        Check /                            Paid to/              Description of Transaction               Uniform           Deposit            Disbursement             Balance
       Date             Ref. #                         Received From                                                    Tran Code            $                     $


 05/13/2019            5215      Kay Saelee                              Claim #: 233; Distribution Dividend: 100.00;    6950-720                                      $1,114.68        $576,839.03
 05/13/2019            5216      Blanca Torres                           Claim #: 234; Distribution Dividend: 100.00;    6950-720                                      $1,113.44        $575,725.59
 05/13/2019            5217      Tena Williams                           Claim #: 235; Distribution Dividend: 100.00;    6950-720                                      $1,194.30        $574,531.29
 05/13/2019            5218      State of California                     Claim #: ; Distribution Dividend: 100.00;       5300-000                                      $9,088.14        $565,443.15
 05/13/2019            5219      State of California                     Claim #: ; Distribution Dividend: 100.00;       5800-000                                      $8,010.37        $557,432.78
 05/13/2019            5220      Viloria Jennifer                        Claim #: 7; Distribution Dividend: 100.00;      5300-000                                       $398.10         $557,034.68
 05/13/2019            5221      Condez Edsel                            Claim #: 9; Distribution Dividend: 100.00;      5300-000                                      $1,194.30        $555,840.38
 05/13/2019            5222      LAURA MEJIA                             Claim #: 12; Distribution Dividend: 100.00;     5300-000                                      $1,327.00        $554,513.38
 05/13/2019            5223      carmen penaloza                         Claim #: 13; Distribution Dividend: 100.00;     5300-000                                       $597.15         $553,916.23
 05/13/2019            5224      maria a valenzuela                      Claim #: 16; Distribution Dividend: 100.00;     5300-000                                        $79.62         $553,836.61
 05/13/2019            5225      Todd Phillip Logan                      Claim #: 20; Distribution Dividend: 100.00;     5300-000                                       $597.15         $553,239.46
 05/13/2019            5226      JM Partners LLC                         Claim #: 30; Distribution Dividend: 100.00;     5300-000                                      $2,268.56        $550,970.90
 05/13/2019            5227      Lujano Gloria                           Claim #: 34; Distribution Dividend: 100.00;     5300-000                                       $597.15         $550,373.75
 05/13/2019            5228      Arellano Guzman Maritza                 Claim #: 36; Distribution Dividend: 100.00;     5300-000                                      $2,104.75        $548,269.00
 05/13/2019            5229      Theresa Peaster(nee Riley)              Claim #: 37; Distribution Dividend: 100.00;     5300-000                                       $995.25         $547,273.75
 05/13/2019            5230      Ramon Ramirez in his representative     Claim #: 39; Distribution Dividend: 100.00;     5300-000                                       $159.24          $547,114.51
                                 capacity in Madera Co. Case MCV073176
 05/13/2019            5231      Patricia Gomez                          Claim #: 45; Distribution Dividend: 100.00;     5300-000                                        $49.76         $547,064.75
 05/13/2019            5232      Roxanne Rodriguez                       Claim #: 47; Distribution Dividend: 100.00;     5300-000                                      $1,640.65        $545,424.10
 05/13/2019            5233      Daniel Gaona                            Claim #: 49; Distribution Dividend: 100.00;     5300-000                                      $2,488.12        $542,935.98
 05/13/2019            5234      Sara Castleberry                        Claim #: 52; Distribution Dividend: 100.00;     5300-000                                      $4,624.88         $538,311.10
 05/13/2019            5235      Blanca Jimenez                          Claim #: 54; Distribution Dividend: 100.00;     5300-000                                       $398.10         $537,913.00
 05/13/2019            5236      Raj Kumar Sharma                        Claim #: 55; Distribution Dividend: 100.00;     5300-000                                      $6,806.27        $531,106.73
 05/13/2019            5237      Gurdeep Singh                           Claim #: 56; Distribution Dividend: 100.00;     5300-000                                      $8,525.97        $522,580.76
 05/13/2019            5238      Bryan Blew                              Claim #: 57; Distribution Dividend: 100.00;     5300-000                                      $5,739.92        $516,840.84
 05/13/2019            5239      Friaz Mendoza Guadalupe                 Claim #: 58; Distribution Dividend: 100.00;     5300-000                                       $995.25         $515,845.59
 05/13/2019            5240      Hortensia Maldanado                     Claim #: 59; Distribution Dividend: 100.00;     5300-000                                       $663.50         $515,182.09


                                                                                                                        SUBTOTALS                $0.00             $62,771.62
Filed 03/10/21                                                                            Case 17-11824
                                                                                             FORM   2                                                  Page No: 24               Exhibit Doc
                                                                                                                                                                                         9     1251
                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                     Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                               Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                       Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                            Account Title:
  For Period Beginning:              5/10/2017                                                                        Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                         Separate bond (if applicable):

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    Transaction        Check /                            Paid to/            Description of Transaction               Uniform           Deposit            Disbursement             Balance
       Date             Ref. #                         Received From                                                  Tran Code            $                     $


 05/13/2019            5241      Maria Padilla                         Claim #: 61; Distribution Dividend: 100.00;     5300-000                                       $398.10         $514,783.99
 05/13/2019            5242      Iniguez Rosa                          Claim #: 64; Distribution Dividend: 100.00;     5300-000                                      $1,262.95        $513,521.04
 05/13/2019            5243      Rachel Vega                           Claim #: 67; Distribution Dividend: 100.00;     5300-000                                       $398.10         $513,122.94
 05/13/2019            5244      Kimberly Slown Benton                 Claim #: 68; Distribution Dividend: 100.00;     5300-000                                       $918.68         $512,204.26
 05/13/2019            5245      Abel b Guerra                         Claim #: 70; Distribution Dividend: 100.00;     5300-000                                      $5,690.50        $506,513.76
 05/13/2019            5246      Lisa Andrade                          Claim #: 72; Distribution Dividend: 100.00;     5300-000                                       $793.55         $505,720.21
 05/13/2019            5247      Laura Magana                          Claim #: 73; Distribution Dividend: 100.00;     5300-000                                       $597.15         $505,123.06
 05/13/2019            5248      Amanda Betancourt                     Claim #: 74; Distribution Dividend: 100.00;     5300-000                                       $597.15         $504,525.91
 05/13/2019            5249      Kristofer Robert Green                Claim #: 77; Distribution Dividend: 100.00;     5300-000                                      $8,525.97        $495,999.94
 05/13/2019            5250      Heather Eyring-Burchett               Claim #: 81; Distribution Dividend: 100.00;     5300-000                                       $995.25         $495,004.69
 05/13/2019            5251      Shadi Safi                            Claim #: 82; Distribution Dividend: 100.00;     5300-000                                       $936.15         $494,068.54
 05/13/2019            5252      Fatima Meza Aguirre                   Claim #: 83; Distribution Dividend: 100.00;     5300-000                                      $5,935.61        $488,132.93
 05/13/2019            5253      Maria F Garcia                        Claim #: 84; Distribution Dividend: 100.00;     5300-000                                       $743.18         $487,389.75
 05/13/2019            5254      Sumon Nahal                           Claim #: 86; Distribution Dividend: 100.00;     5300-000                                       $690.04         $486,699.71
 05/13/2019            5255      Daniel Kazakos                        Claim #: 87; Distribution Dividend: 100.00;     5300-000                                      $1,530.70        $485,169.01
 05/13/2019            5256      Daniel Kazakos                        Claim #: 88; Distribution Dividend: 100.00;     5300-000                                      $5,731.29        $479,437.72
 05/13/2019            5257      Vargas Claudia                        Claim #: 90; Distribution Dividend: 100.00;     5300-000                                       $597.15         $478,840.57
 05/13/2019            5258      Brittany Howard                       Claim #: 94; Distribution Dividend: 100.00;     5300-000                                       $238.86         $478,601.71
 05/13/2019            5259      JM Partners, LLC                      Claim #: 95; Distribution Dividend: 100.00;     5300-000                                       $995.25         $477,606.46
 05/13/2019            5260      Bustillos Irene                       Claim #: 98; Distribution Dividend: 100.00;     5300-000                                       $796.20         $476,810.26
 05/13/2019            5261      Escobar Charissa                      Claim #: 101; Distribution Dividend: 100.00;    5300-000                                       $114.44         $476,695.82
 05/13/2019            5262      ashee A amjad Waryam                  Claim #: 103; Distribution Dividend: 100.00;    5300-000                                      $1,778.75        $474,917.07
 05/13/2019            5263      Estella Lopez                         Claim #: 104; Distribution Dividend: 100.00;    5300-000                                       $918.68         $473,998.39
 05/13/2019            5264      Maria Erika Quezada Ibarra            Claim #: 106; Distribution Dividend: 100.00;    5300-000                                       $636.96         $473,361.43
 05/13/2019            5265      Garcia Linda                          Claim #: 107; Distribution Dividend: 100.00;    5300-000                                       $597.15         $472,764.28
 05/13/2019            5266      Fuller Hugo                           Claim #: 108; Distribution Dividend: 100.00;    5300-000                                       $398.10         $472,366.18
 05/13/2019            5267      Michael Rice, horisons unlimited      Claim #: 110; Distribution Dividend: 100.00;    5300-000                                      $3,317.50        $469,048.68


                                                                                                                      SUBTOTALS                $0.00             $46,133.41
Filed 03/10/21                                                                           Case 17-11824
                                                                                            FORM   2                                                 Page No: 25                 Exhibit Doc
                                                                                                                                                                                         9     1251
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                   Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                             Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                     Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                          Account Title:
  For Period Beginning:              5/10/2017                                                                      Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                       Separate bond (if applicable):

        1                 2                                 3                                        4                                    5                    6                        7

    Transaction        Check /                          Paid to/             Description of Transaction              Uniform           Deposit            Disbursement               Balance
       Date             Ref. #                       Received From                                                  Tran Code            $                     $


 05/13/2019            5268      Kenneth Gordon Heaton Jr            Claim #: 111; Distribution Dividend: 100.00;    5300-000                                       $4,976.25         $464,072.43
 05/13/2019            5269      Esmeralda Hurtado                   Claim #: 112; Distribution Dividend: 100.00;    5300-000                                        $663.50          $463,408.93
 05/13/2019            5270      Gayla S Cox                         Claim #: 113; Distribution Dividend: 100.00;    5300-000                                        $995.25          $462,413.68
 05/13/2019            5271      Lisa Roper                          Claim #: 115; Distribution Dividend: 100.00;    5300-000                                        $663.50          $461,750.18
 05/13/2019            5272      Alcaraz Genessis                    Claim #: 117; Distribution Dividend: 100.00;    5300-000                                        $398.10          $461,352.08
 05/13/2019            5273      SAIRA ZAPIEN                        Claim #: 119; Distribution Dividend: 100.00;    5300-000                                        $995.25          $460,356.83
 05/13/2019            5274      Cristina Figueroa                   Claim #: 121; Distribution Dividend: 100.00;    5300-000                                        $597.15          $459,759.68
 05/13/2019            5275      Scott Albert Winn                   Claim #: 124; Distribution Dividend: 100.00;    5300-000                                        $398.10          $459,361.58
 05/13/2019            5276      Ramirez Vanessa A                   Claim #: 125; Distribution Dividend: 100.00;    5300-000                                        $636.96          $458,724.62
 05/13/2019            5277      Vanessa Cristina Ramirez            Claim #: 126; Distribution Dividend: 100.00;    5300-000                                        $398.10          $458,326.52
 05/13/2019            5278      Tracey McMillion                    Claim #: 127; Distribution Dividend: 100.00;    5300-000                                        $398.10          $457,928.42
 05/13/2019            5279      Soria Prisma                        Claim #: 129; Distribution Dividend: 100.00;    5300-000                                        $995.25          $456,933.17
 05/13/2019            5280      INTERNAL REVENUE SERVICE            Claim #: ; Distribution Dividend: 100.00;       6950-720                                      $75,423.32         $381,509.85
 05/13/2019            5281      INTERNAL REVENUE SERVICE            Claim #: ; Distribution Dividend: 100.00;       6950-730                                      $22,276.16         $359,233.69
 05/13/2019            5282      INTERNAL REVENUE SERVICE            Claim #: ; Distribution Dividend: 100.00;       5300-000                                      $41,881.15         $317,352.54
 05/13/2019            5283      INTERNAL REVENUE SERVICE            Claim #: ; Distribution Dividend: 100.00;       5800-000                                      $12,362.59         $304,989.95
 06/10/2019             (25)     S.I.S.C.                            mail intercept funds                            1221-000            $123.35                                       $305,113.30
 07/09/2019            5200      STOP PAYMENT: Juan Maldonado        Claim #: 218; Distribution Dividend: 100.00;    6950-724                                      ($1,305.02)        $306,418.32
 07/09/2019            5217      STOP PAYMENT: Tena Williams         Claim #: 235; Distribution Dividend: 100.00;    6950-724                                      ($1,194.30)        $307,612.62
 07/09/2019            5284      Juan Maldonado                      replacement check                               6950-720                                       $1,305.02         $306,307.60
 07/09/2019            5285      Tena Williams                       replacement check                               6950-720                                       $1,194.30          $305,113.30
 07/25/2019            5161      STOP PAYMENT: Vargas Claudia        Claim #: 90; Distribution Dividend: 100.00;     6950-724                                       ($930.23)         $306,043.53
 07/25/2019            5257      STOP PAYMENT: Vargas Claudia        Claim #: 90; Distribution Dividend: 100.00;     5300-004                                       ($597.15)         $306,640.68
 07/25/2019            5286      Claudia Vargas                      replacement check                               6950-720                                        $930.23          $305,710.45
 07/25/2019            5287      Vargas Claudia                      replacement check                               5300-000                                        $597.15           $305,113.30
 09/24/2019             (72)     WIPFLi                              Adv. 19-01043                                   1241-000          $12,304.72                                     $317,418.02
 09/30/2019             (10)     PILLSBURY WINTHROP                  remaining retainer-$7588.87 refund              1129-000           $7,588.87                                     $325,006.89


                                                                                                                    SUBTOTALS          $20,016.94             $164,058.73
Filed 03/10/21                                                                              Case 17-11824
                                                                                               FORM   2                                                                       Page No: 26                 Exhibit Doc
                                                                                                                                                                                                                  9     1251
                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                                            Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                                      Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                                              Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                                   Account Title:
  For Period Beginning:              5/10/2017                                                                                               Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                                                Separate bond (if applicable):

        1                 2                                    3                                         4                                                         5                    6                        7

    Transaction        Check /                            Paid to/              Description of Transaction                                    Uniform           Deposit            Disbursement               Balance
       Date             Ref. #                         Received From                                                                         Tran Code            $                     $


 09/30/2019             (59)     PILLSBURY WINTHROP                     investigate propriety of pre-petition payments to to law              1249-000          $62,142.00                                     $387,148.89
                                                                        firm
 10/28/2019            5288      Daniel Eagan                           payment approved doc 1132                                             3210-000                                      $75,177.50          $311,971.39
 10/28/2019            5289      Daniel Eagan                           payment approved doc 1132                                             3220-000                                       $2,686.48         $309,284.91
 10/28/2019            5290      PETER L. FEAR                          payment approved doc 1131                                             3210-600                                      $45,327.00         $263,957.91
 10/28/2019            5291      PETER L. FEAR                          payment approved doc 1131                                             3220-610                                       $2,407.51         $261,550.40
 10/30/2019            5292      Derrel's Mini Storage, Inc.            payment approved doc 1134                                             2420-000                                        $450.00          $261,100.40
 11/25/2019            5293      Shred-it                               ok to pay per Doc 1134                                                2420-000                                        $395.85          $260,704.55
                                                                        record destruction
 12/09/2019             (71)     HEALTH CONSULTING STRATEGIES           pref/fraudulent transfer                                              1241-000           $9,000.00                                     $269,704.55
                                 INC.
 01/06/2020            5294      SHARLENE F. ROBERTS-CAUDLE             payment approved Doc 1155                                             3210-600                                       $4,403.30         $265,301.25
 01/06/2020            5295      SHARLENE F. ROBERTS-CAUDLE             payment approved Doc 1155                                             3220-610                                       $1,073.90         $264,227.35
 01/21/2020                      James Salven                           reimbursement Fees paid no order                                         *                                           ($225.00)         $264,452.35
                                                                        California Registry of Charitable Trusts                   $224.00    2820-000                                                         $264,452.35
                                                                        California Registry of Charitable Trusts                     $1.00    2820-000                                                         $264,452.35
 01/21/2020                      James Salven                           reimbursement taxes paid no order                                     2820-000                                        ($65.00)         $264,517.35
 01/21/2020            5143      VOID: Blanca Jimenez                   void check                                                            6950-723                                       ($318.48)         $264,835.83
 01/21/2020            5196      VOID: Leslie Lomeli                    void check                                                            6950-723                                      ($1,102.99)        $265,938.82
 01/21/2020            5209      STOP PAYMENT: Jaydeeh Narvaez          Claim #: 227; Distribution Dividend: 100.00;                          6950-724                                       ($900.69)         $266,839.51
 01/21/2020            5235      VOID: Blanca Jimenez                   void check                                                            5300-003                                       ($398.10)         $267,237.61
 01/21/2020            5296      Pension Management Consultants, Inc.   close our pension plan. payment approved doc 1137                     3991-000                                       $7,710.48         $259,527.13
 01/21/2020            5297      U.S. BANKRUPTCY COURT                  Claim #54                                                             6950-721                                        $318.48          $259,208.65
 01/21/2020            5298      U. S. BANKRUPTCY COURT                 Claim #214                                                            6950-720                                       $1,102.99         $258,105.66
 01/21/2020            5299      U.S. BANKRUPTCY COURT                  Claim #227                                                            6950-720                                        $900.69          $257,204.97
 01/22/2020            5300      CLERK, U.S. BANKRUPTCY COURT           Claim 54                                                              5300-001                                        $398.10          $256,806.87
 02/04/2020            5301      International Sureties, LTD            Bond Payment                                                          2300-000                                       $1,337.11         $255,469.76
 02/20/2020             (73)     MODESTO GOSPEL MISSION                 preference/fraudulent transfer                                        1241-000          $25,000.00                                     $280,469.76

                                                                                                                                             SUBTOTALS          $96,142.00             $140,679.13
Filed 03/10/21                                                                                  Case 17-11824
                                                                                                   FORM   2                                                Page No: 27                Exhibit Doc
                                                                                                                                                                                              9     1251
                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                         Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                   Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                           Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                Account Title:
  For Period Beginning:              5/10/2017                                                                            Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                             Separate bond (if applicable):

        1                 2                                3                                                4                                   5                    6                      7

    Transaction        Check /                           Paid to/                  Description of Transaction              Uniform            Deposit           Disbursement              Balance
       Date             Ref. #                        Received From                                                       Tran Code             $                    $


 02/24/2020                      Transfer From: #*******1824                separate account no longer needed              9999-000        $2,400,000.00                                  $2,680,469.76
 06/06/2020            5302      PETER L. FEAR                              payment approved doc 1193                      3210-600                                      $28,544.50       $2,651,925.26
 06/06/2020            5303      PETER L. FEAR                              payment approved doc 1193                      3220-610                                       $1,476.65       $2,650,448.61
 08/15/2020            5304      Daniel Eagan                               approved doc 1217                              3210-000                                      $24,751.50       $2,625,697.11
 08/15/2020            5305      Daniel Eagan                               approved doc 1217                              3220-000                                       $1,880.85       $2,623,816.26
 08/21/2020            5306      CHRIS RATZLAFF                             payment approved doc 1220                      3410-000                                      $34,006.00       $2,589,810.26
 08/21/2020            5307      CHRIS RATZLAFF                             payment approved doc 1220                      3420-000                                        $180.00        $2,589,630.26
 10/17/2020            5308      James E. Salven                            Trustee Compensation                           2100-000                                  $222,228.58          $2,367,401.68
 10/17/2020            5309      James E. Salven                            Trustee Expenses                               2200-000                                       $5,399.58       $2,362,002.10
 10/17/2020            5310      AmerisourceBergen Drug Corporation         Claim #: 1; Distribution Dividend: 7.54;       7100-000                                        $108.15        $2,361,893.95
 10/17/2020             5311     UnitedHealthcare                           Claim #: 2; Distribution Dividend: 7.54;       7100-000                                       $2,173.06       $2,359,720.89
 10/17/2020            5312      Ramon Ramirez and putative class members   Claim #: 4; Distribution Dividend: 7.54;       7100-000                                      $38,752.64       $2,320,968.25
                                 in Madera Co. Case No. MCV073176
 10/17/2020            5313      J S West Propane Gaas                      Claim #: 6; Distribution Dividend: 7.54;       7100-000                                         $22.57        $2,320,945.68
 10/17/2020            5314      Viloria Jennifer                           Claim #: 7; Distribution Dividend: 7.54;       7100-000                                        $331.58        $2,320,614.10
 10/17/2020            5315      Condez Edsel                               Claim #: 9; Distribution Dividend: 7.54;       7100-000                                       $1,180.47       $2,319,433.63
 10/17/2020            5316      George Sarikakis                           Claim #: 10; Distribution Dividend: 7.54;      7100-000                                       $3,014.36       $2,316,419.27
 10/17/2020            5317      JASKARN KAUR NAHAL                         Claim #: 11; Distribution Dividend: 7.54;      7100-000                                        $143.67        $2,316,275.60
 10/17/2020            5318      maria a valenzuela                         Claim #: 16; Distribution Dividend: 7.54;      7100-000                                        $352.68        $2,315,922.92
 10/17/2020            5319      Pension Benefit Guaranty Corporation       Claim #: 17; Distribution Dividend: 7.54;      7100-000                                      $33,826.80       $2,282,096.12
 10/17/2020            5320      Pension Benefit Guaranty Corporation       Claim #: 19; Distribution Dividend: 7.54;      7100-000                                       $9,869.39       $2,272,226.73
 10/17/2020            5321      Todd Phillip Logan                         Claim #: 20; Distribution Dividend: 7.54;      7100-000                                        $160.59        $2,272,066.14
 10/17/2020            5322      Employment Development Department          Claim #: 21; Distribution Dividend: 100.00;    5800-000                                      $22,751.21       $2,249,314.93
 10/17/2020            5323      Employment Development Department          Claim #: 21; Distribution Dividend: 7.54;      7100-000                                       $1,707.58       $2,247,607.35
 10/17/2020            5324      Adam Covarrubias                           Claim #: 22; Distribution Dividend: 7.54;      7100-000                                        $150.72        $2,247,456.63
 10/17/2020            5325      Floyd Johnson                              Claim #: 23; Distribution Dividend: 7.54;      7100-000                                         $24.42        $2,247,432.21
 10/17/2020            5326      LifeSaver CPR                              Claim #: 25; Distribution Dividend: 7.54;      7100-000                                        $247.18        $2,247,185.03


                                                                                                                          SUBTOTALS        $2,400,000.00            $433,284.73
Filed 03/10/21                                                                                 Case 17-11824
                                                                                                  FORM   2                                               Page No: 28                Exhibit Doc
                                                                                                                                                                                            9     1251
                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                       Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                 Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                         Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                              Account Title:
  For Period Beginning:              5/10/2017                                                                          Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                           Separate bond (if applicable):

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    Transaction        Check /                            Paid to/                 Description of Transaction            Uniform           Deposit            Disbursement              Balance
       Date             Ref. #                         Received From                                                    Tran Code            $                     $


 10/17/2020            5327      Manjit S. Nagi                             Claim #: 26; Distribution Dividend: 7.54;    7100-000                                        $527.51        $2,246,657.52
 10/17/2020            5328      LifeSaver CPR LLC                          Claim #: 28; Distribution Dividend: 7.54;    7100-000                                        $247.18        $2,246,410.34
 10/17/2020            5329      HENRY SCHEIN                               Claim #: 29; Distribution Dividend: 7.54;    7100-000                                       $7,770.04       $2,238,640.30
 10/17/2020            5330      JM Partners LLC                            Claim #: 30; Distribution Dividend: 7.54;    7100-000                                        $159.38        $2,238,480.92
 10/17/2020            5331      Mariela Tovar                              Claim #: 32; Distribution Dividend: 7.54;    7100-000                                        $164.48        $2,238,316.44
 10/17/2020            5332      Arellano Guzman Maritza                    Claim #: 36; Distribution Dividend: 7.54;    7100-000                                         $33.44        $2,238,283.00
 10/17/2020            5333      Anna Rascon                                Claim #: 38; Distribution Dividend: 7.54;    7100-000                                      $21,495.12       $2,216,787.88
 10/17/2020            5334      Ramon Ramirez in his representative        Claim #: 39; Distribution Dividend: 7.54;    7100-000                                        $168.20        $2,216,619.68
                                 capacity in Madera Co. Case MCV073176
 10/17/2020            5335      GUARDCO SECURITY SERVICES, INC.            Claim #: 40; Distribution Dividend: 7.54;    7100-000                                         $82.36        $2,216,537.32
 10/17/2020            5336      GARDCO SECURITY SERVICES                   Claim #: 41; Distribution Dividend: 7.54;    7100-000                                         $78.00        $2,216,459.32
 10/17/2020            5337      Patricia Gomez                             Claim #: 45; Distribution Dividend: 7.54;    7100-000                                        $283.16        $2,216,176.16
 10/17/2020            5338      Roxanne Rodriguez                          Claim #: 47; Distribution Dividend: 7.54;    7100-000                                        $642.61        $2,215,533.55
 10/17/2020            5339      AmerisourceBergen Drug Corporation         Claim #: 48; Distribution Dividend: 7.54;    7100-000                                        $108.15        $2,215,425.40
 10/17/2020            5340      Daniel Gaona                               Claim #: 49; Distribution Dividend: 7.54;    7100-000                                       $1,940.50       $2,213,484.90
 10/17/2020            5341      LifeSaver CPR LLC                          Claim #: 50; Distribution Dividend: 7.54;    7100-000                                        $247.18        $2,213,237.72
 10/17/2020            5342      c/o Debra Willet, VP, Assoc. Gen. Counse   Claim #: 51; Distribution Dividend: 7.54;    7100-000                                        $269.27        $2,212,968.45
 10/17/2020            5343      Sara Castleberry                           Claim #: 52; Distribution Dividend: 7.54;    7100-000                                        $341.73        $2,212,626.72
 10/17/2020            5344      LifeSaver CPR LLC                          Claim #: 53; Distribution Dividend: 7.54;    7100-000                                        $247.18        $2,212,379.54
 10/17/2020            5345      Blanca Jimenez                             Claim #: 54; Distribution Dividend: 7.54;    7100-000                                        $105.50        $2,212,274.04
 10/17/2020            5346      Bryan Blew                                 Claim #: 57; Distribution Dividend: 7.54;    7100-000                                        $664.82        $2,211,609.22
 10/17/2020            5347      Friaz Mendoza Guadalupe                    Claim #: 58; Distribution Dividend: 7.54;    7100-000                                        $211.01        $2,211,398.21
 10/17/2020            5348      Hortensia Maldanado                        Claim #: 59; Distribution Dividend: 7.54;    7100-000                                        $227.30        $2,211,170.91
 10/17/2020            5349      CITY OF MERCED                             Claim #: 60; Distribution Dividend: 7.54;    7100-000                                         $21.41        $2,211,149.50
 10/17/2020            5350      Nicole Bone                                Claim #: 62; Distribution Dividend: 7.54;    7100-000                                        $138.66        $2,211,010.84
 10/17/2020            5351      Iniguez Rosa                               Claim #: 64; Distribution Dividend: 7.54;    7100-000                                        $518.46        $2,210,492.38
 10/17/2020            5352      PG&#038;E                                  Claim #: 65; Distribution Dividend: 7.54;    7100-000                                       $1,258.64       $2,209,233.74


                                                                                                                        SUBTOTALS                $0.00             $37,951.29
Filed 03/10/21                                                                                  Case 17-11824
                                                                                                   FORM   2                                                Page No: 29                Exhibit Doc
                                                                                                                                                                                              9     1251
                                                                             CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                         Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                   Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                           Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                Account Title:
  For Period Beginning:              5/10/2017                                                                            Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                             Separate bond (if applicable):

        1                 2                                   3                                              4                                 5                     6                      7

    Transaction        Check /                           Paid to/                   Description of Transaction             Uniform           Deposit            Disbursement              Balance
       Date             Ref. #                        Received From                                                       Tran Code            $                     $


 10/17/2020            5353      Hazrat Rafah                                Claim #: 66; Distribution Dividend: 7.54;     7100-000                                       $3,187.69       $2,206,046.05
 10/17/2020            5354      Rachel Vega                                 Claim #: 67; Distribution Dividend: 7.54;     7100-000                                        $124.34        $2,205,921.71
 10/17/2020            5355      Kimberly Slown Benton                       Claim #: 68; Distribution Dividend: 7.54;     7100-000                                        $667.80        $2,205,253.91
 10/17/2020            5356      Ann Palm                                    Claim #: 69; Distribution Dividend: 7.54;     7100-000                                        $339.12        $2,204,914.79
 10/17/2020            5357      Abel b Guerra                               Claim #: 70; Distribution Dividend: 7.54;     7100-000                                        $670.43        $2,204,244.36
 10/17/2020            5358      Lisa Andrade                                Claim #: 72; Distribution Dividend: 7.54;     7100-000                                        $446.23        $2,203,798.13
 10/17/2020            5359      Laura Magana                                Claim #: 73; Distribution Dividend: 7.54;     7100-000                                        $252.64        $2,203,545.49
 10/17/2020            5360      Amanda Betancourt                           Claim #: 74; Distribution Dividend: 7.54;     7100-000                                        $135.04        $2,203,410.45
 10/17/2020            5361      Deeba Abedi                                 Claim #: 76; Distribution Dividend: 7.54;     7100-000                                      $18,655.87       $2,184,754.58
 10/17/2020            5362      Kristofer Robert Green                      Claim #: 77; Distribution Dividend: 7.54;     7100-000                                       $2,208.17       $2,182,546.41
 10/17/2020            5363      Jason Song                                  Claim #: 79; Distribution Dividend: 7.54;     7100-000                                       $1,989.48       $2,180,556.93
 10/17/2020            5364      Joy Raron                                   Claim #: 80; Distribution Dividend: 7.54;     7100-000                                        $753.59        $2,179,803.34
 10/17/2020            5365      Heather Eyring-Burchett                     Claim #: 81; Distribution Dividend: 7.54;     7100-000                                        $515.78        $2,179,287.56
 10/17/2020            5366      Shadi Safi                                  Claim #: 82; Distribution Dividend: 7.54;     7100-000                                         $30.14        $2,179,257.42
 10/17/2020            5367      Sumon Nahal                                 Claim #: 86; Distribution Dividend: 7.54;     7100-000                                        $223.06        $2,179,034.36
 10/17/2020            5368      Theresa Peaster(nee Riley)                  Claim #: 89; Distribution Dividend: 7.54;     7100-000                                        $610.41        $2,178,423.95
 10/17/2020            5369      Vargas Claudia                              Claim #: 90; Distribution Dividend: 7.54;     7100-000                                        $153.73        $2,178,270.22
 10/17/2020            5370      U.S. Department Health and Human Services   Claim #: 91; Distribution Dividend: 7.54;     7100-000                                  $109,818.43          $2,068,451.79
 10/17/2020            5371      Norma Perez                                 Claim #: 92; Distribution Dividend: 7.54;     7100-000                                        $301.44        $2,068,150.35
 10/17/2020            5372      Ruste Sasser                                Claim #: 93; Distribution Dividend: 7.54;     7100-000                                       $1,130.39       $2,067,019.96
 10/17/2020            5373      JM Partners, LLC                            Claim #: 95; Distribution Dividend: 7.54;     7100-000                                        $263.76        $2,066,756.20
 10/17/2020            5374      Maria Casillas                              Claim #: 96; Distribution Dividend: 7.54;     7100-000                                        $150.72        $2,066,605.48
 10/17/2020            5375      Perry Raquel                                Claim #: 97; Distribution Dividend: 7.54;     7100-000                                        $512.44        $2,066,093.04
 10/17/2020            5376      Bustillos Irene                             Claim #: 98; Distribution Dividend: 7.54;     7100-000                                        $331.58        $2,065,761.46
 10/17/2020            5377      Sarahlynn Flores                            Claim #: 100; Distribution Dividend: 7.54;    7100-000                                         $96.46        $2,065,665.00
 10/17/2020            5378      Escobar Charissa                            Claim #: 101; Distribution Dividend: 7.54;    7100-000                                        $131.69        $2,065,533.31
 10/17/2020            5379      Tina L Hall                                 Claim #: 102; Distribution Dividend: 7.54;    7100-000                                         $90.43        $2,065,442.88


                                                                                                                          SUBTOTALS                $0.00            $143,790.86
Filed 03/10/21                                                                                   Case 17-11824
                                                                                                    FORM   2                                                Page No: 30               Exhibit Doc
                                                                                                                                                                                              9      1251
                                                                              CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                          Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                    Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                            Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                 Account Title:
  For Period Beginning:              5/10/2017                                                                             Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                              Separate bond (if applicable):

        1                 2                                 3                                                 4                                 5                     6                      7

    Transaction        Check /                           Paid to/                    Description of Transaction             Uniform           Deposit            Disbursement             Balance
       Date             Ref. #                        Received From                                                        Tran Code            $                     $


 10/17/2020            5380      Estella Lopez                                Claim #: 104; Distribution Dividend: 7.54;    7100-000                                       $317.68        $2,065,125.20
 10/17/2020            5381      Aulakh Rajinder                              Claim #: 105; Distribution Dividend: 7.54;    7100-000                                       $263.52        $2,064,861.68
 10/17/2020            5382      Garcia Linda                                 Claim #: 107; Distribution Dividend: 7.54;    7100-000                                       $143.18        $2,064,718.50
 10/17/2020            5383      Fuller Hugo                                  Claim #: 108; Distribution Dividend: 7.54;    7100-000                                       $154.86        $2,064,563.64
 10/17/2020            5384      LIBERTY PRIVATE SECURITY                     Claim #: 109; Distribution Dividend: 7.54;    7100-000                                      $1,174.71       $2,063,388.93
 10/17/2020            5385      Michael Rice, horisons unlimited             Claim #: 110; Distribution Dividend: 7.54;    7100-000                                      $2,833.12       $2,060,555.81
 10/17/2020            5386      Kenneth Gordon Heaton Jr                     Claim #: 111; Distribution Dividend: 7.54;    7100-000                                      $2,034.69       $2,058,521.12
 10/17/2020            5387      Esmeralda Hurtado                            Claim #: 112; Distribution Dividend: 7.54;    7100-000                                       $169.56        $2,058,351.56
 10/17/2020            5388      Gayla S Cox                                  Claim #: 113; Distribution Dividend: 7.54;    7100-000                                       $263.76        $2,058,087.80
 10/17/2020            5389      United States on behalf of U.S. Department   Claim #: 114; Distribution Dividend: 7.54;    7100-000                                  $949,038.74         $1,109,049.06
                                 of Heal
 10/17/2020            5390      Alcaraz Genessis                             Claim #: 117; Distribution Dividend: 7.54;    7100-000                                       $180.86        $1,108,868.20
 10/17/2020            5391      Monica Andrade                               Claim #: 118; Distribution Dividend: 7.54;    7100-000                                       $135.65        $1,108,732.55
 10/17/2020            5392      SAIRA ZAPIEN                                 Claim #: 119; Distribution Dividend: 7.54;    7100-000                                       $113.04        $1,108,619.51
 10/17/2020            5393      Edie L. Stone                                Claim #: 120; Distribution Dividend: 7.54;    7100-000                                       $512.44        $1,108,107.07
 10/17/2020            5394      Cristina Figueroa                            Claim #: 121; Distribution Dividend: 7.54;    7100-000                                       $586.29        $1,107,520.78
 10/17/2020            5395      Ramirez Vanessa A                            Claim #: 125; Distribution Dividend: 7.54;    7100-000                                       $230.30        $1,107,290.48
 10/17/2020            5396      Tracey McMillion                             Claim #: 127; Distribution Dividend: 7.54;    7100-000                                       $261.04        $1,107,029.44
 10/17/2020            5397      Soria Prisma                                 Claim #: 129; Distribution Dividend: 7.54;    7100-000                                       $184.63        $1,106,844.81
 10/17/2020            5398      U.S. Department Health and Human Services    Claim #: 131; Distribution Dividend: 7.54;    7100-000                                  $113,431.70           $993,413.11
 10/17/2020            5399      Beacon Health Strategies LLC                 Claim #: 132; Distribution Dividend: 7.54;    7100-000                                      $2,444.32        $990,968.79
 10/17/2020            5400      Monica Porter                                Claim #: 133; Distribution Dividend: 7.54;    7100-000                                       $499.63         $990,469.16
 10/17/2020            5401      Department of Health Care Services           Claim #: 134; Distribution Dividend: 7.54;    7100-000                                  $989,346.34             $1,122.82
 10/17/2020            5402      Tina M Adame                                 Claim #: 136; Distribution Dividend: 7.54;    7100-000                                        $54.87            $1,067.95
 10/17/2020            5403      Larry Allan Cahill                           Claim #: 141; Distribution Dividend: 7.54;    7100-000                                      $1,067.95                 $0.00
 11/23/2020            5370      VOID: U.S. Department Health and Human                                                     7100-003                                 ($109,818.43)         $109,818.43
                                 Services


                                                                                                                           SUBTOTALS                $0.00           $1,955,624.45
Filed 03/10/21                                                                               Case 17-11824
                                                                                                FORM   2                                                               Page No: 31                 Exhibit Doc
                                                                                                                                                                                                           9      1251
                                                                          CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                                     Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                               Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                                       Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
  For Period Beginning:              5/10/2017                                                                                        Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                                         Separate bond (if applicable):

        1                 2                                   3                                           4                                                5                     6                        7

    Transaction        Check /                           Paid to/                Description of Transaction                            Uniform           Deposit            Disbursement               Balance
       Date             Ref. #                        Received From                                                                   Tran Code            $                     $


 11/23/2020            5398      VOID: U.S. Department Health and Human                                                                7100-003                                 ($113,431.70)           $223,250.13
                                 Services
 11/23/2020            5404      Noridian JE Part A                                                                                    7100-000                                  $109,818.43             $113,431.70
 11/23/2020            5405      Noridian JE Part A                                                                                    7100-000                                  $113,431.70                     $0.00
 01/22/2021            5317      VOID: JASKARN KAUR NAHAL                                                                              7100-003                                       ($143.67)               $143.67
 01/22/2021            5354      VOID: Rachel Vega                                                                                     7100-003                                       ($124.34)               $268.01
 01/22/2021            5369      VOID: Vargas Claudia                                                                                  7100-003                                       ($153.73)               $421.74
 01/22/2021            5406      CLERK, U.S. BANKRUPTCY COURT             Unclaimed dividends                                          7100-001                                        $143.67                $278.07
 01/22/2021            5407      CLERK, U.S. BANKRUPTCY COURT             Unclaimed dividends                                          7100-001                                        $124.34                $153.73
 01/22/2021            5408      CLERK, U.S. BANKRUPTCY COURT             Unclaimed dividends                                          7100-001                                        $153.73                   $0.00
 01/25/2021            5333      STOP PAYMENT: Anna Rascon                Stop Payment for Check# 5333                                 7100-004                                  ($21,495.12)             $21,495.12
 01/25/2021            5364      STOP PAYMENT: Joy Raron                  Stop Payment for Check# 5364                                 7100-004                                       ($753.59)           $22,248.71
 01/25/2021            5372      STOP PAYMENT: Ruste Sasser               Stop Payment for Check# 5372                                 7100-004                                      ($1,130.39)          $23,379.10
 01/25/2021            5375      STOP PAYMENT: Perry Raquel               Stop Payment for Check# 5375                                 7100-004                                       ($512.44)           $23,891.54
 01/25/2021            5382      STOP PAYMENT: Garcia Linda               Stop Payment for Check# 5382                                 7100-004                                       ($143.18)           $24,034.72
 01/25/2021            5385      STOP PAYMENT: Michael Rice, horisons     Stop Payment for Check# 5385                                 7100-004                                      ($2,833.12)          $26,867.84
                                 unlimited
 01/25/2021            5399      STOP PAYMENT: Beacon Health Strategies   Stop Payment for Check# 5399                                 7100-004                                      ($2,444.32)          $29,312.16
                                 LLC
 01/25/2021            5400      STOP PAYMENT: Monica Porter              Stop Payment for Check# 5400                                 7100-004                                       ($499.63)           $29,811.79
 01/25/2021            5409      Clerk, US Bankruptcy Court               Unclaimed Funds                                                 *                                          $23,891.54            $5,920.25
                                                                          Claim Amount                                 $(21,495.12)    7100-001                                                            $5,920.25
                                                                          Claim Amount                                   $(753.59)     7100-001                                                            $5,920.25
                                                                          Claim Amount                                  $(1,130.39)    7100-001                                                            $5,920.25
                                                                          Claim Amount                                   $(512.44)     7100-001                                                            $5,920.25
 01/25/2021            5410      Garcia Linda                             Claim #: 107; Distribution Dividend: 7.54;                   7100-000                                        $143.18             $5,777.07
 01/25/2021            5410      Garcia Linda                             Void of Check# 5410                                          7100-003                                       ($143.18)            $5,920.25
 01/25/2021             5411     Michael Rice, horisons unlimited         Claim #: 110; Distribution Dividend: 7.54;                   7100-000                                       $2,833.12            $3,087.13


                                                                                                                                      SUBTOTALS                $0.00            $106,731.30
Filed 03/10/21                                                                           Case 17-11824
                                                                                            FORM   2                                                                   Page No: 32                 Exhibit Doc
                                                                                                                                                                                                           9      1251
                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                                     Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                               Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                                       Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
  For Period Beginning:              5/10/2017                                                                                        Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                                         Separate bond (if applicable):

        1                 2                                   3                                       4                                                     5                    6                       7

    Transaction        Check /                          Paid to/              Description of Transaction                               Uniform           Deposit            Disbursement               Balance
       Date             Ref. #                       Received From                                                                    Tran Code            $                     $


 01/25/2021             5411     Michael Rice, horisons unlimited     Void of Check# 5411                                              7100-003                                      ($2,833.12)             $5,920.25
 01/25/2021            5412      Beacon Health Strategies LLC         Claim #: 132; Distribution Dividend: 7.54;                       7100-000                                      $2,444.32             $3,475.93
 01/25/2021            5412      Beacon Health Strategies LLC         Void of Check# 5412                                              7100-003                                      ($2,444.32)           $5,920.25
 01/25/2021            5413      Monica Porter                        Claim #: 133; Distribution Dividend: 7.54;                       7100-000                                        $499.63             $5,420.62
 01/25/2021            5413      Monica Porter                        Void of Check# 5413                                              7100-003                                       ($499.63)            $5,920.25
 01/25/2021            5414      Clerk, US Bankruptcy Court           Unclaimed Funds                                                      *                                         $5,920.25                   $0.00
                                                                       Claim Amount                                      $(143.18)     7100-001                                                                  $0.00
                                                                       Claim Amount                                     $(2,833.12)    7100-001                                                                  $0.00
                                                                       Claim Amount                                     $(2,444.32)    7100-001                                                                  $0.00
                                                                       Claim Amount                                      $(499.63)     7100-001                                                                  $0.00

                                                                                        TOTALS:                                                        $5,262,684.26           $5,262,684.26                     $0.00
                                                                                            Less: Bank transfers/CDs                                   $2,732,857.49                   $0.00
                                                                                        Subtotal                                                       $2,529,826.77           $5,262,684.26
                                                                                            Less: Payments to debtors                                          $0.00                   $0.00
                                                                                        Net                                                            $2,529,826.77           $5,262,684.26



                       For the period of 5/10/2017 to 3/8/2021                                                     For the entire history of the account between 09/05/2017 to 3/8/2021

                       Total Compensable Receipts:                   $2,636,255.59                                 Total Compensable Receipts:                               $2,636,255.59
                       Total Non-Compensable Receipts:                 ($30,000.00)                                Total Non-Compensable Receipts:                             ($30,000.00)
                       Total Comp/Non Comp Receipts:                 $2,606,255.59                                 Total Comp/Non Comp Receipts:                             $2,606,255.59
                       Total Internal/Transfer Receipts:             $2,732,857.49                                 Total Internal/Transfer Receipts:                         $2,732,857.49


                       Total Compensable Disbursements:              $5,339,113.08                                 Total Compensable Disbursements:                          $5,339,113.08
                       Total Non-Compensable Disbursements:                  $0.00                                 Total Non-Compensable Disbursements:                              $0.00
                       Total Comp/Non Comp Disbursements:            $5,339,113.08                                 Total Comp/Non Comp Disbursements:                        $5,339,113.08
                       Total Internal/Transfer Disbursements:                $0.00                                 Total Internal/Transfer Disbursements:                            $0.00
Filed 03/10/21                                                                           Case 17-11824
                                                                                            FORM   2                                                                      Page No: 33               Exhibit Doc
                                                                                                                                                                                                            9      1251
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                          17-11824-B-7                                                                                         Trustee Name:                           James E. Salven
  Case Name:                        HORISONS UNLIMITED                                                                                   Bank Name:                              Independent Bank
  Primary Taxpayer ID #:            **-***2350                                                                                           Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                               Account Title:                          Haar settlement proceeds
  For Period Beginning:             5/10/2017                                                                                            Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                3/8/2021                                                                                             Separate bond (if applicable):

        1                 2                                  3                                          4                                                       5                   6                        7

    Transaction        Check /                         Paid to/             Description of Transaction                                    Uniform            Deposit           Disbursement             Balance
       Date             Ref. #                      Received From                                                                        Tran Code             $                    $


 08/16/2018                      FIDELITY NATIONAL TITLE CO.        sale of Salado Ave., Patterson, CA                                       *              $218,690.60                                     $218,690.60
                        {43}                                        Gross Sale Proceeds                                   $525,000.00     1249-000                                                          $218,690.60
                                                                    approved commission                                   $(31,500.00)    3510-000                                                          $218,690.60
                                                                    payoff deed of trust                              $(273,273.11)       4110-000                                                          $218,690.60
                                                                    Title and escrow costs                                 $(1,775.67)    2500-000                                                          $218,690.60
                                                                    current property taxes                                  $(471.71)     2820-000                                                          $218,690.60
                        {42}                                        refund due to title company                              $711.09      1249-000                                                          $218,690.60
 08/23/2018                      Transfer To: #*******1824          refund to Fidelity was taken from incorrect account                   9999-000                                       $711.09            $217,979.51
 09/05/2018                      FIDELITY NATIONAL TITLE CO.        Sale proceeds Thorn Ave                                                  *              $214,845.08                                     $432,824.59
                        {44}                                        Gross Sale Proceeds                                   $238,500.00     1249-000                                                          $432,824.59
                                                                    approved commission Thorn Ave                         $(14,310.00)    3510-000                                                          $432,824.59
                                                                    title, escrow, misc closing costs                      $(1,631.65)    2500-000                                                          $432,824.59
                                                                    unsecured property taxes                               $(7,348.71)    2820-000                                                          $432,824.59
                                                                    unsecured property taxes                                $(364.56)     2820-000                                                          $432,824.59
 10/02/2018                      FIDELITY NATIONAL TITLE CO.        Sale proceeds G Street                                                   *              $479,827.21                                     $912,651.80
                        {45}                                        Gross sales price                                     $530,000.00     1249-000                                                          $912,651.80
                                                                    approved commission G Street                          $(31,800.00)    3510-000                                                          $912,651.80
                                                                    Title and escrow fees                                  $(2,224.70)    2500-000                                                          $912,651.80
                                                                    misc closing costs                                        $(99.00)    2500-000                                                          $912,651.80
                                                                    current property taxes net                             $(1,558.24)    2820-000                                                          $912,651.80
                                                                    defaulted taxes                                        $(3,890.85)    4700-000                                                          $912,651.80
                                                                    misc seller credit                                    $(10,600.00)    2500-000                                                          $912,651.80
 10/03/2018            6001      FIDELITY NATIONAL TITLE CO.        missed charges on G St. closing                                       2820-000                                       $851.40            $911,800.40
 10/09/2018                      FIDELITY NATIONAL TITLE CO.        Sale Proceeds Campbell Rd                                                *              $246,303.74                                 $1,158,104.14
                        {46}                                        Gross Sales price Campbell Rd                         $265,000.00     1249-000                                                      $1,158,104.14
                                                                    approved commission                                   $(15,900.00)    3510-000                                                      $1,158,104.14
                                                                    property taxes                                         $(1,270.76)    2820-000                                                      $1,158,104.14
                                                                    title, escrow fees, and misc closing costs             $(1,525.50)    2500-000                                                      $1,158,104.14




                                                                                                                                         SUBTOTALS        $1,159,666.63                 $1,562.49
Filed 03/10/21                                                                        Case 17-11824
                                                                                         FORM   2                                                                Page No: 34               Exhibit Doc
                                                                                                                                                                                                   9     1251
                                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                          17-11824-B-7                                                                                Trustee Name:                           James E. Salven
  Case Name:                        HORISONS UNLIMITED                                                                          Bank Name:                              Independent Bank
  Primary Taxpayer ID #:            **-***2350                                                                                  Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                          Haar settlement proceeds
  For Period Beginning:             5/10/2017                                                                                   Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                3/8/2021                                                                                    Separate bond (if applicable):

        1                 2                           3                                           4                                                    5                   6                       7

    Transaction        Check /                      Paid to/            Description of Transaction                               Uniform            Deposit           Disbursement             Balance
       Date             Ref. #                   Received From                                                                  Tran Code             $                    $


 10/16/2018                      FIDELITY NATIONAL TITL CO.      sale proceeds from Mariposa APN: 013-010-088                       *               $17,062.91                                 $1,175,167.05
                        {47}                                     Gross Sales price Hwy 49 013-010-088           $208,000.00      1222-000                                                      $1,175,167.05
                                                                 approved commission                             $(12,480.00)    3510-000                                                      $1,175,167.05
                                                                 property taxes                                   $(2,214.41)    2820-000                                                      $1,175,167.05
                                                                 apply to first trust deed of Henderson         $(189,867.11)    4110-000                                                      $1,175,167.05
                                                                 trust
                                                                 title and escrow fees 013-010-087                $(1,492.30)    2500-000                                                      $1,175,167.05
                        {54}                                     rent proration                                   $(1,946.18)    1222-000                                                      $1,175,167.05
                        {48}                                     Gross Sales price Hwy 49 013-010-088           $213,500.00      1249-000                                                      $1,175,167.05
                        {54}                                     tenant deposits                                  $(1,825.00)    1222-000                                                      $1,175,167.05
                                                                 property tax proration                             $452.28      2820-000                                                      $1,175,167.05
                        {54}                                     rent proration                                   $(1,050.00)    1222-000                                                      $1,175,167.05
                                                                 approved commission Hwy 49                      $(12,810.00)    3510-000                                                      $1,175,167.05
                                                                 016-101-088
                                                                 title, escrow, and misc closing costs            $(1,680.85)    2500-000                                                      $1,175,167.05
                                                                 pay off 1st trust deed to Henderson trust      $(177,330.80)    4110-000                                                      $1,175,167.05
                                                                 property taxes                                   $(2,192.72)    2820-000                                                      $1,175,167.05
 11/01/2018                      FIDELITY NATIONAL TITLE CO.     Sale Proceeds main st newman                                       *              $143,341.70                                 $1,318,508.75
                        {49}                                     Gross Sales proceeds                           $157,500.00      1249-000                                                      $1,318,508.75
                                                                 approved commission                              $(9,450.00)    3510-000                                                      $1,318,508.75
                                                                 unsecured property taxes                         $(1,834.08)    2820-000                                                      $1,318,508.75
                                                                 title and escrow fees                            $(1,362.42)    2500-000                                                      $1,318,508.75
                                                                 unsecured property taxes                         $(1,432.80)    2820-000                                                      $1,318,508.75
                                                                 misc closing costs                                  $(79.00)    2500-000                                                      $1,318,508.75
 12/04/2018                      FIDELITY NATIONAL TITLE CO.     Sale proceeds                                                      *              $251,905.56                                 $1,570,414.31
                                                                 5th St., Gustine, CA
                        {50}                                     Gross Sale proceeds                            $275,000.00      1249-000                                                      $1,570,414.31
                                                                 approved commission                             $(16,500.00)    3510-000                                                      $1,570,414.31
                                                                 title and escrow closing costs                   $(1,560.00)    2500-000                                                      $1,570,414.31
                                                                 current property taxes                           $(2,021.15)    2820-000                                                      $1,570,414.31
                                                                 defaulted property taxes                         $(3,013.29)    4700-000                                                      $1,570,414.31

                                                                                                                                SUBTOTALS          $412,310.17                   $0.00
Filed 03/10/21                                                                        Case 17-11824
                                                                                         FORM   2                                                            Page No: 35               Exhibit Doc
                                                                                                                                                                                               9     1251
                                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                          17-11824-B-7                                                                            Trustee Name:                           James E. Salven
  Case Name:                        HORISONS UNLIMITED                                                                      Bank Name:                              Independent Bank
  Primary Taxpayer ID #:            **-***2350                                                                              Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                  Account Title:                          Haar settlement proceeds
  For Period Beginning:             5/10/2017                                                                               Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                3/8/2021                                                                                Separate bond (if applicable):

        1                 2                           3                                              4                                             5                   6                       7

    Transaction        Check /                      Paid to/              Description of Transaction                         Uniform            Deposit           Disbursement             Balance
       Date             Ref. #                   Received From                                                              Tran Code             $                    $


 12/04/2018                      FIDELITY NATIONAL TITLE CO.     Sale proceeds                                                  *              $397,993.94                                 $1,968,408.25
                                                                 W. Main St., Livingston
                        {52}                                     Gross sales proceeds                       $430,000.00      1249-000                                                      $1,968,408.25
                                                                 approved commission                         $(25,800.00)    3510-000                                                      $1,968,408.25
                                                                 current property taxes                       $(1,674.33)    2820-000                                                      $1,968,408.25
                                                                 title and escrow closing costs               $(2,111.80)    2500-000                                                      $1,968,408.25
                                                                 defaulted property taxes                     $(2,419.93)    4700-000                                                      $1,968,408.25
 12/04/2018                      FIDELITY NATIONAL TITLE CO.     Sale proceeds                                                  *              $175,374.30                                 $2,143,782.55
                                                                 West I Street, Los Banos
                        {51}                                     Gross Sale Proceeds                        $575,000.00      1249-000                                                      $2,143,782.55
                                                                 payoff first deed of trust                 $(358,963.50)    4110-000                                                      $2,143,782.55
                                                                 approved commission                         $(34,500.00)    3510-000                                                      $2,143,782.55
                                                                 owner association fees                         $502.20      2500-000                                                      $2,143,782.55
                                                                 title and escrow closing costs               $(2,537.90)    2500-000                                                      $2,143,782.55
                                                                 current property taxes                       $(3,574.20)    2820-000                                                      $2,143,782.55
                                                                 defaulted property taxes                       $(552.30)    4700-000                                                      $2,143,782.55
 03/11/2019                      FIDELITY NATIONAL TITLE CO.     1241 PASEO VERDE, MERCED                                       *              $215,820.51                                 $2,359,603.06
                        {53}                                     Gross Sales Price                          $235,000.00      1249-000                                                      $2,359,603.06
                                                                 approved commission                         $(14,100.00)    3510-000                                                      $2,359,603.06
                                                                 title, escrow, and recording fees            $(1,429.30)    2500-000                                                      $2,359,603.06
                                                                 current property taxes                       $(1,640.30)    2820-000                                                      $2,359,603.06
                                                                 defaulted property taxes                     $(1,428.89)    4700-000                                                      $2,359,603.06
                                                                 misc closing costs                             $(581.00)    2500-000                                                      $2,359,603.06
 03/19/2019                      PAUL DELANO WOLF, INC.          settlement completion funds                                    *               $40,396.94                                 $2,400,000.00
                        {42}                                     funds deposited by Haars' atty, from his         $75.00     1249-000                                                      $2,400,000.00
                                                                 trust account, to close out settlement
                                                                 agreement
                        {42}                                     funds deposited by Haars' atty, from his     $40,321.94     1249-000                                                      $2,400,000.00
                                                                 trust account, to close out settlement
                                                                 agreement
 05/15/2019             (53)     FIDELITY NATIONAL TITLE CO.     refund                                                      1210-000              $75.00                                  $2,400,075.00

                                                                                                                            SUBTOTALS          $829,660.69                   $0.00
Filed 03/10/21                                                                            Case 17-11824
                                                                                             FORM   2                                                                    Page No: 36               Exhibit Doc
                                                                                                                                                                                                           9      1251
                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                           17-11824-B-7                                                                                       Trustee Name:                           James E. Salven
  Case Name:                         HORISONS UNLIMITED                                                                                 Bank Name:                              Independent Bank
  Primary Taxpayer ID #:             **-***2350                                                                                         Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                          Haar settlement proceeds
  For Period Beginning:              5/10/2017                                                                                          Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:                 3/8/2021                                                                                           Separate bond (if applicable):

        1                 2                                  3                                         4                                                      5                    6                       7

    Transaction        Check /                          Paid to/               Description of Transaction                                Uniform           Deposit            Disbursement             Balance
       Date             Ref. #                       Received From                                                                      Tran Code            $                     $


 07/24/2019             (53)     FIDELITY NATIONAL TITLE CO.          refund                                                             1210-000             ($75.00)                                 $2,400,000.00
 07/24/2019            6002      Palu Delano Wolf, Inc.               refund                                                             1249-000             ($75.00)                                 $2,399,925.00
 08/02/2019             (53)     FIDELITY NATIONAL TITLE CO.          Deposit Reversal made on 7/24/2019 was done in error,              1210-000              $75.00                                  $2,400,000.00
                                                                      this entry is reversing the deposit reversal.
 02/24/2020                      Transfer To: #*******1824            Settlement achieved and completed. Transfer to general             9999-000                                $2,400,000.00                   $0.00
                                                                      account

                                                                                         TOTALS:                                                         $2,401,562.49           $2,401,562.49                   $0.00
                                                                                             Less: Bank transfers/CDs                                            $0.00           $2,400,711.09
                                                                                         Subtotal                                                        $2,401,562.49                 $851.40
                                                                                             Less: Payments to debtors                                           $0.00                   $0.00
                                                                                         Net                                                             $2,401,562.49                 $851.40



                       For the period of 5/10/2017 to 3/8/2021                                                       For the entire history of the account between 08/16/2018 to 3/8/2021

                       Total Compensable Receipts:                   $3,688,786.85                                   Total Compensable Receipts:                               $3,688,786.85
                       Total Non-Compensable Receipts:                       $0.00                                   Total Non-Compensable Receipts:                                   $0.00
                       Total Comp/Non Comp Receipts:                 $3,688,786.85                                   Total Comp/Non Comp Receipts:                             $3,688,786.85
                       Total Internal/Transfer Receipts:                     $0.00                                   Total Internal/Transfer Receipts:                                 $0.00


                       Total Compensable Disbursements:              $1,288,075.76                                   Total Compensable Disbursements:                          $1,288,075.76
                       Total Non-Compensable Disbursements:                  $0.00                                   Total Non-Compensable Disbursements:                              $0.00
                       Total Comp/Non Comp Disbursements:            $1,288,075.76                                   Total Comp/Non Comp Disbursements:                        $1,288,075.76
                       Total Internal/Transfer Disbursements:        $2,400,711.09                                   Total Internal/Transfer Disbursements:                    $2,400,711.09
Filed 03/10/21                                                                          Case 17-11824
                                                                                           FORM   2                                                               Page No: 37               Exhibit Doc
                                                                                                                                                                                                    9      1251
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No.                         17-11824-B-7                                                                                  Trustee Name:                           James E. Salven
  Case Name:                       HORISONS UNLIMITED                                                                            Bank Name:                              Independent Bank
  Primary Taxpayer ID #:           **-***2350                                                                                    Checking Acct #:                        ******1824
  Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                          Haar settlement proceeds
  For Period Beginning:            5/10/2017                                                                                     Blanket bond (per case limit):          $1,000,000.00
  For Period Ending:               3/8/2021                                                                                      Separate bond (if applicable):

        1                 2                                3                                         4                                                  5                   6                       7

    Transaction        Check /                         Paid to/              Description of Transaction                           Uniform            Deposit           Disbursement             Balance
       Date             Ref. #                      Received From                                                                Tran Code             $                    $




                                                                                                                                                                                 NET                 ACCOUNT
                                                                                       TOTAL - ALL ACCOUNTS                               NET DEPOSITS                      DISBURSE                BALANCES

                                                                                                                                                  $5,268,966.16         $5,599,966.16                     $0.00




                       For the period of 5/10/2017 to 3/8/2021                                                For the entire history of the case between 08/13/2017 to 3/8/2021

                       Total Compensable Receipts:                  $6,662,619.34                             Total Compensable Receipts:                               $6,662,619.34
                       Total Non-Compensable Receipts:                ($30,000.00)                            Total Non-Compensable Receipts:                             ($30,000.00)
                       Total Comp/Non Comp Receipts:                $6,632,619.34                             Total Comp/Non Comp Receipts:                             $6,632,619.34
                       Total Internal/Transfer Receipts:            $2,732,857.49                             Total Internal/Transfer Receipts:                         $2,732,857.49


                       Total Compensable Disbursements:             $6,632,619.34                             Total Compensable Disbursements:                          $6,632,619.34
                       Total Non-Compensable Disbursements:                 $0.00                             Total Non-Compensable Disbursements:                              $0.00
                       Total Comp/Non Comp Disbursements:           $6,632,619.34                             Total Comp/Non Comp Disbursements:                        $6,632,619.34
                       Total Internal/Transfer Disbursements:       $2,732,857.49                             Total Internal/Transfer Disbursements:                    $2,732,857.49




                                                                                                                              /s/ JAMES E. SALVEN
                                                                                                                              JAMES E. SALVEN
